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  IN THE CIRCUIT COURT OF THE FIFTEENTH )
  JUDICIAL CIRCUIT IN AND FOR PALM BEACH )
  COUNTY, FLORIDA )
                                                               )
  CASE                                No.                    )
  Divis7on:~ ) Q^f^ :

  JOSEApS^ j ^'^ Cft^qO
                                                               )
  and                                                  )
                                                               )
  PALMTRAHDSTC, )
         Defendant,                                          )
                                                              J
                                   DISCRIMINATION, UNDER
                   FLOmDA CIVIL RIGKTS ACT AND TITLE VH ACTION


         COMES NOW, Plaintiff, JOSE RIVERA and sues Defendant PALM TRAN, INC, and

  alleges as follows:

                                         INTRODUCTION

      1. Plaintiff, Jose Rivera, seeks compensatory and punitive damages based upon Defendants

         deprivation of rights afforded to the named Plaintiff under the laws of the United States

         and the State of Florida resulting from acts and/or omissions of the named Defendant that

         constitutes the following causes of action: (a) discrimination, under (a) Florida Civil

         Rights Act of 1992 Chapter 760 Fla. Stat and (b) Title VII Action of the Civil Rights Act

         of 1964, as amended, 42 U.S.C. § 2000e et seq.




     2. Plaintiff filed his Discrimination Complaints with the US. Equal Employment

         Opportunity Commission and a Right to Sue Letter has been issued with deadline dates of

         September 2, 2019. (See Exhibit attached hereto and marked A).



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     2. Plaintiff filed his Discrimination Complaints with the US. Equal Employment

        Opportunity Commission and a Right to Sue Letter has been issued with deadline dates of

        September 2, 2019. (See Exhibit attached hereto and marked A).
                                                                                      t




                                 JURISDICTION AND VCNUE

     3. This Court has jurisdiction over this dispute because this complaint seeks damages in

        excess of $15,000.00, exclusive of interest and attorneys' fees.

     4. Venue is proper in Palm Beach County, Florida because Palm Tran operates in Palm

        Beach County, Florida and is the county where the cause of action accrued here.

                                             PARTIES

     5. Plaintiff, Jose Rivera (hereinafter "Jose"), is a resident of Palm Beach, County, Florida, is


        over the age of eighteen, and is otherwise suijuris.

     6. Defendant, PALM TRAN, INC., (hereinafter "Palm Tran"), is a Florida not for Profit

        Corporation which maintains offices in Palm Beach County, Florida.

                                SUBSTANTIVE ALtEGATXONS

     7. Plaintiff, Jose Rivera, is a male of Hispanic descent both of which are protected classes.

     8. Jose began working for Palm Tran on or about August 24, 1998.


     9. He was employed as a bus driver.

     10. The position consisted of picking up and dropping offpassengers, monitor passengers,

        assist disabled persons, collect fares, pass out transfers, provide transit system

        information, and drive the bus along designated routes.

     11. On March 7, 2017, Plaintiff engaged in a verbal altercation with a passenger, Myron

        King. Plaintiff picked up passenger Myron King whom he has had numerous problems

        with. Passenger King wanted Plaintiff to use lower the door entry to the ground 'kneel' at


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        which point the Plaintiff stated, "calm down" and kneeled the bus. Passenger King got on


        the bus and stated, What do you mean calm down?" in a confrontational manner. An

        argument ensued in which both parties used foul language and passenger King stating, "I

        don't fight, I shoot." The Plaintiff felt threatened and in fear which led to Plaintiff

        summoning a supervisor to the scene. Plaintiff parked the bus, got out of the driver's seat,

        and exited the bus. Passenger King continued to argue with the Plaintiff. Plaintiff

        attempted to appease passenger King by providing him with a transfer to another bus.

        Passenger King accepted the transfer and departed. Plaintiff re-boarded the bus and

        apologized to the four passengers who were already on board and had witnessed the

        incident. Plaintiff notified the dispatcher that he was continuing his route without further

        incident.

     12. The incident did not escalate into a physical confrontation.


     13. Myron King, as a rider has displayed unprovoked aggression towards bus drivers on

        multiple occasions. He has struck the door of the bus being driven by bus Driver Arnaldo

        Guanche. He has been arrested for assault/battery on a public transit employee (see

        exhibit B).

     14. From the period January 12, 2000 to October 28, 2009, Bus Driver Andres Robinson, a

        black male, was involved in eight (8) vehicle accidents (see exhibit C).

            a. He was reprimanded, suspended with and without pay, terminated, and reinstated

                after arbitration.

     15. Between March 2013 and March 2015, Bus Driver Andres Robinson received several

        traffic infractions.




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      16. In March of 2017, Bus Driver Andres Robinson was placed on a "Last Chance"

         Agreement due to violation of Palm Tran s Substance Abuse Policy.


     17. On or about April 3, 2017, Amaldo Guanche, a Hispanic male employee of Palm Tran,

         was involved in an incident with passenger Myron King hitting the door of his bus.

      18. Arnaldo Guanche had previously been terminated from Palm Tran for engaging in a

         physical confrontation with a passenger.

      19. Amaldo Guanchewas rehired immediately after his termination.

     20. Plaintiff was suspended with pay on March 10, 2017.

     21. Bus driver Meredith Collins, a black female employee with Palm Tran, was arrested for

         battery on April 9, 2017. She was driving a bus route in uniform at the time of the

         incident. She was not terminated (see exhibit D).

     22. Plaintiff received a pre-termination hearing from Palm Tran on April 10, 2017.

     23. Plaintiff received a phone call from Dwight Mattingly, the union president, advising him

         that he had been terminated from employment with Palm Tran on April 19, 2017.

     24. A memorandum was issued by Palm Tran regarding interactions with Myron King.

     25. Bus driver Mike Cantino, a white male Palm Tran employee, got out of his seat to

         retrieve a fare from a passenger which escalated into him choking the passenger and he

         was not terminated.


     26. On or about May 31, 2017, bus driver Larry Sussman, a white male, was given a 1-day

         suspension for carrying a gun while driving the bus (see exhibit E).

     27. The Plamtiffwas able to secure an arbitration hearing through union intervention on June

         11,2017.




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      28. On June 22, 2017, Bus Driver Wayne E. White, black male, was captured on video

          getting into an argument with a member of the public, telling the member to "suck his

          dick," and challenging the member to a fist fight (see exhibit I).

              a. He received a three (3) day suspension and was admonished to refrain from

                 unprofessional conduct.

      29. On or about November 13, 2017, Palm Tran hired Michael J. Wallace, a black male with

          an extensive criminal history a$ a Pahn Tran bus driver (see exhibit F).

      30. Plaintiff was notified that his tennination as a Palm Tran was upheld through arbitration

          on December 15,2017.


      31. On or about September 25, 2018, black female employees Connie Killings and Casandra

         Bradley-Daniels were involved in verbal altercations while at work. They were both

         warned by director Forbes that would be disciplined if they continued. Connie Killings

         was eventually terminated then rehired (see exhibits G & H).

      32. On January 29, 2018, Plaintiff filed a complaint of Discrimination based on National

          Origin (Hispanic) and Gender (male).

           COUNT I" RACE/NATIONAL ORIGIN TITLE VH AND S 42 USC 1981

      33. Plaintiff realleges the allegations set forth above in paragraphs 1 through 32 as if set forth

         herein in full.

      34. PLABSfTIPF is a member of a protected class in that his race is Hispanic.

      35. PALM TRAN subjected PLAINTIFF to disparate treatment based upon his race in

         violation of § 1981.

      36. PLAINTIFF'S race was a motivating factor for the foregoing adverse actions, including

         the unwarranted discipline and termination, and negatively affected the terms, conditions




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          and privileges of PLAINTIFF'S employment, m violation of Title VII & 42 USC § 1981.

      37. PALM TRAN acted intentionally, purposefiilly, maliciously and/or with reckless

          indifference to PLAIMTFFF's federally protected rights by unfairly disciplining him,

          terminating him and adversely affecting his employment benefits based on his race in

          violation of Title VH & 42 USC § 1981.

      38. PALM TRAN's actions caused PLAINTIFF to suffer lost wages» lost benefits, emotional

          distress, humiliation, shame, loss of self-esteem and dignity, mortification, disgrace,


          embarrassment, loss of enjoyment of life, and mental anguish, and PLAINTIFF will

          continue to suffer said damages
                                      •'0' in the future.



   WHEREFORE, PLAINTIFF requests that this Honorable Court enter judgment in his favor and
   against PALM TRAN:
   A. Declaring PALM TRAN's actions to be an unlawful employment practice in violation of Title

   VH& 42 USC §1981;

   B. Awarding PLAItSFTEFF his lost wages and benefits, including interest thereon;

   C. Permanently enjoining PALM TRAN from future violations of Title VH & 42 USC § 1981;

   D. Awarding PLAIESTTIFP front pay for his future lost wages and benefits in lieu of

   reinstatement;

   E. Awarding PLAINTIFF compensatory damages and punitive damages;

   F. Awarding PLAINTIFF the reasonable attorneys' fees, costs and expenses incurred in this

   matter pursuant to 42US.C. S 1988: and

   G. Awarding such other relief as the Court deems just and appropriate.

          COUNT U - RACE/NATIONAL OmGIN/ FLOmDA CIVIL JRIGHTS ACT

      39. Plaintiff realleges the allegations set forth above in paragraphs 1 through 32 as if set forth

          herein in full.


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     40. PLADSTTIFF is a member of a protected class in that his race is Hispanic.

     41. PALM TRAN subjected PLAINTIFF to disparate treatment based upon his race in

        violation of Title VII & 42 USC § 1981.

     42. PLAINTIFF'S race was a motivating factor for the foregoing adverse actions^ including

         the unwarranted discipline and termination, and negatively affected the terms, conditions

         and privileges of PLAINTIFF'S employment, in violation of Title VH & 42 USC § 1981.

     43. PALM TRAN acted intentionally, purposefully, maliciously and/or with reckless

         indifference to PLAINTIFF'S federally protected rights by unfairly disciplining him,

        terminating him and adversely affecting his employment benefits based on his race in

        violation of Title VU & 42 USC § 1981.

     44. PALM IRAN'S actions caused PLAINTIFF to suffer lost wages, emotional distress,

        humiliation, shame, loss of self-esteem and dignity, mortification, disgrace,

         embarrassment loss of enjoyment of life, and mental anguish, and PLAINTIFF will

         continue to suffer said damages in the future.


  WHEREFOKE, PLAINTIFF requests that this Honorable Court enter judgment in his favor and

  against PALM TRAN:


         A. Declaring PALM TRAN's actions to be an unlawful employment practice in violation

         of Title VEt & 42 USC § 1981;

        B. Awarding PLMNTIFF his lost wages and benefits, including interest thereon;

         C. Permanently enjoining PALM TRAN from future violations of Title VU & 42 USC §

         1981;

        D. Awarding PLAINTFFF front pay for his future lost wages and benefits in lieu of

         reinstatement;


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         E. Awarding PLAINTIFF compensatory damages and punitive damages,

         F. Awarding PLAINTIFF the reasonable attorneys' fees, costs and expenses incurred in


         this matter pursuant to 42 U.S.C. § 1988; and

         G. Awarding such other relief as the Court deems just and appropriate.

                       COUNT m - GENDER DISCRIMINATION TITLE VH

     45. Plaintiff realleges the allegations set forth above in paragraphs 1 through 32 as if set forth

         herein in full.

     46. Plaintiff is a male, a member of a protected class.

     47. Plaintiff was qualified for his position.

     48. Similarly situated employee's outside the employee's protected class were treated more


         favorably.1


  WHEREFORE, PLAINTIFF requests that this Honorable Court enter judgment in his favor and

  against PALM TRAN:


         A. Declaring PALM TRAN's actions to be an unlawful employment practice in violation


         of Title VII & 42 USC §1981;

         B. Awarding PLAINTIFF his lost wages and benefits, including interest thereon;

         C. Permanently enjoinmg PALM TJRAN from future violations of Title VII & 42 USC §

         1981;

         D. Awarding PLAINTIFF front pay for his future lost wages and benefits in lieu of

         reinstatement;

         E. Awarding PLAIMTIFF compensatory damages and punitive damages;




  1 See Dep't of Child. & Fam. Servs. v. Garcia, 911 So. 2d 171 (Fla. 3d DCA 2005).

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        F. Awarding PLAINTIFF the reasonable attorneys' fees, costs and expenses incurred in

        this matter pursuant to 42 U.S.C. S 1988: and


        G. Awarding such other relief as the Court deems just and appropriate.




        COUNT IV - GENDER DISCRIMINATION FLORIDA CIVIL RIGHTS ACT

     49. Plaintiff realleges the allegations set forth above in paragraphs 1 through 32 as if set forth

        herein in full.

     50. Plaintiff is a male, a member of a protected class.

     51. Plaintiff was qualified for his position.

     52. Similarly situated employee's outside the employee's protected class were treated mor&

        favorably.


  WHEREFORE, PLAINTIFF requests that this Honorable Court enter judgment in his favor and

  against PALM TRAN:


        A. Declaring PALM TRAN's actions to be an unlawful employment practice in violation

         of § 1981;

        B. Awarding PLAINTIFF his lost wages and benefits, including interest thereon;

         C. Permanently enjoining PALM TRAN from future violations of Florida Civil Rights

         Act;

        D. Awarding PLAINTIFF front pay for his future lost wages and benefits in lieu of

         reinstatement;

         E. Awarding PLATESfTIFF compensatory damages and punitive damages;

         F. Awarding PLAIESTTIFF the reasonable attorneys* fees, costs and expenses incurred in


         this matter pursuant to 42 U.S.C § 1988: and


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   Under penalties of perjury, I declare that I have read the foregoing document and that the facts
   stated in it are tme.


                                                         ^—^
                                                       ^nature of Jose Rivera

   A person who knowingly makes a false declaration under subsection (2) is guilty of the crime of
   perjury by false written declaration, a felony of the third degree, punishable as provided in
   S.775X182, s. 775.083. or s. 775.084.




   COUNTY OF PALM BEACH


   Sworn to (or affirmed) and subscribed before me this 8th day of July 2019, by Jose A. Rivera.

         ^j^ CHRISTOPHER W COOK
        \s'l tft '^ (WCOMMiSStONftFF9690«0
               W EXPIRES March 08.2020                 CHRISTOPHER W. COOK
           rcidtMntU FtoridaHou^im^wf^                 Sigmrfurjb ofNotary^ubljic
                                                       P^t,T^e%kan^Nat             Notary

   Personally known:
   OR Produced Identification:
   Type of Identification Produced:,



                                                                        J. COOK
                                                       FL Bar No. 117367
                                                       The Lions' Den, Attorneys at Law
                                                       515 N. Flagler Dr, Suite P-300
                                                       West Palm Beach, FL 33401
                                                       Chriscookfallionsdeniustice.com
                                                       Jonmav(%Uonsdeniustlce.com




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EEOC Form 1S1 (11/16)                    as. EQUAL EMPLOYMEMT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To: Jose A. Rivera                                                                    From: [VEiami District Office
      4539 Amherst Circle Apt 89                                                             Miami Tower, 100 S E 2nd Street
      West Palm Beach, FL 33417                                                                Suite 1500
                                                                                               Miami, FL 33131



    a                       On behalf of person($) aggrieved whose fdenffty Is
                           CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                 Telephone No.

                                                George W. Ruggiano,
15M-2018-00051                                  Investigator                                                        (305) 808-1805
THE EEOC IS CLOSINO ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or Is not otherwise covered by the statutes,


    a            Your charge was not timeEy filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 dfscriminafion to file your charge

                 The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that She respondent is In compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

     I I The EEOC has adopted the findings of the state or tocaf fair employment practices agency that investigated this charge.

                 Other (bnefiy stste)


                                                         " NOTICE OF SUIT RIGHTS -
                                                   (Sw the Additionsl information atiached to this form.)

Tifie VII, the Americans with Disabilities Act, the Genetic Information Nondiscrlminatton Act, or the Age
Discriminafion in Employment Act: This wifi be the only notice of dismissai and of your right to sue that we will send you,
You may file a lawsuit against the respondents) under federal law based on this charge in federal or state court, Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge wii! be
lost. (The time limit for filing suit based on a claim under state law may be different)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful viotations) of the
aiieged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 vearsl
before you file suit may not be collectible.

                                                                     On behalf of the Commissioa,
                                                                                                                    JUi\ 0 4 2018.
 Enctosure$(s)                            -^                         tichael J. Farrell,                                  (Date Mallect)

                                                             / District DErecfor
 ec: Respondents Representative
        NikashaM. Wells, J.D,
            Senior EVianager of Oovernmental Affair &
            Equal Employment Officer
            PALM TRAM
            3201 Electronics Way
            West Palm Beach, Ft 33407-4291
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Enclosure with EEOC
Form 1Q1 (ii/i6)

                                              iNFOREViATON RELATED TO FILING SUIT
                                           UNDER THE LAWS BNFORCED BY THE EEOC

                               (This Infofmatiw relates to Wing suit in Federal or Ststo court under Federal law.
                      If you also plan to sue claiming violations of State law, plesse be aware that time limits and other
                             provisions o/ St^fe /aw may be shorter or more limited than those de&crihed below.)


PRIVATE suiT RIGHTS " Titte-ytl ofthecivil RiQ^s Act, the Americans wtfh Disabilities Act (ADA),
                      the Genetic Information Nondiscrinnmation Act (GINA), or the Age
                      Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondents) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and fell
him or her the date you received it. Furthermore, En order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was maffed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court Is the general cEvil trial court.) Whether you fife in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint'* that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court, if so. you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged In the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usuaity can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or maRe legal strategy decisions for you.

PRIVATE SUIT RIGHTS " Equal Pay Act <EPA):

EPA suits must be filed in court within 2 years (3 years for willful vioiations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years O.yesirsl before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should fife suit
before 7/1/10 " not 12/1/10 "" in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day fiEEng period under Title Vil, the ADA. GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title Vf!. the ADA, GtNA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2" or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION - Title VII, the ADA or GINA:

if you cannot afford or have been unable to obtain a Eawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in iimited circumstances, assist you m obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above.
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE " AH Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
duestions about your iegai rights. including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's fiie on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge fifes after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge-
file, please make your review request within 6 months of thi$ Nofico. (Before filing suit, any request should be
made within the next 90 days.)

                   IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COUKT COMPLAINT TO THIS OFFICE.
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    Legal Custodian


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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 16 of 136



08TS.Number                                          PROBABLE CAUSE AFFIDAVIT
                                                             J^Arrest 2.N.TA 3. Request forWarrant 4. F^questfor Capias                     JuvenSte
Agency OR) Number                     Agency Name                                                   Agency Report Number
FLO 500000                                 PALM BEACH COUNTY SHERIFF'S OFFICE                         06-13-041833
Change Type: Q 1. Felony E3 3. Misdemeanor Q5. Ordinance                                          Special Notes;
Check as many D 2. Traffic Felony D 4. Traffic Misdemeanor Q 6. Other
as apply.
Defendant's Name (Last, First, Middle)                                                                  Race          Sex          Data of Birth
KtNG, MYRON                                                                                             B             M            01/13/65
Charge Descriptfon                                                           Chargs Descriptton
RETAIL THEFT OF $49.6&
Charge Description                                                           Charge Description
RESISTING W/0 VIOLENCE
Victim's Name (Last, First, Middle)                                                                     RSC&         Sex           Date of Birth
PUBLIX
Victim's Local Address (Street, Apt. Number) (City) (State) (Zip)                                  Phone
214 NORTH DIXIE HWY LAKE WORTH FL 33460
Victim's Business Address (Name, Street)            (City)                  (State)     (Zip)      Phone                      ?atJoh
                                                                                                                          teNESS
The undersigned certifies and swears that he/she has Just and reasonable grounds to believe, and does believe t^St the^ajbpvs" named Defendant
o&mmEtted the following violation of law. The Person taken into cu$tody...

E3 committed the below acts in my presence.
                                                                                                            ^
                                                         E3 was observed bySOgysLE&Ufc who told §/s D. RAY#7288
Q confessed to _                                            that he/she saw the anested perso^ coTnmtt'I^Jbeloiiv acts,
admitting to the below facts.                            Q was found to have commrttedthe'belowicts, n§i§§Siing fro'm my (dBscn'bed) investigation.

On the 24TH day of February. 2002013 at 2:23 QAM S3 P.M. (Speciftoaflyincludft facts cpns&nsSyse far arrest).
                                                                                         ./^ '^f
                                                                                      .-^^ lr
NARRATIVE:

On 02/24/131 was working a speciat detail ^^yorth Dixie Hwy in Lake Worth.
which is the business of Publix. At approgml^^2:23pm I was flagged down by two
Pubiix employees who were pointing at a Ito^sUbject walking west through the south
side of their parking lot, and they we,^^|ingto me that he had stolen from Publix. I
saw that the b/m was the only sufc)jecP^pRe area and he was wearing a wh'rte t-shlrt
and blue jeans. I then ran tow^u^jlhe-subject from behind him and yelled "Sheriffs
Office stop and get on the grojjnd'\1Kt this point the b/m looked back at me and
ignored my orders by continuil||jld walk. It should be noted that I was wearing the full
class B uniform. Upon c^e^ng up to the black male I orctejed him to the ground and
he compfied after I yhols^ered my issued Glock model 22 handgun. I unholsterecf my
Clock pistol after t|i^ubje^ct refused to comply with my orders and his right hand was
concealed insic|e%tarJIPubIix bag. Upon handcuffing the subject behind his back I
checked his^^dc^ffs for tightness and double lock. I transported the bjmto^ny
Patrol veh^^^^e the Publix parking lot. Upon searching the b/m in@^t tgarrest I
found that hqwas wearing two pairs of pants and the bottom pair of pa^te:ha§Rthe legs
tied to store stolen merchandise from Publix. Concealed inside the b/i%'§; doling was
(10) decks of Bee brand playing cards and (2) Dove body wash bottleC?TBe ^folen
property was valued at $49.68. The b/m male did not have identificati^^ hS person
                                                                       <C2 en
and he could only verbally identify himself as Myron King b/m 01/13/6S rri
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                                                  NARRATIVE CONTINUATION
During my investigation I met with Soguel Paul b/m 03-26-79, which I identified as
Publix's Loss Prevention Officer Soguet gave a sworn written statement that he
observed who was later identified as Myron King, select the playing cards and Dove
body wash and conceal the items on his person. Myron King then left Publix and
passed af! points of sale without attempting to pay for the items. The stolen property
was returned to Publix and Publix wanted to prosecute Myron for the retail theft.




Swam and Subscribed before me

                                   •w/
   Signature Notary ?jfolic / Clerk of Court / Officer (F.S.S 117,10)                         Signature ofAg'e^y^Tf^estigatEng Officwr
                    ft/S J. SANTOS #8171                                                       DET^tVE I^OTb RAY #7288
   Name of Notary Public; / Cterk of Court / Officer (F.S.S 117.10)                            Name of C^dcer <F?tease Print)
                              02/24/13                                                                        ^2/24/13
                                  Date                                                                           Dale


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    Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 19 of 136



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        respond.ed to 600 E-Woolbright Rd .(Wend/s) in.reference to a b/m in tI-ieTestaur^^l^eping and refusing jto leave.
      Upon" arrival, I spoke with the business irianager (tenin"Guzrnan)'who'adviSj&^|^t he'asked^a b/m who was sEeepingitn •'
      the dining room to leave and he refused, i approached the b/m and reai^e^ha^he subject was Myron King ,DOB 1 -13-
      65. I am familiar with King th'rough several encounters during'my limeJ@Fi?ip[^to^vith the'BBPD. I ihstructed Myrpn' twice
      thafhe needed to. leave the-premis&s'or he would be placed under arr'i^^:T%.v?hich he responded by iiftfng his head,.
      looked at' me, replied that he wasn't doing anything wrong and was^Qi^^^i legve and placed his head back down,on
      the table. Ofc Haugh instructed him that he needed to leave at^<^o^fe^ie.r.efused to cornpty. At this ppint, several.
      patrons were taking notice and gathering around the.areatox^t^s r. •• ' • ••'1; '..'' .' '
      Eventuaity King stood op stated again that he wasntdoir^-^/thli^/wrong.--I prdered'him.bOtside-to avoid placing tn
     jTandcuffsv^ilijnabusy^estaurant^^^ While outside Kina^e^^cifrsinR smd.stated"you.gUyjs areLMways.fycking with me,
      I wasn't- doing anything wrong". King gratibed his bic^Ii^md 6egan walking away from Ofc.Haugh and 1 when tadvised
       hinr'that he was not free to leave. Ofc'Haugh.sto'^d^frotT^f King in order to' stop King'from leaving;- King wouid not
      provide the spelling of his name upon request SFTC it|U"ypu know how to spell". King stated that I was a child, that he.
      wasn't spared of jail. and that he-was going ta^eaF        lime when he gets out At this, point, additipnatpatrons and nearby
      'drivers were taking notice of .Kings be^avip^,X
      l.ordered.King that he was .un^ arrested ji^^^ted him to sH down on the.cMrb to which he refused. King' stood up
      and pushed his bicycle back-iri'an aggt^ssivejm'anner; Due to'his aggressive actions, Ofc. Haugh acted by kicRing out.his
      right leg to'.effect-an arrest: When on tFi^g^dnd, King placed both of his hands un'derhis body and would not release^ .
      them in order tp resistari-pst- I ii^tructed'King to .release his hands and .to stop resisting several .times to which he
      refused to comply each time, Of^^gh applied elbow strikes'to King's upper right back shoulder "area while'I instructed
      King to put his arms behin<y'tis ba'ick. /After the initial struggle, ,0fc Haugh and i wer&.ableto release his. arms.by pulling
      them from under him. •Kiri@;was retrained and handcuffed'(checked for lightness ah'd d/1). King late,r began', to'kick his
      legs out from under. hin'CwRU^he was ph the-ground and-needpd to be restrained; King eventually became compliant'.with
      my instructions.- A^r^^iyliiTOer with burn marks on one end and. chore boy stuffed in it Was located jn King';s1eft pants
      pocket.-t]deptifi.ecbts i^mt° be utilized to <ngestfcrack'cocaine.- • 1 ' '. - . ' ^^.t-.r^>
      Due to the afor^e^iaerd. facts. probable cause exists to charge l^ihg with FSS 643.02-.a resitstih^^e^ vvffibut
      viotence,:FS^te^ trespass after warning, FSS 877.03.bdisord'erty conduct, .and FS.S 893.147 ^£^§es^rug •
      parapherffaliaNKing was later TOT PBC'J.                                                         r-,f?
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The child and/or parefil'was toltf to keep the Juvenile Court Clerk's Office ' ,/-'^1^. •'"
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IS INSTRUCTION'NP. 2 - You need not appear in Court                                                                                                                                                   -7^-7"" ^:
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                                 /r but must comply with instntctiOHS on Page 2.                                                                                                                       f^.\—^ •
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1 AGREE TO APPEAR AT THE TIME AtW PLACE DESKWA7EO TO ANSWER THE OFFENSE CHAAGfiO OR TO PAY THE FINE SUBSCRfflED. 1 UNDEttSTTAND TiSSTSftoCTXi
1 WOJLFUU.Y FAB. TO APPEAR &EFOW& TME COURT AS lUEQUUlED BY THIS NOTICE TO APPEAR, THAT I MAY BB HELD IN COMTSMPT OF COURT ANO A WSSSf&fT ' ^f-
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            FL 0500200                    BOCA RATON POLICE DEPARTMENT                                                       3 | 2 I 2014-0040S4_
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              a 1. Felony                     [8 3, Misdemeonof                 i. Ordinance
ChtAMffltny
» apply- U 2. Tfftffic F<!ony                 C3 4. Tfaffie Misdemeanor     D 6, Other
Nirni (Lift, Ftrt, MiddH)                                                                                                                                        Sex     0*t» Of Birth

  KINO MYRON LENARAYE                                                                                                                                      B      M       01/13/1965
Chai^B DUctptXn                                                                                      <;h*faa OticrtpUnn

843.02 OBSTRUCT OFFICER WCTHOUT VIOLENCE
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   ThB undersigned Cfinlftea end swaara thy ha^slu has just and res&nable grounas to bellBW, and does belteve thai Iha ebova namri Defendant commiued               :lawng violaton of (aw,
   the Person taken into custody ,..
                                                                                                                                                                    ^
     Q8 committed the below arts In my presence. , 0 was observed by,                                                                                                                         .who toy
     Q confessed lo.                                                                                                         ,lhat he/sM$3^fee St^stad person commitltfte below acts.
         admitting to the below facts.                                                    QB was found to have committed fte belcn^cts, resutfirf^ ft^in my (described) inveiitigatfon.
   On the 22 day of_March                                          2014 at__l3s40^^ (SpectKcaiiy Indude facts consti^^yg caj^ IOT afresl.)


On 3/21/2014 at approximately 1210 hours Z responded to^^S'                                                                                 Federal Highway to
 investigate a possible trespassing. While en'ro-ute/ I^weilf                                                                             formed by KKPD
 Cowmunications, that a houeless male was blocking a/'^.grway^ and the complainant would like
 him removed.


 Upon sucrival I observed Sgt. Bailey speaking yrS                                                                         midentifiect black male. Sgt.
 Bailey thought that he recognized the male t<^j                                                                  lie Lawson an individual he had dealt
                                                                                              A-i.
 wLth previously. I asked the uaXe severaKCim^^-for ha-s name and date of birth and he
                                        ,^i.lh§"he7know who I am". I informed the B/M that
nodded hi$ head toward Sgt. Bailey and sail
he was being issued a trespass waming-^^lpr                                                          .s property at the request of the property
 manager. I attempted to explain to -fc^^ fce that as soon as I knew who he was/ I would
 issue the warning and he"d be fre|i'^o <J<|^/                                                  He replied that he knew he wasn't going


                                                                   ^
 anywhere because he had a warrac^

                                                               i
 I returned to my car and pull^gt upJa photo of Lawson in DAVXD and quickly determined
 fhe B/M we were speateing with ^^•^not. this man. 1 pointed out to the B/M that. I had

                                                       ^
 obtained a picture of Law^Q^ and learned that this was not his name. Ttie B/M then
identified hxmaelf as frtyr^^^ King (1/13/1965). A search o£ DAVID verified that King was
his true identity   tcha NdlC/FCXC search revealed he had an active warrant out of ?alm
Beach County for      ^n diTug related charges (warrant, # 13 018688). ^

As a result of^thil investigation. King was charged 'with obstruction contrary cs.
F.S.S. 843,0^^j iling to provide his correct ariame and DOB during our tresp^psi.ngt
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 investigaj^^^                                                                                                                                                                     GO
                            X                                         .                              .:.'-
 King was tranlisported to the Boca Raton Police Department for- proceaslngr .g^o?: t£2
 being turned over to the Palm Beach County Jail in West Palm B6.ac!h. -z;^-.-") "c.n




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    SWORN AND SUBSCRtBEi

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            NOTARY PUaflC / CLERK OF COURT /OFFICGR (f.S.S-117.10)
                                                                                                                       MICHEI. MICHAEL C fSSOI
                                                                                                                           NAME OF OFFICER (PIEASE PRIKT)
                                  03/22/2014                                                                                                                                                  PAGE
                                       OATE                                                                                       03/22/2014                                                   lw I
                                                                                                                                           DATE


COURT                       STATE ATTORNEY                            CENTRAL RECORDS                                       JAfl                   CRi                                        P. 1,0.



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Check as many as Apply.                0 2, Traffic Felony              D A. Traffic Misdemaanof                D ^Other                                            ;N/A                              Indcttw
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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 25 of 136




                                         Please contact
                                      one of the following
                                      telephone numbers
                                   for further information

    CENTRAL CLERK'S OFFICE         NORTH CLERICS OFFICE           SOUTH CLERK'S OFFICE         WEST CLERKS OFFICE
     Violations Bureau, Room              Room 202                     Room 150                CriminaNt§§^ Bldg,
              2.2300                   3188'PGABlvd.              200 West Atlantic Ave.       38W»eR'i§a#80
      20'6 N. Dixie Highway      Palm Beach Gardens. FL 33410     Defray Beach, FL 33410        Be1iig|de, R. 33430
    W. Palm Beach, FL 33402       Telephone: 561-624-6608        Telephone: S61-274-1530   NHte^E&l -996^843
    Telephone: 561-355-2994


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        Poss. Of Marijuana under 20 gram                                                                              Pass. Of Paraphernalia
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      onthu' 14 payoi June                                                            14                10:31

      I responded to the area of 627 NE 6th Avenue in reference to a suspicious person '^jg*^rugs in the parking lot. Upon
      arrival. I met,with a W//F who stated that she wished to remain anonymous^n^npt fill out a witness statement. The W/F
      stated that she observed a W/F and a B/M in the parking lot using what sh^pli^ed was a crack pipe and looking into
      car windows. She described the B/M mate as approx. 6 foot tall wearirncH^ gr^^hirt and tan pants. She stated the W/F
      was wearing black pants. I then canvassed the area and located B/^E^I^n^fng (DOB 01/13/1965) in the parking [of of
      Bud's Chicken locate dat 509 E. Boynton Beach Blvd. which is a .pt^a T^felocks from where the caller stated she saw
      the suspicious B/M. Myron was wearing a grey shirt and tan pari^.h^^'llso had a bicycle with him which woufd have
      easily affowed him to cover the distance to that location wi^lt^^m^ frame in question.
                                                                                                                   Ak^-".
             I then made contact with Myron and he advise^Patl^vas in the above area but was not using drugs. I then
      asked Myron if (may conduct a consensual $earch to<pltto fe'ars at rest. Myron stated that I may search him and that he
      does not have anything on him. I personaliy knov^fr^n pr^l&us dealings with Myron that he is a crack cocaine user. As I
      prepared to search Myron, he stated 1 just got a-^a^^g of weed in my pocket. I then discovered a small bag of
      Marijuana in Myron's right front pocket. I thep'fietriesl^d a metat rod from Myron's left rear pocket and two small pieces of
      metal cloth called Choreboy which I knowfr^^trai^ing and experience to be used as a filter in smoking crack cbcaine.
      The Choreboy was crushed into the siz^iSt cQ^p6nly used crack cocaine pipes and appeared burnt! aiso know from my
      training and experience that this !s con^ion when an item is used as a push rod while smoking crack cocaine.

     I then advised Myron he is unde^irrest for possession of paraphernalia and Marijuana under 20 gram (.7 grams tpw). I
     then handcuffed (D/L; checked f^^ajGing) Myron and escorted him to the back of my patrol car. I then conducted a field
     test of the Marijuana uhtizfj^g a Dd^uenois- Levine reagent test which revealed positive for Marifuana. Ithen conducted a
     field test of the burnt C^e^boy utilFzing a Scott reagent (modified) test for cocaine which revealed positive for cocaine.
     This further confirmed fbaf^n Choreboy was indeed utilized a paraphernatia. Myron was released on scene with a notice
     to appear^fter beiis^^re^in F/NCIC and PALMS for outstanding warrants. Both the Marijuana and parapehernalia
     were entered iittto ^BPDI&vidence.


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                                                   Please contact
                                              one of the following
                                              telephone numbers
                                        for further information

    CENTRAL CLERK'S OFFICE                   NORTH CLERK'S OFFICE    SOUTH CLERKtS OFFICE   WEST CLERKS OFFICE
   Violations Bureau, Room 2,2300             Room 1210                RoomtS-124            Nttl-ioo
       206 M. Dixie Highway                 3188PGABivd.           2QOWBstAfianticAve.    29S^taT^o'ad 15
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     Telephone: 561-355-2994           Telephone: 561 "624-6608 Telephone: 561-274-1530 ^%MB: 561-996-4843
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                                                        WRITTEN STATEMENT
                                                BQYNTON BEACH POLICE DEPARTMENT
                                            Q^icriM Q WITNESS D SUSPECT

Case # /^/J^//^/J OffenseType: ,^7%,, /7/by                                                                                  D ©"D ODD
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I will testify m court (^YES^NO                                                                   /. ,-/y / •' /^
1 will prosecute criminally/^YE^TNO ^ .<^^.                                                           .^ SIGNATURE
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Sworn to afld subscribed before me, tius _o/^L Day of _]^4         1^_          > ^^ as an pff$Sof the Boya^on Beach Police Department.


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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 31 of 136




                                   SUPPLEMENTAL STATEMENT
                                            BOYNTON BEACH POLICE DEPARTMENT

                                                                STATEMENT AUTHOR
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     King, Myron, Lenaraye                                                                                                                                 B            M       1/13/1965
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     Robbery with a Deadly Weapon (Knife)                                                                Aggravated Assault with a Deadly Weapon (Knife)
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      a, n* 13th              (mm May aoT7___ ^46 _ _ ay. -S)p^,_ IL

       I responded to 744 W. Boynton Beach Blvd. (7-Eleven) in reference to a 911 Openl^. Repilffng person advised Boynton
  [Beach Police Communications that a 8/M subject was trying to take things from the^oF^id that he was taking a knife out
  ithreatenlng people Inside the store. Reporting person advised the subject was^w^arS^^ fellow shirt, Jeans, and a bkie cap. I
  larrived on scene and entered the business. The clerk on duty at the 7-Eleveri^rl^g th^ime of thi$ incident, Breno WiHEam laredo,
  |pointed towards a B/Mi subject precisely matching the description givenly^jrdd^pai B/M subject, iater identified as Myron
  [Lenaraye King, was walking towards me at the front entrance of the buisfne'S^oB^rved a bulge on both of the pants pockets King
  |was wearing at the time of this incident. I immediateiy drew my fJrea^n^KIr^Iapproached me and commanded him to drop
  [down onto the ground out of fear for my own personal safety ba,^on^i^originating caii claiming the subject had a knife. King
  [initially refused to comply with my commands, while offenngAV&Tla^^si^nce and shouting obscenities towards me, however after
  several repeated commands he finally complied with my o^l^^J cor^Tucted a search of King's person and retrieved a gray fofding
  |knife with an approximately 3" blade, from his pants. Kirig^as R§|!dcuffed and continued to be cKtremely beltigerent throughout
  [this incident, however he was detained without incicieJlttL^- 'r
       I spoko with Laredo who stated that at appro)i*Ena^^2T3ti hours, King (Whom he confirmed was the subject in custody at the
  |time of this incident) entered the store and askfi^ilgi f^rWree cup of coffee. Laredo stated that because he felt bad for King he
  [offered to pay for the cup of coffee for King.^A&Kffitbgp^roached the coffee section of the store, Laredo observed King place store
   merchandise tnsfde of his pocket and pre^w son^e^a, which he stated is not what he agreed to pay for King, LaTedo approached
  |King and asked if ft was his tea or if he had^gnjt from the store and King became aggressive towards him and shouted that he
  ,was going to "whoop my pussy ass,". Laredo'SfSb advised during the argument that King stated he would be waiting outside for
  |Laredo until he got off of work. As Ip^^asked King to leave the business. King pulled out a knife (Laredo conHnned that the knife
    had located was the same kj3lfe in q}jfes¥fon) and approached the counter area where he was working. King approached Laredo
   behind the counter and c^lnueci ^threaten Laredo while being verbally aggressive towards laredo. Laredo stated that he
  cannot recall exactly wha$%^awas saying to him as he was afraid and had grabbed a box cutter to defend himself as King
  approached the cas^T^^terij^a. As laredo held the box cutter. King backed away from the cash register area and grabbed other
  .merchandise to i.nc|yde ^fee and napkins. A witness Woodrow Lunsford confirmed this account and both completed statements
  idetaillng the in^ide^l^urveiHance footage was obtained that confirmed both accounts of the incident.
       King w^^jd^randa warnings and stated that he only pulled the knife because laredo pulled out the box cutter, however
  this account df^he incident is not depicted in the surtfeillance footage. King refused to sign a Miranda Warning card. Based on the
  istatements givei^evldence recovered, and the surveillance video confirming the incident; I arrested Myron Lenaraye King for
  iRobberywith a Deadly Weapon- Knife (F.S.S. 812.013.26) and Aggravated Assault with a Deadly Weapon - Knife (F.S.S. 784.021A).


       Th» foMBotng inttfvmant was sworn to or^'mnnd and ty&Kribad tisfdre me                                                                                                                                  cy^:-^
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301 E. BOYNTON BEACH BLVD. (DJS 3EIESTAURANT) FL 33435                                                               561 -732-5172                   o^sk.
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 On lh6 18TH day of                         JUNE                   08 ,i        8:48 ^ A.M. Q PAt. (Spaciftcally j^dudft fafi^nstituUng causa for arrest.)
                            I responded to 301 E. Boynton Beach Blvd. (DJs Restamant) reference an a^^t.J^pon amval I met with the

lowner/catter W/M> Qamil Banushi CDOB 1/29/71). Banushi stated that while he was p^ut^^^ie tables and chairs outside, getting ready to

open he saw a B/M, later identified as B/M Myron King Q30B 1/13/65) ridmg hi^^icy^^^sed the restaurant. Banushi is familiar with
                                                                                                                        \^.
King because of problems fhey have had m the past Banushi stated that whiI^KS^^a^nding by him on his bicycle he shouted out "fuck|
you" and called him out to the sidewalk to fight him. Baaushi stated that 1^-h^^ked towards King, King pulled out a pocket knife.
|Banushi was in fear for his life at this point so he ran inside ofhi$ re|^y^|^,aad called the poHce. King was nearby when BBPD arrived

and was taken into custody. While searching King incident to anglh s^Jl pocket knife was recovered from his fiont left pocket. King
                                                                                   .£^&!h. -~.~7~
was handcuffed which were double locked and checked fortighta^^jfcle was TOT to BBPD for processing and later TOT to PBCJ. King
is being charged wifh IF aggravated assaatt with a deadl^e^^u^FSS 784.02 1.

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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 40 of 136




  08TS Numbar                                                      PROBABLE CAUSE AFFIDAVIT                                       1. Ami       3. Raquasl fcr Warranl
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  Nairn flw!, Rrct. Mdd^                                                                                            AHw                              Race    $ax        DaleoFeitth
  King, Myron L.                                                                                                                                               M              01/13/1965
 IChafflaDasc^ptinn                                                                                       Ctiaw Dascriplion
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  Vtetim's Name (Lart, First, Wlddle)                                                                                                                        Sex I Oaiortbinh
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  The           Parson                   taken           Into          cyrtody..                      '    '   '   ^»      „   ,,   ^,
    Q committed thn buiowncta (n my prassnca. [g ^a* obsa/vod by OtC ZellertflCClail whtf'!iSi8^. ^^fe»'
    Q confoMM 1». ^__ that tis/sho t»w tha prraatad peraon commH ih* ^tow e^ -^
        admiltfno 10 tha below fact*.                                                 Q was found 10 hava commftted thfl bsfaw act^,i(gaJ§!ao fror^my (described) investiflfltion.
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   On th< U day of                                10               ao 08 ai 2300 Q AJfl. 0 P.U- (Spedficatly li^iflo fatrtt^conetituting cause for arrost.)

                            Memebersofthe Traffic Unit were working an undercover operatioH detail at S^liJPOO blk of N Federal Highway in
 ithe city ofBoynton Beach, Pabn Beach County, Florida. A "bait vehicle", 2008 Kia ST^'^placed in a lot at 1105 Nonh Federal
  highway and was being watched by Officer Zeller and Picciano. From a conceala^sitK^^pproximately 20 fwt away they observed
  a B/M later identified as King, Myron OI/I3/1965 and B/M (unk) enter fhe p^y^^jl^d approach the "bait vehicle." OKicers observed
  King lookmg into the wmdows of the veNcle and checking doors via sMefeg •^Slp^ handles. He then attempted to pull open fee
 passenger door by prying his fingers in between the corner of the dow. n'^^'infonnation_was relayed to other officers who responded

  and coafrooted both males before they could do any damage to A^vg^e. Mag was handcuffed iromedJately and during the pat down
  search of the other male, he broke free and fled on foot fTom^o^s OfiScers gave chase but the other male got away. King repeatedly

  insisted that he never left the sidewalk and did not kncny^vf^lthe imK B/M that got awssy. Due to the fact that King attempted to enter the:
  'bait vehicle" he was charged with attempted burg]?(y.t61||gn^eyance and sent to the Palm Beach county Jail
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   Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 41 of 136

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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 42 of 136



  OBTSNwntw                                                         PROQ/«Le CAUSE AFFIDAVIT                                    1.Arrest          3. Request forWtWt                       Awenfla
                                                                                                                                Z.N.TA            4. Request fcr C&pia*
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    _**_wrtf                  2, Traffic Felony        D 4, Traffic atedemeanor                   6. Olher
 wsnw (Ud Rrst Mkttti?)                                                                                                                                Race    Sex        Data cf Birth
  King, Myron                                                                                                                                            B       M                  01/13/65
 ChaiBOOesa^rfon                                                                                        Chaigo Description
 IReststmg Arrest w/ violence F.S.S, 843.01                                                             |3 counts Possession Drag Parapheroalta F.S,S.&93.147.1
 [CtewDesc^ton                                                                                          Chstf^o Oos^ption
 iSuspicious Loitering
 VictUrfs Nanrt (last. Firs*. MSiiktWil                                                                                                                Race ISu           Datft of birth

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   Qconfessooto                                that ha/she saw th® anwtod person commiiftel
     ad mttting to ttw botow focta.          I was found to have committed wo below act». ifiauiUn'                                                                  my (described) InvestlgaUon,

  Onlhn_2?_ „ day of                                    20 09       02: n       i AJi<* a P-**- (Spectficalty,           iny caayaft fw anwt,}

                              I responded as a back up Officer to Ofc. Shane (ID it 885) on 3 indlviduals^to w^re loitering on the 500 blk ofNW
                                                                                                                                              ~^^yr
 4th St, It should be noted that this area is documented w& ahigh crime and narcotics aniiE^the city ofBoyntOrt Beach. Upon arrival, t

 made contact with one of the individuals, later identified as B/M King, Myron (I3©PT^|i[13jiJ65). I then asked King if he had any dmg or
 weapons in his pockets and he stated," just a stem" (street word for Crack P^p'^^be^aSked King where the Crack Pipe w^s located
 land he stated^ "in one of my pockets". I immediately asked King to pla(^e4u^||Rds^Sn top of his head in order to search him for the Drug
 Paraphernalia, and discovered an appnc. 3 inch cyluidrical pipe witfe^^^K^mesh stuffed in one end (which 1 know from ittaining and

 experience to be used to smoke Crack Cocaine) in$id& his left prihts^^k^and an apprx. 4 inch metallic rod (in which I tmow^from
 training and experience to be used to push Crack into the pi^e,^bug paraphernalia).
                                                                                    ^ilfil^^ 'f^t'
                             I thenasked King to sit on the giom^^i^^^Hs boot^offm which I know it can carry weapons and narcotics. King
                                                                             V^ti
 |then took his boots off. I then asked King to takeMs^oc^ff. When King took his right sock off, another appnt. 3 inch cylindrical pipe

 wifti copper mesh stuffed in one end (CrsckJ^pe)'                                       inside his sock, in which he immediately tried to grab in order to conceal it

 'from me.

                             While King was txying to                    for the Crack Pipe that fell, I immediately grabbed his ami and verball;y told him to
 place his hands behind his back in or%<Fl%p1ace him in handcuffs. King rejfused my verbal commands and refused to place his hands
 behind his back. Ofc. Shan^lJsen cam^tb my aid in order to place King's hands behind his back and King respqnded<3!§r kicking and

 flailing his arms, tryingjtjO^                    officers conuol and stand back up. King almost struck Qfc. Shane and^ while hus1W(Sttymg_to get

 away from our contqji. Of^Shane and I then kept verbally commanding King to stop resisting while he fcspt moving fitpund and it took
                                           .^....     -   —..-....                   „   .   ..-_        ...............                  .   .    .   ....     .    ^    ^^




 iseveral mome^l^O^Shane and I to ^in control of King and able to successfully place him in handcuflEs, (in which I suspected

 King to be undei^the influence of possibly a narc&ric due to his abnormal behavior).
                                ing was then transported to the police dept. for booking and processing. An NCIC/FCIC check on l^^g came back
 with negative results. Based on the above information, I find probable cause to arrest King with 3 counts ofPoswsstoa fc^Drug

 ParapiicmaUa, and I count of Resisting Anwt w/ violence F.S.S. 843.01. King was then TOT PBCJ.



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                                   DATE                                                                                                  01/29/09
                                                                                                                                              DATE                                         l.GfJ.
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     Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 43 of 136



    OBT^ Number
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                                                                                    Juvenile Referral Report                                           2. H.TA. •<- Request forCapla'E

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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 44 of 136




                                       Please contact
                                   one of the following
                                    telephone numbers
                                  for further information

    CENTRAL CLERK'S OFFICE         NORTH CUERK'S OFFICE         SOUTH CLERK'S OFFICE           WEST CLERKS OFFICE
     Violations Bureau, Room              Room 202                     Room 150                 CriminaliMce Bldg.
              2.2300                   3188 P6A Blvd.            200 West Atlantic Blvd.        3884M!ate'R^d #80
      206 N. Dixie Highway       Palm Beach Gardens, FL 33410    Delray Beach, Ft 33410          BetAie, FL/33430
    W. Palm Beach, FL 33402       Telephone: 561-624-B608       Telephone: 561-274-1530        Temoi^Wt -996-4843
    Telephone: 561-355-2994
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      Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 45 of 136


       OBTS Number                                                          PROBABLE CAUSE AFFIDAVIT                              1. Affe$t       3. Request (or Warrant                    Juvenita
                                                                                                                                  2. N-TA         A. Request far Caplas                                 N
      Agency ORI Number                             Agency Nanw                                                           Agency Raport Number
      FL.O ^00^00                                         BOXWTON BEACH POLICE DBPARTMEKT                                     34 ]"( 10 1-128051
          Ch*f(>Typt;                 1. Felony                    3, Misdemeanor                  5. OnJlnance                        S(«rfat Moles;
          Cfrerii 31 (Tiany
                                      2. Traffic Felony            4. Traffic Mtp^ameanor          6. Olher
          nwffy
      Name fUsl. Rrat. MWdtel                                                                                      Mas                                   Race   S<st        DsteofSirth
      king, Myron                                                                                                                                         B       M                    01/13/65
      Charge Description                                                                                 Change Descriplion
      Strong Arm Robbery
      Charge Descripton                                                                                  Ctwye Dascription

      Victim's Nanw (Lasl. Fust, Mlddte)                                                                                                                Raca    Sax        Dalo of birth
      BeIverdy-Ortiz, Lany                                                                                                                                H       M                    02/2] ,61
      Local Addrass (Sireel. Apt. Number)                                    (Ctty)-           (Stale)            (rip)       Phone                             Address Souroe
      1006 SE 4th St Boynton Beach FL 33035                                                                                   561 -5417160                                 A
      BvdnVw Atfdws [Name, Streeg                                           (cft/r            '[State?            (Zip)       Ptione


      The undwstflrwd certifies and swan thai hefs)f« haajuSt and reasonable groun<is tobeligys, and Etoes beDave that theabovs namad Defendant cornmH                 Toaowin§%olalioft0f!aw,
      ThePefs&nfakenfntocuslady.. ~ ~ ' _. . _ . /^
       Qeomm!tted tha below acts in my preswwe. g) ^gg obseriWi by_Balverdy-OrtJZ                                                                                          Ofc Schalk, C
            confesseo to                                                                       that he/she saw the arrested person oommil
            admitting to Vw below facts.                                                    S3 was found lo tww committed th& below acts. ^u[t)nG^|om my (<t»s<;tlbed) inveeligatton.

       On Ihs __A?_._.___ <layor                          June
                                                                                                                                                ^
                                                                            20 10 at 1534 Q A-nf. (g) P.M. (SpSCiflcaJiy^nductftfa^^nstitutinflCBuaBforarmst.)

                                      An Attempted strong arm robbery at 1006 SB 4th St Boynton Beach PL. U|^irg!Cleting with (VICTIM) Balverdy -
      Ortiz, Larry he stated the following: While walking north bound in the area of 1 000 SJEi^i|^t. the above mentioned B/M approached

      Balverdy, and asked for sixty five c$nts. As Balverdy took out three dollars froip^is 1Ri|j^^ants pocket Ae suspect grabbed his ri^it
                                                                                                                                 \^T
      hand, and attempted to take his money. Balverdy was able to break free (no.,m'6^sftal@an), and told the suspect to leave him alone, and
      that tie didn't want any problems. The suspect then fled the area and tmv/e5ed%0hlS%und on S. Federal highway. Initially Balverdy
                                                                                                         /A. ^ . -T'
      stated the suspect was riding & three wheel bicycle, and was wearingfa git^shirt with blue pants. Upon questioning him again
                                                                                                   ;~^
  Balverdy then stated the suspect was wearing a blue shirt, blue p^rts^^ng a two wheel bike with what appeared to be milk crates on
                                                                                                          '§••

      both sides of the rear tire. H should be noted that Balverdy v^s '^fcgemely inconsistent with his story. Balverdy was given a case card

      with Mse number, and completed a sworn written state^nt^

                                  After leaving the victims resjdenp0mf^l||ttitmued to canvass the surrounding area^ still yielding negative results. It
      should be noted that after discussing the desc^iptic^ftl'%&.above B/M via Police radio with other Officers, they said that the above
                                                                       J • • ^F-

      subject matches the description ofB/M Myr<^.Kingt Officers checked the surrouuding area, and could not locate Mr King.

                                  At approximately 1534 houriHKThg came to the BBPD, because he heard officers were looking for him. King was read
      his Miranda Rights and confessed to b^^^volved in the above incident, his story matched Balverdy-Ortiz stoiy except King stated he

      never tried to take any money^Tmg completed a recorded statement. A photo litte up was produced and King was positively ID'd by
      Balverdy-Ortiz Based onlftie^^gmentioncd. King was placed in temporary hand restraints (under arrest) (checked for dghtness and

      double locked) for Str^g ^robbery pursuant to FSS 812,13 (2)(C).
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          Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 46 of 136


      m                                                                     STATE OF FLORIDA
                                                                                        vs,

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Date;.           WWGt.udge:.                             A-^^S^ jf/^^^3^^^-                                                                    JAIL INFORMATION
Inierp:/ Spanish/Crcolc Present/Ntwdcd Deft —fe^._/Pre&jy/Counsel

0 RECALL CAPIAS 0 CAPIAS ORDERED Bond $Ct $                                                a Sond Forf/Disch/Remaiiu

Obtain / Waive Atty 0 Advised of rights Q Sworn & Testified                                a ladjgcDt/Not Jndigeat

Plea: Q Not Guilty 0 §rivate counsel                     Appt. 0 PD Appt'd $50 Fee         a PD Discharged
                                                                                                                                                   Straight Tinw/Served as
                                 ,QNCCT.                   Arij-l^rr f NO CT                             a w/Hdd cr.                          Q Short/long wcclcends
         a PLEA TO COURT Q Best tnt Q Action/plea/bond forfeiturfc of.                         vac&ted & sei aside Q Senti^KngJ^tsscd         Q No objection to work release
         a NoUc Proscqui CT __„„,„„_—.,.„ .,.. Q Dismiss CT.                                                                                   a May do In-House Arrest
                                                                                            Report imBiea&^y.^ Clerics Office
          Order Assessing Costs/Judgiuwt                         lo^Days to pay ^)Q. — To'ConipIgte <:oI;B^g^tt& agnement                      Jail s&nt to commence on

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Q Psych/drug/alcohol eval/treat as needed Q PIPE/PRK^^C^Random Alcohot/Drug Test at Deft Expense Q HIV/STD/Hep A,B)C test/olass



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   PROVISION OF CeflTAIN ASSISTANCE. PLEASE COMTACT MS. MARY JAFRE, ADA COORDINATOR, 1» THE ADMINISTRATIVE omCE OF THE COUW, PALM BEACH CSOUNTY COURT.
   HQUS& 20S NO. DIXIE HiGHWAy, ROOM SJSOO, WEST PALM BEACH, FLORIDA. AMOI; TOEPHONE NUMBER t561t 355-4300 WnHIN rwo (2| WOIUaNG DAV& Op yOUFt HECeiPT OF
  .THIS NOTICE. IF YOU AM HEAniNG Oft VOICE tMPAffiED. CALL 1^0».a55-8771.
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         EMPLOYEE TRAFFIC CITATION REPORT
                                           <•




  DATB:^2^£sM3 EMPLOVEB-S NAME: fi^ }~-^^Lr//?^_

  DRIVER'S LICENSE NUMBER ^>-y<^/2-^-/7^-^


  CITATION NUMBER:__^1__ CITATION DATE :                         DS/nlzoQ

  OFFENSE: ^ d // <^h'~h



  PlzACB OF ISSUA2SCB:

        CITY:
        CITYL -ft?/^ '$W^^' *_
               ^'•~ /~ ' ^



        COUNTY: t^ll^ KeOC-^^Uf)^ STATE:^^

              ; AGENCY:
  ISSUING POUCE            ~^/M^Hy)Q^
                 AGENCY: ^ ^//Vl V/A                     C
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  COMPANY VEHICLE NU3MBBR:          f/f) V

  PRIVATK VEHICI/E: YBS OR/NQ (Circle one)


  DO YOU INTEND TO GO TO COURT? //YES\OR NO (Circle one)
                                       ^ > ---—-/




  COURT DATE:_'. _ ^Documentation must be provider



                PUEASB ATTACH A COPY OF THE CITATION
                 Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 49 of 136

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                                     Village of Palm Springs, Fioirida
                                    •intersection Safety Program
                                     M- Box 22091
                                     Tempe, AZ 85285"209f

                     Payments are not accepted at thts address.
                                                                                                                                     If you have questions or want to view your
                                                                                                                                          video, images or pay online, lOQin
                                                                                                                                                to www/.Vtoiationlnyo.cotn
                                                                                                                                     NOTICED 1341300016358
                                                                                                                                     PIN: 7161
                                                                                                                                     Amount Due: $158.00
                                                                                                                   <
                                   BOARD OF COUNTS COMMESSIONERS OF PBC                                                              Due Date: 04/21/2013
                                   2455 VISTA PKWY
                                   WEST PALM BEACH, FL 33411 . •


                 ON/pate)        ATTOflE      AT LOCATION                                                            COWTY
                 03/11(2013       10:03 AM    NB S CONGRESS AVE/SR407 @ lOTHAVg N                                    PALM BEACH

                 NAME
                BOARD OF COUNTY COMMISSIONERS OF PSC                                                               ^
                STREETADDRESS
                245S VISTA PKWY
                CHY                                                                       STATC                   ZIP CODE'
                WEST PALM BEACH                                                           FL                  33411
                DID UNLAWFULLY                       OPERATE/DRIVE              t: Q PARK
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                             IF YOU HAVE QUESTIONS ABOUT THIS NOTICE, PLEASE GO TO WWW.VIOLATIONiNFO.COM


                                      Pay with your Visa or MasterCard at www.lfliriatlonfiifjci^rn or mail your check or money o'rder Wftti tfife coupon to fte address below.

                                                                                             NAME: BOWD OF COUNTS COMMISSIONERS OF DUE: 04/2172013
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             •/ Make your check or money order payafala to
                VTIIaga of Palm Springs.                                                          Village of Palm Springs
             •^ DO NOT MAIL CASH,
             ^ WfSs Ihe NoUce^cn the front of your payment                                        Payment Processing Center                                               ?KMQMr
         ^ Insertthis tmr-off coupon In ihe enclosed enyefope with
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                                                                Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 50 of 136
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   ANDRES ROBINSON 11 ARBITRATION - 10/28/09 ACCIDENT " CHRONOLOGY

   1. 1/12/00 preventable accident (PA)/ hit light pole

   2. 2/4/02 PA with another bus/written reprimand

   3, 7/7/03 PA rear end/citation/2 day suspension/2 within 2 years


   4.2/7/04 PA parked vehicle/2 day suspension/2 within-2 years


   5, 3/7/06 PA with vehicle/ offered last chance agreement after suspension/ rejected,
              terminated 6/30/06, reinstated by arbitrator 3/07

   THREE PA*s WITHIN 2 YEARS:

   6. 10/30/07 PA while turning, hit parked car/1 day suspension without pay

   7. 12/23/08 PA rear ended two vehicles at stop light/ 5 day suspension without pay, subject
                of pending lawsuit against County.


   8. 10/28/09 PA/ terminated 1/20/10, grievance fiied 2/1/3.0, demand for arbitration 3/1/10
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                                                                                     Return RsceiptFee
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                                                                                 (endorsement Required)



           Palm'ifaan
                                                                                 SantTo
    Adxnitiistrattve Offices                                               rf                               Mr. Andre Robinson
                                                                           f^
                                                                                 ^eet^pf.AK;                     1517 W9th St
     3201 Electronics Way          March 29,2017                            ca   or PO Box No.
                                                                            r-
                                                                                 <%~®ate, Ztf^-4          Riviera Beach. FL 33404'
West Palm Beach, PL 33407-461 8
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         (561)841-4200                                                           RSForm,3SO{},':Augu5t'2qp,6:;
                                   3RETORN XUECEIPT/U.S. MAIL
      FAX: (561) 841-4291

                                  Mx. Andre Robmson
   Patoi Tcaa Connection          1517 W 9th St.
     50 South Military TraU       Riviera Beach, PL 33404
           Suite 101

West Palm Beach, % 33415-3132
                                  Dear 'Mr. Robinson:
        (561) 649-9838

     FAX: (561) SU-8365
                                  This letter is to advise you that after reviewing the evidence presented to me at ffae pre-
      www.palmtran.org            temmiation hearing oa Monday, March 20,2017, regarding your violation of Palm Trail's
                                  Substance Abuse Policy, I have decided not to terminate your employment. However,
                                  your continued employment wi& PaJm Tran will be costmgent on your stdot compliance
                                  wi& Palm Tran's Substance Abuse PoUcy, mcludmg, but not limited to. Sections
                                  6.4, 7.2(E), tie recommendations of the Substance Abuse Professional (SAP) and
                                  agree to the terms and conditions pursuairt wifh Palm Trail's "Last Chance
    Palm Bfeach County            Agreement."
     Board of County
       ComtnJlssioners
                                  If you have any questions regarding my decision and fhe terms of your continued
   FauterteBurdidk, Mayo's'       employment, please contact Lavem Blackwood, Siterim Human Resources Manager at
                                  (563) 841-4337.
Melissa McKinlay, Vice Mayor

        Hal R. Valeche            Sincerelyg

         Dava Kerner


      Steven L. Abrams                EbnB.Forbes
                                  Executive Director
      Mary Lov Berger

        Mack Bernard


                                  c: Donna Raney, Chief Assisfa.ut County Attorney
                                         SeaaK. Smifh, Director, Operations
                                         Joe Doycette, Director, Admmistrative Services
 ' County Administrator
                                         B.J. Barrow, Senior Manager, Operations
     Verdenia C. Badrer                  Amalgamated Transit Union, Local 1577
                                         Employee File


    "An Syual Oppwtsmity
 Affirmative Action Employer"


official BIectronic Letterhead
      Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 53 of 136




           PaJlmTraun

    AidjttJiutKstcative Offices

     3201 Electronics Way

West Palm Beach. PL 33407-4618    April 27,2016
         (561) 841-4200

      FAX: (561) S41-4291
                                  Mr. Andre Robinson
                                  North County Bus Operator
    yalm licati Connection
                                  3201 Electronics Way
     50 South Military TtaU

            Suite 101
                                  West Paka Beach, Florida 33407
Wfest Palm Beach, FL 33415-3132

         (561) 649-9838           Dear Mr. Robinson:
      FAX: (561) 514-8365

      WWW.palmtran.org            We have met several times regarding the Red Light Infractions of
                                  March 11, 2013, February 4, 2014 and March 24,2015.

                                  It has been determined by the company that there shall be no
                                  discipline issued for the above described Red Light Infractions.
     Palm Beach County
      BOEu-d of County            For future reference, if you receive, a Red Light Ticket Infiraction,
       Cotnjixdissxoaers
                                  the company will issue discipline.
    Maxy ]Lou Serger, Mayor

  Hal R- Valeche, Vice Mayor      At all times you shall use due caution and care at all intersections
       Faul&tte Burdtclt          whether controlled or not controlled by a traffic signal.
         SheUeyVana
                                  A copy of this letter will be placed in your personal file.
       Steven ]L. Abrams


       MeUssa McKinlay
                                  Regards,
       Priscilla A. Tfaylor


                                  feanne M. Rougeau
                                  Safety and Training Department
   County Adtxuaistrator
                                  Cc: Asrscmnel^
      Verdenia C. Baker
                                        ATU,Locall577

      •An Sguat Oppcftunity
   Ajfvma&ve Action Employer"


 Official Electronic Letterhead
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                                                                                                                  Page 1 of 4




   ft'Ott
                                                                                 Florida MVR Services, Inc
                                                                                                             P.O, Box 13905
                                                                                                  Tallahassee, Florida 32317
   Tr'xirTcTfr.TwT;
                                                                                  Phone: (850) 894-8201 Fax: (850) 894-0536
   Authorized by State Deparfment of Highway Safety and Motor                                                www.flmvr.com

   Vehicles as a Nefworh PivvicterofFtofida Motor Vehicle Reports



                                                            DRIVING REPORT-

   STATE OF RECORD                   FLORIDA                               COMPANY NUMBER:       14621
   AMOUNT OF HISTORY                 7YR                                      REF. NUMBER:       2019393
   REPORT DATE/TIMS                  03/05/14 12:56                              COMMENTS:

                                                        DRIVER INFORMATION-

   ANDRE L ROBINSON                                                    DOB: 05/15/1964         SEX; M
   1517 W 9TH ST                                                    HEIGHT: 5* 7"             RACE: AFRICAN AME
   RIVIERA BEACH FL 334046501                                       COUNTY: PALM BEACH

                                                       LICENSE INFORMATION-

   LICENSE NUMBER
   LICENSE CLASS                CDL"B^ ANYTWiGLE VEHICLE WITH GVWH OF
                                26001 LBS OR MORE                                         ISSUED:       05-11-2010
   LICENSE STATUS               VALID PENDING                                            EXPIRES:       05-15-2018
   LICENSE REJ3TR               CORRECTIVE LENSES
   LICENSE ENDOR                ENDORSED FOR OPERATING VEHICLES HAULING
                                PASSENGERS
   LICENSE ESNDOR               ENDORSED FOR OPERATING SCHOOL BUSES

   PERMIT ISSUED                CDL TEMPORARY PERMIT ISSUED                              ISSUSD: 08-18-2006
   PERMIT STATUS                EXPIRED PENDING                                          EXPIRES: 02-14-2007

                                                 STATE SPECIFIC INE-ORMATXON-

   EXAMS TAKEN: VISION=1 RD SIG^l RD RUSES=3 DRIVE=1 MC RULES^O MC SKILLED
   CDL EXAMS TAKEN; VZSION=1 GEN KNOWLEDGE=6 AIR BRAKES=3 COMB VEHICLE=0
        DOUBLE TRIPLES=0 TANKER=0 HAZARDOUS MAT'"0 PASSENGER TRANSPORT^l
        INSPECTIONS. SKILLS=1 BASIC SKILLS^O SCHOOL BUS"2
   ORIGINAL ISSUE DATE : 01-18-1984
   ORIGINAL CDL ISSUE DATE : 03-24-1992
   REAL ID COMPLIANT
   US CITIZEN
   RECORD APPEARS IN NATIONAL DRIVER REGISTER
   BLOCKED PERSONAL IKyORMATION
   BLOCKED FOR MAILING LIST
   PERSON HAS A DIGITAL IMAGE
   NOT ELIGIBLE TO ELECT DRIVER SCHOOL. DRIVER HAS MADE 5 ELECTIONS. LAST
   ELECTION WAS ON 01-21-2000. VIOLATIONS COMMITTED WHILE A CDL HOLDER OR
   IN A CMV VEHICLE ABE NOT ELIGIBLE FOR DRIVING SCHOOL ELBCrTX03s}.
   RECORD APPEARS IN CDLIS
    (C) NON-EXCEPTED INTR&STATE. OPERATE OR EXPECT TO OPERATE ONLY IN
   INTRASTATE COMMERCE AND IS REQUIRED TO MEET STATE OF FLORIDA MEDICAL
   CERTIFICATION REQUIREMENTS. (MEDICAL CARD REQUIRED " NOT VALID AFTER
   MIDNIGHT 04-23-2014.)




 https://www.£lmvr.com/customers/14621/reports/2019393.html?nocash^l394042214                                        3/5/2014
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     CLASS   E DUPLICATE         09-10-1985        CLASS E DUPLICATE           10-02-1987
     CLASS   c DUPLICATE         11-15-1990        CLASS B DUPLICATE           07-27-1993
     CLASS   B DUPLICATE         09-09-1993                CDR/CDT CLEARANCE   01-14-1994
     CLASS   B DUPLICATE         01-14-1994        CLASS B DUPLICATE           04-15-1994
    CLASS B DUPLICATE         05-26-1994           CLASS B CDR/CDT CLEARANCE 12-16-2003
    CLASS B REPLACSMENT       09-01-2006           CLASS B CDR/CDT CLEARANCE 04-17-2007
    CLASS B CDR/CDT CLEARANCE 11-05-2007           CLASS B CDR/CDT CLEARANCE 11-20-2007
     CLASS B CDR/CDT CLEARANCE 07-18-2012          CLASS B CDR/CDT CLEARANCE 11-27-2012
     CLASS B REPLACEMENT         01-06-2014



        DATE         TYPE                        DESCRIPTION                            PTS

     07-0-1-12 SANCTION        FR-CANCELLATION
                               PERSONAL INJURY PROTECT I ON/PROPERTY DAMAGE
                               LIABILITY(PIP)
                               SUSPENSION
                               CASE NUMBER 723489181
                               COUNTY: • ^ STATE:
                               SANCTION. LENGTH:
                               NOTICE REQUIRED BY S.322.251 GIVEN: -
     07-18-12 REINSTATED       COMPLIED WITH REQUIREMENTS/ LICENSE REINSTATATED

     11-26-12 SANCTION         FR-CANCELIATION .
                               PERSONALLINJURY''PROTECTION/PROPERTY DAMAGE
                               LIABILITY(PIP)
                               SUSPENSION
                               CASE NUMBER 724098307
                               COUNTY: STATE:
                               SANCTION LENGTH:
                               NOTICE REQUIRED BY S.322.251 GIVEN:
     11-27-12 REINSTATED       COMPLIED WITH REQUIREMENTS, LICENSE REINSTATATED
                                                 i-.-




     03-25-14 SANCTION         FAILED TO FAY TRAFFIC FINE(PENALTY)
                               PENDING SUSPENSION
                               CITATION NUMBER: AlUMIJE
                               COUNTY COURT ACTION
                               COUNTY: PALM BEA^H STATE:
                               SANCTION LENGTH:' Indefinite
                               NOTICE; REQUIRED BY S.322.251 GIVEN: 03-05-14

     12-23-08 VIOLATION        FAILURE TO USE DUE CARE                                6 PTS
     02-25-09 DISPOSITION      DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CRASH INDICATED
                               CITATION NUM: 4572RMJ
                               STATE ASSIGNED VIOL. REF. NUM:      17
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL MV: NO

     02-15-11 VIOLATION        SEAT BELT VIOLATION                                    0 PTS
     03-16-11 DISPOSITION      DISPOSITION WAS GUILTY
                               COUNTY COUKT
                               CITATION NUM: 6110WM
                               STATE ASSIGNED VIOL. REF. NUM:      18
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO




   https://www.flmvr.com/customers/14621/reports/2019393.html?aocash^l394042214         3/5/2014
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                               COMMERCIAL MV: NO

    08-03-11   VIOLATION       316.0083 RED LIGHT CAMERA                           0 PTS
    10-04-11   DISPOSITION     DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CITATION NUM: 3898LAH
                               STATJE ASSIGNED VIOL. REF. NUM: 21
                               COUNTY: PALM BEACH STATS:
                               SCHOOL ELECTED; NO
                               COMMERCIAL MV: NO

    09-12-13   VIOLATION       CARELESS DRIVING                                    3 PTS
    10-15-13   DISPOSITION     DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CITATION NUM: A02DUAE
                               STATE ASSIGNED VIOL. REF. NUM:      32
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL WA: NO

    11-18-13 VIOLATION         FAIL TO PAY TRAFFIC FINS                            0 PTS
    11-18-13 DISPOSITION       DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CITATION NUM: A02DUAE ,
                               STATE ASSIGNED ^XOL. REh NUM:       34
                               COUNTY: PALM BEACH ?TATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL MV: NO

    12-17-13 VIOLATION         FAIL TO PAY TRAFFIC FINE                            0 PTS
    12-17-13 DISPOSITION       DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CITATION NUM: A02DUAE
                               STATS ASSIGNED VIOL. REP. NUM:      35
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL MV: NO

    01-16-14   VIOLATION       FAIL TO PAY TRAF-FZC FINE                           0 PTS
    01-16-14   DISPOSITION     DISPOSITION WAS GUILTY
                               COUNTY COURT
                               CITATION NUM: A02DUAE
                               STATE ASSIGNED VIOL. REF. NUM:      36
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL MV: NO

    02-26-14   VIOLATION       FAIL TO PAY TRAFFIC FINE                            0 PTS
    02-26-14   DISPOSITION     DISPOSITION WAS GUILTY
                               COUNTV COURT
                               CITATION NUM: A1UMIJE
                               STATE ASSIGNED VIOL, REF. NUM:      37
                               COUNTY: PALM BEACH STATE:
                               SCHOOL ELECTED: NO
                               COMMERCIAL MV: NO

    12-23-08 ACCIDENT          INVESTIGATED BY SHERIFF
                               CRASH INDICATES BODILY INJURY




  https://www.flmvr.com/customers/14621/reports/2019393.hfml?nocashe==l394042214     3/5/2014
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                                    CITATION WAS ISSUED                                                            "^
                                    CRASH REPORT NUM: 80262942
                                    COUNTY: PALM BEACH STATE:

    06-14-12 ACCIDENT               INVESTIGATED BY SHERIFF
                                    CRASH INDICATES PROPERTY DAMAGE
                                    CITATION ?AS ISSUED
                                    CRASH REPORT NUM: 83465027
                                    COUNTY: PALM BEACH STATE;


                                         *** END OF REPORT ***


    The information in this report comes directly from the Florida Department of Highway Safety and Motor
    Vehicfes (DMV). Florida MVR Services, Inc. cannot make changes to the rscord we can only provide you
   with s copy of the report.




  https://www.flmvr.com/customers/U621/reports/2019393.htn[il?nocashe-;13940422l4                       3/5/2014
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Tainy^RusselIA.

From: Leon St. John
Sent: Monday, September 20, 201 0 5:43 PM
To: Chuck Cohen D.; B.J. Barrow; Tanya Russel! A.; Donna Raney
Attachments: ROBINSON 11 accident chronolgy.doc


Could someone check this iist of accidents for accuracy please.
Also/1 have some questions:
    1. Chuck's term letter of 1/20/10, page two/ #(1) refers to 8 accidents In 10 years. The CBA En Art. 16-6 only
        allows us to consider accidents En the last 2 years. This was the violation the arbitrator partially based his
        decision on to reinstate in Robinson I. This may be the reason they are taking this to arbitration. What is the
        reason that reference to the 10 years is in the term letter?
    2. There are still some documents 1 do not have. For instance/ the first document I have relating to this arbitration
        is the 1/20/10 term letter. I would like to have the Notification and Acknowledgment of Violation of Rules and
         Regulations notice in this case, the Ace Rev Bd report, the pre-term notice letter/ and any other document
         relating to this arbitration. I am meeting with BJ on 9/22 at 3 pm on this case. Can someone have the complete
                                                                                                                       -^.f-v

         file on this termination somewhere where I can go through it at 1:30 pm please?
    3. I also need a copy of the CBA in effect on the date of the accident/ 10/23/09.
        Thanks,
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                                                                           >^
                                                                          '<^kA<-<f




          EMPLOYEE TRAFFIC CITATION REPORT

   DATE: //-/ 5^5> EMPLOYBE'S NAME: ^nd^^ ^^Oi^/fJ

   DRIVER'S LICENSE NUMBER: 1^ / S?" " Oj IL^H ^ } 7^0

   CITATION NUMBER: )S ^ l^^°6^f{/2^ CITATION DATB:jlr^r^/^

   OFFENSE:
   OFFENSB: ^ ^ I/^ I /• Cq ^herCf



   PLACE OF ISSUANCE:

         CITY: /^/^^ /5^^.
                    f^llm f^c^
         COUNTY:_^A5^;^srf^^^ STAYED


   ISSUING POLICE AGENCY:


   COMPANY VEHICLE 3SPUMBER:         rw
   PRIVATB VEHICLE: YES OR(NO) (Circle one)


   DO YOU INTEND TO GO TO COURT? /YES^OR NO (Circle one)
                                          ^—^ - -^ /v-
                                                    .-



   OPERATOR'S SIGNATURE: OV/7^j2. /</^%-^^
                                               T

   COURT DATE:_ (Documentation must be provider
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   Attachment to Nr yication and Acknowledg )ent of Violation
                          of Rules and Regulations



   Andre Robinson
   Bus#0712
   January 4/ 2014



   Offense/Inddent:


   The Operator failed to report Accident/Inddent immediately to the
   immediate supervisor on duty either by telephone or radio.



   Detailed Description of Offense/lncident:


   While reviewing your report and video from Bus #0712 on the 4th of
   January/ 2014 the following was observed:


   7:53:27 Passed up waiting passenger - time of Window Incident
   7:53:54 Stopped bus
   7:54:10 Stepped off bus
   7:54:22 Stepped back on bus
   7:54:32 Bus proceeds on
   7:54:43 Stopped bus
   7:55:07 Passed up passenger and operator have conversation
   7:56:01 Passed up passenger walks away from bus
   7:56;06 Operator makes radio call
   7:57:04 Bus proceeds on
   7:57:39 Stopped bus

   The operator did not notify the company until almost three (3) minutes
   after the incident occurred.

   Action Taken:

   Verbal"" Not notifying company immediately of accident/incident



   Corrective Action:

   The operator shall follow the LMA Agreement regarding Article 34,
   Section 1, "Any employee involved in any accident or incident involving a
   company vehicle or passenger will make an immediate report by
   telephone or mobile radio to their immediate supervisor on duty/"
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                                   f7"'^-      .../...       .   '   .   .   ---   -   -"'"Y-.     „.   '



                Notification an( Jcknowledgment of Violation ofRul£ Hd Regulatious
                                                      Palxn Traa //
                                                             ATU • ''

    (The following employee is hereby notified of a violation of the Rules and Regulations)

    Date: ^~i__ ,/ ^jf / ~^/ MS—J
                                                7~>
    Employee's Name: /WJ^/^^ ^ f^^C? ^ / ^^^^


    Department ©'Operations D Maintenance

    Classification: D Maintenance Technician 0 Technician Trainee 6'Bus Operator
                     G Utility Worker D Paint & Body Specialists D Storekeeper

    Date of ^-^ ^ ^-y Date Offense/Incideat ^ -^ .
    Offense/Iacident: "^ f ^ f^W^ Reported to Company: lf^ f ^ /<

    OffensefW^nt^^^^^^^//^^wi^sy. ^^^ C?^^^^^
    Reported \r^^~^^y^s^ ^^^.^^^
    Offense/Incident: ^^ /^~'/:^^^^ ^?^/^^^ <^-!s-t^/.^=^^/^ ^ / '

    D^tailed^scriptionofOffense^cident: ^^^^^f/y^ '^^^/^^•^^^ ^^^^^_
    ^^^>^> ^S^3^^-- /^^/^^ ^^ ^€^^^ ^.^ ^//S ,^^7^^
    .,^^

 ^a^Wt. ^/^^ ^^^77.^5^€y^^ "

    Action Jdcen: ^i^ ^/ <^ 4^ ^
                                                                               ^/..L
            Verbal Warning ^h^' 3/^S -' ' --

    a WnttenR^rinmd -7^?, • ^. ~^ - ^- ^^^-^

    D Suspension: _ to _^
                                       te End date

  \ Corrective Action: ^^^^/^^ 4^^^ 7^ ' A^^^^i /4/^^^^^>'^
 ^^^> ^-^Ay^^^ ^^y ^A^- //y^^'4^^ ^.^ -^-/.-_ ^^^                                                       //" f ' f -^w"- y— - /-^ -^^




                                                                         -/ (^ /-%^<^
    Supea-vis'br's Si^i&twe^ ' ~ Date


    ^6/y&)^^ . • _Ti/_^_/_z^
    Maaager/'ySigriature . ' Date




    I acknowledge that 1 have been provided with a copy of this disciplinary action and that I'm aware of my grievance
    rights. .1 understand that I have ten (30) days from the date fee discipline was imposed, to present a written
    grievance to the Human Resources Manager.
    ~f/
    Sp^       Inagreement                      u'    ,   .   ,       <   ,1    .^      s   \   >   \        >   -.   .?.'.

 , p -^ Under protest Comments: NO-hhd^ -k>!c( ,,v^. ,, ft^j tW^/^^¥//?-^6^
          /, , / /?/?•. ' p^'^c/'^€ boq?-cl^ ^••^n'r- ikee^ 'A^p^ // •v^
      A//./ ^/^^.^ : /———^^-^— ^''^;e^^':L.
      /7/U^ /?^^^'l^ _ 0^1 /^ /M7 .-
    Employee's SignatAe ' , Date



    DISTRIBUTION White - Employee Canary - Human Resources Pink - Union

    V—.>^^l~^^».^t^ ^ »,,(„., ^,.t ,.^ • Revised 06/22/0$
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                                                          "\   '   '   ^"""^   •-~^1"""-   -••••-"   •




               Notification ^^Acknowledgment of Violation ofRu^aud Regulations
                                 -, ' PalmTran
                                                         ATU
    (The following employee is hereby noticed of a violation of the Rules and Regulations)

   Date: 7 / /A 5.^, X^,
    Employee's Name: f^. fC^f-^}-(^-^7^~-


   Department ^0'Operations D Maintenance „•'


    Classification: D Maintenance Technician . 0 Techmcian Trainee J3^us Operator
                  0 Utility Worker Q Paint & Body Specialists Q Storekeeper

   Date of ^ ^/ ^ /^, Date Offeusc/Incident /'
    Offense/Incident: ^ //'F/ / ^^^— Reported to Company: ^ / /'Y ./

   Offense/ Incident / ^ /, i. , ^ /. / Witness:
   Re^e'd^r"' ^-^*r
                                                /
    Offeme/Incideat: II i^Mt^ S . ( }(J/t
   . Detailed DescriptionofOffense/Inddent: ^?f /^.. /M 'jf Q^C^.^/3. M>^fj£!f''.. /A^^<
     fHiAJ^^lOf, -^^^A^^J^A? ^Z.^ _ft^^y^^ .^^£^&_/
  -^A^J^ ' fUf.^L^ ^ u^t^ ^^ -^^^ ^^/^": •''-••'••••••••^


   Action Taken:

    D Verbal Warning


    D . Wnjbten Reprimand

    a Suspense _tHSz2^ to; ^3^01^- C/ c
                              Begin date End date

    Coxr^ctive Action: (%UuJ^}Mtlf /lM ^t^ ^A/t y/^Ayf ^Z^X^ _ £^~/ilfti.\k^^
       ^^/f ^ ^s/ ^•tM^ a^^^^^^^l^ f^^^.&^^^r^ r^^^M^Q.^
  a^^zJA^^.^J^L^ ^>//^^ ^'L^/I '^^^^ c^^y^J.^/Z/^^/^ ^
  /.^^^|T^ ^ ^.^^.^^ .^ .. a
     .^ ^.MA/AJH) 7/ /3/^^L
   /Sitpervisor'sSignatui^ Date

    ^ OT^.L • ^ ^/ YA-
    Managers Signature Date




    I acknowledge that I have been provided with a copy of this disciplinary action and that I'm aware of my grievance
    rights. I understand that I have ten (10) days from the date the discipline was imposed, to present a writtea
    gdevance to the Human Resources Manager,


    a         la             agreement                                                         -
    a Under protest Comments: ^_ \ _^


     'An/.Lo ^-ftnA^.^ (')/ 'i/^i^-i.t
    Employee's Signature • Date




    DISTR?UTION White" Employee Canary,- Human Resources Pink" Union

    Fnnni;/niu'in1inn/Rnr(fHimnii'—4'hMisaOnt.wn(t •• Revised 06/22/OS
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                                      ./—"['^           „   „   '   .._„     -   __   -   /"'~'mhr-
                                                                                                          /.<
                     Notification and( JknowledgmeJdt.of Violation ofRuies^ ^ Regulations
                                                                PalmTran "^
                                                                     ATD
   (The following employee is.heretiy notified of a violation of the Rules and Regulations)
             .r^..




  Date:                          y         1        20(                          /    2           .       •     •

  Employee's Name: -hV) b ; n '.^r~^ n Ft rV~f H



  Department G'Operaticms D Maintenance
                                                                     ^'
  CIassi&catioo: D Mamtenance Technician . D Technician Trainee Q-Bus Operator
               Q UtiUty Worker D Paint & Body Specialists D Storekeeper

  Date of . 0 -y • fj Date Offense/Encident ;7 '7/-\ ,: n
  Offense/Incidenfc /^'/ •/-^} //^- Rqiorted to Coaq)any; ^ / ^"C^l / ^

                                                                                      J .' - L/ . /--f^,/ ///^
  Offense/Incident / /"} / Wituess: lyz'd^r> C^^' ^^
  Reported by: X - / .^•U f'^^j 3^'^.^" 3 ^Q-7. ^^
                                                                                                   y ^"~ ^" f^ VT/

                           /f      •       -       /        .,,-...                       /       "
  Offense/hicidest: (.L&-// i^nQ/t^ U-Se ^V^ /t •C/r^ UfHC
                       ~7• ; ' . ~; ^ / ~ —^
  Detailed Description of Offense/Incident: /^ }f}, /^ 0/JCf^^/^: •T)//^ F1^//^ s/i- r/)€ /^ ot
 • ,/^.;-;^/<^/?7 ..?-1/?/^ri''^,/^/ ^•^i/-// -?' ...?,. .-^^.-.^.w/' /^A/^V^y^. ^J^J^J'y ^/e,:uyr/- ^/^' &
   ^ ysir-i€€fn ('F^^{-^^^_ _n€}l'.{' ueh.'c.M^d.a { .^^^.^^ .^ fi^,^ ^.;/.^ ,;.c
  -^-ni~-' 1//^^LJ.i ^ /<,'''y^^"^^^ •/A.'t/ /•/^u.y c.^''' ••;/i----A/A/,i;;? t3/?^' .'i^iA f,u:., 'f2/<.i'; ^Cf/c-fi' •/•^•^

   df^v &'f ^^^ &€/} ^hor,& ^.^~,.^ //^- ,6.,'i u^f^ //--/ />?^ ^•o/?.
  Action Taken:

            Verbal Warning


   D Written Reprimand

  D Suspension: __,, to
                               Begin date Bnd date
                           /   /     :     .       /        '       ,    .       -        ^           ^-

   Corrective Action: [~i/^awr ^fy'/7 r^.//n^ ~^c.r^£ y £^f-W7 r^&rrhn^
   i^hp U^,€ /9/f ^•// A^/^ftS ari<^ ^-r.f ,^s^_^I:W.A;-^fi./^/ E^€..m\^ks ^^^s
                               //t-    '   \   .   !.   ^       .    /   -   .   ^)       '   f   ^71~^..            ^   a'"   !

   /i'~i£/^t^.i±i'-. /^>^-ci^ /-ri-K-. ^{^c^.\ f^h.' /lia__ _&^/-^ /-///^ .-cS. ^.^ r^ ,^^7 ^^5^^°'.
               ~7                    •                 '.                7            7~




  c^.. / ^ (/.^^-^; ' . 8 i 2^ //£
   Supcarvisor's Signature / Date

  M^$r lc'^cu^^- _ ?./A //J
  Managca/'s Signature . • Date




   I aclmowledge that I have been provided with a copy of this disciplinary action aad that I'm aware of my grievance
   rights. I understand ffaat I have ten (10) days from the date the discipline was imposed, to present a -written
   grievance to fhe Human. Resources Manager.


  O/         la           agreement                                      „;.-,.;.                     ;   ^     .
   B Under protest Commeuts: i H^:^^ "•' Ka,;^ b C <»n -~ h •<-d^l ^^?-
                      / / ^ /J \ '^']ibu^v<> f^c/^^Jt/^. J^J^<^bt!SC^^'t--bc?()

   7i/7ld^) ,7%^^^^ . OK f3.i • f^it.
   Employee's Siguature . Date



   DISTRIBUTION White - Employee Canary - Human Resources . Pink - Union
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                Notification ana^knowledgment of Violation ofRule^ |id Regulations
                                                       Palm Tran
                                                          ATU
    (The following employee is hereby notified of a violation of the Rules and Regulations)

    Date: ^ f^{/ {^/^
                                        / ^^ •
                   !^7^t€.
    •Employee's Name:       . ^"<^
                      ^ ^7^€€. (^ <^ ^
                                     ^y/^ ^ ^"x^



    Department OK)perations 0 Maintenance

    Classification: Q Maintenance Technician D Technician Trainee . 8"@us Operator
                     D Utility Worker 0 Paint & Body Specialists D Storekeeper

    ]?^eof_ "J? ./L/ . -^^^-^ Date Offease/Incident /
    Offease/Incident: <: / / Y /-c?^<^-< Reported to Company: ^- / / / / ^f€/-/m S- •

    Offense/Incideitt'/ // .-^-^'/^^. Witaess: ^^^^ Cf'^ ^-/^^L^- •
    Reported byF 'c Ow^'/^^7^/^ ^-^^~~'

    Offense/Incideuti ^)^^^ltef{^^ • /^^^^^^-f ^^^^/^^?^^ ^P ^^ ^'•4^}

    Detailed Description of Offense/Incideat: ^"^>^ •/^^ ^^^///^^-^^- /^^^-<S ^7 •
   /^L^'^^Z^L^^^ ^7^ ^S^L^ ^r^->/; // y y </^ ' J~
                  ~7'        \     '   ^      ^~^=ss                       ?:"'/^            S^^".              "'




    Actioa^aken: . ' ^4^^^/ ^^I^?

    ^ Verbal Waroisg 7^^^>- '. ^^

    a WrittenRepmmnd "7/^<^ •' €}''^<^^^^^

    D    Suspeasio3tt:                        _,_      to      -   _   _
                                       te End date

    Corrective Action: <^^^^'/^^ .^^^^T^ '^-t^.Q/. ^ ^¥^^
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   "^P^^^^k^^^ . ..^./. ^y/^/^.
 -^Sup^sTo^s Signatu^e^/ ,', ~^ Date

         W Q^\ d\^_ _ J^j^^^
    Manager's Signat^eV Date




    I ackabwledge that I have been provided with a copy of this disciplinary action, and that I'm aware of my grievance
    riglits. . I understand that I have ten (10) days from the date the discipline was imposed, to present a written
    grievance to the Human Resources Manager.


    D      In        agreement                             .   ^       .it',      i   ^-       ^
    ^/ Under protest • Comments; U^O^J^ I} H^. 4o ^?< ^ Vf d^ 0 P^€\i

      ^-^ ,/ { /7 ^ .
     C^i^cUo^ /1a~/'/w^^ ^i_i^_f^^
    Bmployee's Signatuye f Date



    DISTRIBUTION White - Employee Canary - Human Resources Pink - Union
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                                                                                                M.Mtws^ Chair
                                                                                                K@s(?ttT liilsffeus. Vsc;® Chsir

 iraim iran sw^vw
32Q1 El&ctronics Way . West Pslm Bsach, FL 334<i7-461fi ^^ ^^^
Ph<m: (561) 841^0 * F^e (56^) 84W^1 S£la!




    January 20, 2010

    Mr. Andre Robinson
    1517 W 9th Street
    Rjviera Beach/ Florida 33404

    Dear Mr. Robinson:


    A pre-termi nation hearing was held on January 6, 2010. This action was triggered by your last preventable (at
    fauh) accident that occurred on October 28, 2009, that gave you three at fault accidents within two years. You
    were represented at the hearing by DwJght Mattingly and other members of the Amalgamated Transit Union^ Local
    1577.


    You and your Union representatives made several points in arguing against your termination, including:


            That the Safety Board made a bad decision in regard to your last accident of October 28, 2009.
            That the speed information on the video, specifically where it shows the speed increasing, wgs not
            accurate.

            That the brakes on the bus failed and by Palm Tran standards needed to be replaced.
             That I should review the video from the accident which you stated would show that you took reasonable
            actions in attempting to stop the bus.

    In regard to the arguments made by you and your Union, we discussed the following:


            That Article 34 of the Labor Management Agreement specifically provides that the decision of the
            Accident Review Board (ARB) as to the preventability of the accident shall be finai. You received the
            benefit of this in 2003/2004 when the ARB found in your favor and the Company (Paim Tran) did not take
            disciplinary action as a result of the ARB determination.


            While the brakes were determined, after the fact/ to require preventive maintenance under Palm Tran's
            standards, they did not fail and were within operating standards for the vehicle. This issue was raised by
            you and taken into consideration by the ARB. Further, you operated the bus for 20-30 minutes prior to
            the accident, and did not find any issues with the brakes. You confirmed this during the pre-termmation
            hearing.


            I watched the video as I promised, f speciflcalfy watched the speed and the timing of your actions in
            taking your foot from the accelerator and placing it onto the brake, using two and three different
            cameras, as you asked. Frankly, I think whether or not you were accelerating at the time Is truly a non
            issue. What I believe Is significant, based on my review of the tapes/ !s that the separation distance
            between you and the vehicle in front of you, based on the speed you were traveling was inadequate for
            you to stop the bus without striking the vehicle in front of you, when that vehicle stopped for the yedow
            light. As I watched the video, I noticed other times in your operation of the bus on the day of the

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                                                          www.palmfran.ofg
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       Mr. Andre Robinson
       January 20,2010
       page 2


            accident, where your proximity (the separation) to other vehicles in front of you, appears too dose for
            good safety practices.


   Although I did not consider your overall employment history (of approximately ten (10) years) in reaching my
   determination that Palm Tran would go forward with your termination, I did review your record to determine if
   your employment history supported this action or if there were any mitigating factors that should be considered.
   As I reviewed your record, a number of things were clear:


       1} You have had eight (8} at fault accidents in approximately ten (10) years of service with Palm Tran; a very
            poor safety record.


       2} Your employment with Pa!m Tran was terminated fn 2006 as a result of an at fault accident you had on
            March 7, 2006, That termination was converted to a one (1) year suspension without pay as a result of an
            arbitrator's decision on March 28, 2007.


       3) Palm Tran considered terminating your employment as result of a serious accident you had on December
            23, 2008 but issued you a five (5) day suspension. You had previousiy been suspended for one (3.) day as a
            result of an at fault accident you had on October 30,2007.


       4) Your accident on October 28, 2009, was your third at fault accident within a two (2) year period.


   i must tell you that 1 am ver/ concerned about your overall safety record. Your last four (4} accidents were all
   determined to be at fault and two of them resulted in serious damages and injuries. Your last accident i$
   particularly troubling in light of your December 23, 2008 accident where you were dearly at fault. That accident
   resulted in bodily injuries and serious property damage to two different vehicles. Less than a year from that
   accident, you have had another at fault accident, a total of three at fault accidents within a two-year period.


   The safety of Palm Tran's passengers and driuers, and other members of the traveling public fs a matter of highest
   concern to Palm Tran and myself. In light of your accident on the 28 of October and your prior two accidents in
   the last two years, it is my determination that the only appropriate action is for Pa!m Tran to terminate your
   employment effective January 20, 2010.




                 isn
   Executive Director



   ec: Donna Raney
            BJ. Barrow
            Tanya Russell
            Dwight Mattingly



                                          An Equal Opporturity * Affrmafiva Acfion Empioygr
                                                         w/w. pal mfrWi, oi'3
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                                                                                              Palm Beach County
                                                                                              Board of County Commissioners
                                                                                              JeffKoons, Chairman
                                                                                              Burt Aaronson, Vice Chairman
                                                                                              Karen T. Marcus

     PalmTran                                                                                 Sheliey Vana
                                                                                              Steven L. Abrams
3201 Electronics Way * West Psim Beach, FL 33407-4618                                         Jess R. Santamaria
Phone: (561) 841-4200 • Fax: (561) 841-4291                                                   Prisctlia A. Taytor

                                                                                              County Administrator
                                                                                              Robert Weisman


          December 21,2009

          RETURN KECEIPT/U.S. MAIL

          Mr. Asdre Robinson.
          1517 W9a Street
          Riviera Beach, FL 33404

          Dear Mr. Robinson:


          As per the I/abor-ManagenxeEtt Agreement, Article 9: Employee Cooperation, Section 1,
          states, "The employees shall -work at all times to the best interest of the COMPANY; they shall
          perform 6fficieni service in their •work; they shall operate and handle the COMPANY'S vehicles
          carefully, safely, and -with the utmost regard to the safety of passengers, the general public, and
          the equipment entrusted to their care; they shall operate and handle the COMPANY'S vehicles at
          all times injull compliance with the rules of the COMPANY; they shall give the riding public
          courteous and respectful treatment at all times to the end that the COMPANY'S service may
          improve and grow; and they shall at all times use their influence and best endeavors to preserve
          andprotect the interest of the COMPANY and cooperate in thepromotion and advancement of
          the COMPANY'S interest."

          As a result of your latest accident on October 28 2009 and the findings of the Palm Beacli County
          Accident Review Board, a pre-termmation liearmg has been scheduled for Wednesday, January 6,
          2010 at 10:00 a.m. in the Dale E.. Smith conference room located at 3201 Electronics Way.

          Tlie purpose of this hearing is to determme ttie appropriate extent ofpersounel action to b& taken
          and/or mcluding temunation of employment. At this hearing you will be afforded the opportunity
          to present any and all evidence relating to the allegations stated above that you would like Pahn
          Trsai to cousider. Failure to appear at tins hearmg may result in temunation of employment.


          If you have any questions regarding your liearing, please contact me at (561) 841-4200.

          Si^oe^Ty,


            mck Cc
          Executive Director



          Pc: BJ. Barrow, Operations Manager
          Wayne Condxy, Director, Palm Beach County Human Resources
          Donna Raney, Assistant Attorney, County Attorney's Office
          Amalgamated Transit Union
          Employee's File




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                                                                                           Palm Beach County
                                                                                           Board of County CommEssioners
                                                                                           Jeff Koons, Chairman
                                                                                           BurtAaronson, Vice Chairman
                                                                                           Karen T. Marcus
                                                                                           Shelley Vana
                                                                                           Mary McCarty
3201 Electronics Way - West Palm Beach. PL 33407-4618                                      Jess R. Santamaria
Phone: (561) 841-4200 • Fax: (561) 841-4291                                                Addie L. Greene

                                                                                           County Administrator
                                                                                           Robert WeEsman




      March 31, 2009



      Mr. Andre Robinson
      Bus Operator




      Dear Mr. Robinson,

      Regarding your vehicle crash of December 23, 2008, according to the police report you were
      issued a citation under Florida State Statute 316.183 (1) Failure to use Due Care.

      At the time of the vehicle crash you failed to notify the company of the citation in writing via the
      Employee Traffic Citation Report (attached).

      We need to know the outcome of your citation. Please provide the documentation no later than
     April 2, 2009.


      Sincer^ly^


      Todd Bendfelt
      Chief Safety Supervisor.



      CC: B.J. Barrow Manager of Operations
              Union local 1577
              File




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                          Notification anc^ Acknowledgment of Violation of RulS^and Regulations
                                                                              Palm Trah, Inc.
                                                                           Bargaining Unit
                                                                                 i::;


                                     (The following employee is hereby riotlfied ofavioiation of the Rules and Regulations)

      Date: ^2- 1/7 I fft-f

      Employee's Name^ /^ i A^?A//t^S<y~?/r _ PosEtion/Department; /ri^$ 0P£^€W^^

      Date of Offense/lncident: /<T/- /A^/ <^^ Date Offense/lncident Reported to Company: / 2^1 ^-^// ^3

      Offense/lncident Reported by: ft ' /k-^S r^^^~^\ ^. Witness:



      Offense/lncident: UlS-Hf <L/i£S.

      Detailed Description ofOffense/lncid9nf:^Y'?/')^''/^72?^? /U)/)^^. ^fL/&^/r ^d^/'T 72^
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     Action Taken: _ :^ '•-
                            [~~] Verbal Warning

                            iI Written Reprimand
                                 Written Reprimand

                          ^ Su^ion: 0^09 I H M f^^Mk
                          / Begin date ' / End flats

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                                                                                                                     ,n,o^
      bi'&isiQ&Dit^oF's Signature                                                                             Date


      1 acknowledge that t have been provided with a copy of this disciplinary action and that) have been advised of my grievance rights. !
      understand that I have ten (10 ) days from the date the discipline was imposed, to present a wrhten grievance to the Division Director.
      Article 16 - Discipline and Article 17-Grievance and Grievance Procedure

      I1        ,   In        agreement                              '   ,.    /-       ,

               Under protest: Employee^ Comments: "Z f'-C H L /7\^ -.^ S ^^t ^ c/ A ^ lY^ h^C^
                     hc>-!f^e<;/ h(:?for /n^ 4-r^p .^r ^ftpr-'^s-^^p

                 \n^A^ ^/^Aa^^ ' ^ 1^0 i 0^
      Employee's                                    Signature                                /   -    -     Date



      DISTRIBUTION AT THIS TIME White - Employee Canary - Human Resources Pink - Union

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                Notification and k<;KnowIedgment of Violation of Ru^ss and Regulations
                                                           Palm Tran, Inc.
                                                        Bargaining Unit
                          (The following employee is hereby notified of a violation of the Rules and Regulations)

Date: /%^ / ^^ i £^^\ . ^ r, ^r^ ^


Employee's Name: /(/UfijBlt feb6i^S^K'\ Position/Department: ^ / ?C. /3£>^£^TO ^.

Date of Offense/lncident; d?- i. <?<// D "2-— Date Offense/lncldent Reported to Company: ff^^ f /-? <-^/ ^ 1^'

Offense/lncident Reported by: /\ t Cpf^f fO'^O^J _ Witness: ____„



                : ^l^k (2M<
Offense/lncident: _ ^--H^<US LJ^£f*.l

Detailed Destription of Offense/lncldent: /"iO^^tT^ ujA.S .bt^T^HaT^P £)^ P/^S^^&^te
U}l^LZ^)eL^fP^ A^SHJ^ AA3<m(€^ %^JS AAJJ> Vi^^d^^T^^T
  iAJ fr ^ T^ ^r 'TMJ s (^us. i rs^ a i^VM ^ Gp^ To fe^T-^ Bo^r^


Action Taken:
                     ["] Verbal Warning

                       I/ Written Reprimand

                          Suspension; ^ ^,, ,, ^^^^^^^ to

                                        Begin date End date

Corrective Action:           ^^M-nfiL. ^)6tt\ysM£^ u3\l~l^ Be. ^AP^'T:tJ^l^
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Supen/j^or's Sig^ture / Date
         i.^a-^J / _ '^/ ^/O^.'
Division Dlrdotbrjs Signature Date


I acknowledge that I have been provided with a copy of this disciplinary action and that I have been advised of my grievance rights. I
understand that I have ten (10) days from the date the discipline was imposed, to present a written grievance to the Division Director.
Article 16 - Discipline and Article 17-Grievance and Grievance Procedure

       In agreement

[_] Under protest: Employee's Comments; _:,._. ^


                                                  A.

                                                                                               ^.. {SL^...
Employee's Signature ' f Date


DISTRIBUTION AT THIS TIME White - Employee Can?'v - Human Resources Pink - Union

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 d
 Palm Beach County Shen-ifs Office - Booking Blotter                                                                                              Page 1 of 1




                                                             + click image to zoom



     Name: COLLINS, MEREDITH NICOLE Race: Black                                                             DOB: 01/17/1982

     Address: 8776 DOVELAND DR .PAHOKEE.FL 33476                                                            Gender: Female


     Facility: RELEASED TO SOR OBTS Number: 5001044066                                                      Booking Datemme: 04/09/201700:23



     Arresting Agency: 01-PBSO                          Release Date: 04/09/17 Time: 14:32                  Holds For Other Agencies: No


     Jacket Number: 0334827




      Booking Number 2017012157                                                    Booking Date/Tlme:(M/09/2017 00:23

      Charges

      784.03-25GO                            BATTERY - TOUCH OR STRIKE


                                             Original Bond: $O.OCUO                Current Bond: $0.0000 Bond Information




     Information contained herein should not be relied upon for any type of legal action. PBSO cannot represent that the information is current, accurate or
     complete. Persons may use false identification information. TFUB identity can only be confirmed through fingerprint comparison.




https://www2.pbso.org/blotter/mdex.cj&n?fa:=details&fr=;l&^=l&xisi=97e3d050-8d7b-4a5... 4/20/2017
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   On thft 8th day vS                        APRIL            so     17       (d 8;09 QAM g]PM

 Meredith CoBtns flagged down her boyWend, Glover WMUams white he was driving, to stop Ns car. Gtove?
 parked In the Family Dollar parkTng lot and MeredHft Colllns $topped the bus at th® bus stop at 5TO S Main
 St. Meredith Coillns got off of the bus and approached Gtover William os he sat In his vehtete wtth hte left
 door window down. MeredRh shick him tn the foce, with a closed fi^ and then returned to her but and
 drove away. Glover WIHIqms suffered an tpjwy to his Inner upper Iip.

 Both Glover Williams and Meredith CoHlns stated they have been In a romantic retattonshlp for 7 yecars.

 Based on Clover Witimtns Sworn Wrtften Statement and <he Injury I observed on hte Inner upper Hp (ffnd
 probable cause to arrest Meredith Colttns as follows:

 Pursuant to FSS 784<03(1)(a)(13, for hltttn^ Glover WIUIanw tn the face, wtthout hte |>ermtsston causing Injury
 to his Inner upper Iip, and Is domestic In nature.




Ttift bregotns brrtiwrwitwaa wrom to aw) •ffirmod befcro me thla      8th     day ol                  APRlt             20 n                    ^
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                                           Palm Beach County Sheriffs OiBce
        DOMESTIC V3LOLENCE/DATING VIOUENOE SUPPLEMENTAL PROBABLE CAUSE FORM
                   ^ (Submit this form with the original Probable Cause Affidavit)

 Defendant: COIUNS MERE&fTH                            NICOIE            DOB:        1-17-1982     Case #: 17062178
 Victim: WmiAMS OIOVER                                     LEE           DOB;_    y/w/ms           Ra<^._» Sex: M
 Relaticmship between Victim and Defendant;                                       &ATTNO

 Photographs: Scene 21 Yes DNO                    Victim           QNO                Defen<tent QY«S
911 Call:             •DYes ElNo        Caller:
Weapon Used;          DYes              Type:
Witness:              DYes 0:           Name:
Victim Pregnant:        QYcs S:    Ifyes»                  Weeks            Months
Injuries:               EZlYes DNo Description:                              ASRASION INNER UPPER UP
Medical Treatment: DYes 0:
       At Scene;        ClYes 0    Paramedics:
      At Hospital;      DYes KlNo Hospital^                                    JPhysioian:
Are childrett living in <he home?         DNO                                 DCF Notified? DYcs
Name:                                       GARY ROW HI                                    DOB             1^/9/2000
Name:                                     TAVARIOUSROW                                           DOB       S/9/20Q2
Name:                                      PRECIOUS ROW                                          DOB       5/4/2004
Injunction; DYes t^No Case #^
-No Contact Order; DYes SNo Case #:
Alcohol or Drugs: DYes ElNo DUnknown
Prior histoiy of Domesttc/Datmg Violence ,DYes E3
Defendant's statements E/)Yes DNo If yes, Swritten Drecorded Doml
First worfs Defendant said when you responded to scene: t <?OT IN HIS FACE BUT» NEVER TOUCHED HIM.


Vicitmrs statements ESYes DNo If yes, ^written Drecor<ied Doral
First words Victim said when you t^sponded to scene: SHE TOOK MY PHONE. SHE IS OOING THROUGH MY PHONE RtQHT
NOW,

Did the Victim contact anyone other than fee police within an hour of the incident regardmg the incident?

-Dyes ONo If yes, name: ^ _ phone,
Observations ofVicfim (Physical & Emotional):.                              A&RASION INNER UPPER UP
 ISUpset . DCiymg DFearful                           DHysterical DA&aid PCalm. .QN^rvous
 DComplahed of pain d0ther_
Victim contact information:
Local Address:_                                              8753 DOVELAM&DR
                              PAHOKEE                                                  Ft                         33476
                        561-SU-035&               Woric                                  Cdl:.     561-516-0356
Phone: Home:
Employer:                                                        us SUGAR
Name of Relative:.
                                                                                                  ^WE&
   TWOIWXAMV.OUH
                                                                                                   APROS20W
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                   Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 77 of 136
      ^
                                      Notification and ^-Jmowledgment of Violation of Rules hud< Regulations
                                                                  Palm Tran
                                                                                       ATU
                    . (The following employee is hereby notified of a violation of the Rules and Regulations)

                      Date:                f^-t) / ^/^ .

                                         ^.ffM^.&^L/^ s^/^/V./^/1^^u
                                  y^. ^ffM
                      Employee's Name:^



                      Department ^Operations D Maintenance
                                                        ^
                      Classification: D Maintenance Tectmician                        D Technician Trainee                    I Bus Operator
                                            ^irtiUty Worker                           D Paint & Body Specialists             D Storekeeper

                      Date of                               Date Offense/Incident
                                  ident: ^ /// / ^/7 Reported to Company: o^ / ^ ( tt t/.
                      Offense/Incident;

                      Offensc/Iacid?rit^ . /? - --^ f^/n ^ f^;                        Witness:
                                                                                                              v^&j
                                                   ^U^ 7^'
                      Offense/Incident

                      Detailed Description of Offense/Iacident:
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I •;.'. ';.;^"--.
                                 Written Reprimand                                                                  u                                           0

                                 Suspension:                              to
                                                       Begin date                       End date

                      Corrective Action:
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                         -fiyjjc^^"^                                                              Q...... I        / /¥
                      Managerls Signature                                                        Date




                      I acknowledge that I liave been provided with a coipy of this disciplinary action and tQasA I'm aware of my grievance
                      rights. I understand fhat I have ten (10) days from fhe date {he discipline was imposed, to present a written
                      grievance to fhe Human Resources Manager.

                      Oy In agreement
                      J^,, Under protest                            Comments:



                                  1^^5<^ ^c-0 $^W                                                                       ^ , -7
                      Bmployee's Signatuxe                                                                          Date



                      mSTJEUDBimON White - Employee Canary - Human Resources                                                          Pink - Union

                      Ponns/DisciDlineflBareaimDe - 4 Miss OuLwod                                                                     Revised 06/22/05
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                              Notification and Ac,, Jwledgment of Violation of Rules an legulations
                                                           Palm Tran
                                                                                  ATU
                 CThe folIo^ving employee is herpby notified of a violation of the Rules and Regulations)

                 ^:J_j^3j^S14
                 Employee's Name: Of ' ^^4u^^>^L^fCy ,


                 Department //EfOpesrations D Maiatenance


                 Classification: D Maintenance Technician                        a Techmciaff'Tramee.. . ^Q'Bus.Operator
                                          D Utility Worker                       a Paint &-B6dy'Specialists, ", \J p;!3toTekeeper
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                 Date of                                   Date Offense/Incident /— Qff
                 Offerise/Iacident;
                             ident: ^ f jfc> / 0(^ ^f- Reported to Company: _^J_°_J_

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                 OEEense/ Incide:
                 Reported by:       ~it7~                          ^^            Witness
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                 Offense/Incideut:

                 Detailed Description ofOffense/Iacident:
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                 Action Taken:

                 a Verbal Wamiug                                    /, p>k •y.i^J^T-L. -                   ^A^e. ^)A^ ^^t!w'
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                           Written Reprimand
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                 D Suspension:                                          to                                                                                              ..<-.?

                                                      Begm date                      End date

                 Conective Action:                   /__v                        / /<L.
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                 Manager's^SiTgnatiri^T5" .'                                               Date ....

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          I acknowledge fhat 1 Jhave been provided wlft^a ^y 6f?tius disciplinaiy actiCTa'and that I'm aware of my gnevance
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   %ltt:.^ rights. I understand that I iiave ten (10) days^&pm fhe date;, ftie discipline was imposed, to present a written
   ||? grievance f6^tfae Human Resources Manager^., \ .,
                                                                           /^
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    VA y              ID agreement
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Bb. ^®5x^[BlJIri[€^"                               'White - Employee              Canary - Human Resources                                Pink - Union'

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^^^'^•^^•.^^Fonns/Discitiltne/Sarfiauiin^            ;isg Qutwpd                                                                          Revised 0602/05
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                          Notification an^ Ikaowledgment of Violation of Rules }d Regulations
                                                                      Palm Tran
                                                                  '• ATU

             ' (The following employee is hereby notified of a violation of the Rules and Regulations)

             Date: j^ / Mj_

             Employee's Name: ^4 ^Lfj ^L-'v^ M-^nt
                                           "t
                                                                      ^
             Department ^6perations D Maintenance

             Classification: D Maintenance Techaiciaa                  D Technician Trainee                 ^0^us Operator
                                  D Utility Worker                     t] Paint & Body Specialists           D Storekeeper

             Date of ^                                  Date Offense/Incident
             Offense/Incident: /<s< / cyt<^\ f / ^ Rjeported to Company                                 / ^f /'

             Offense/ Incident /^ A                                    Witness: Vf/<J2pJ)
             Reported by: . ^PSH^/^J^}
                              fl\',-.' '




             Offense/Eacident;                               /t-&-i


         \,^ Deviled Description of Offease/Incident: /A J^ ^ ^ ^k^£^ri-&^c^ ^>/^ //A^LA. ^^rz>^
             .Ku^^- /)7^^ ^^^^^^&K^ /^f?£ ^^ ^_^w^kJ ^p^'jt^ ./^<^-<^^
            ..^a^'f^^-. /^^^L/ \^L^^J //^A^A ^ '

             'Action Taken:

             D Verbal Wamiag
•^•~..




             • a Written Reprimand

                 \ Suspension: S-SS-^/f fo ^ "^ '^/f (f
                                                Begin date                End date

              Corrective Action;^2L HU>{^^^)M^ ' (M^U^^e^ /^Af^
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             ^/a^/^^^^SJ -M^t ^i^^L. MM^^JJS^ ^^J -7^ A^ ^^-^r^C,^^^
                             ^ ^ec^^^^^c^^^^^. '
               ^         ^ £^^u^ ^ i^^f^^                                       »hn,


                 )ervisor*s Signature ^                                         Date


              ^/^_.-                                                               3 1^1 /5
             ManagW's Signature                                                 Date




             I acknowledge tfaat I have been provided with a copy of this disciplinary action and that I'm aware of my grievance
             rights. I understand that I have ten'(lO) days from the date the disciplme was imposed, to present a written
              grievance to the Human Resources Manager.


             B^ In agreement
             D Under protest                     "'"; Comments:

                  ^
                 ^.           .       -
                 /y/^^^c. ...L-                                                                        3 i^i i,9^\^
              JSxnptbyee's Signature                                                                 Date



              DISTJEUQBOTION White - Employee' Canary - Human Resources Pink - Union

              FomisflDiscipline/Bargaming- 4th Miss Outwpd • • .; Revised Oti/22/05
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                                            /-••^


                                                 j   -   .   .   _„   -   ..   -^   .   /^\
                 Notification and Xcfoaowledgment of Vxolation of Rules \^4 Regulations
                                                                 Palm Tran
                                                                   ATO
  (The following employee is hereby notified of a violation of the Rules and Regulations)

  Date: 5 / ol3 / ^7

  Employee's Name: /—^. rr <•/ ^) U .S<S H CT N'
                                        7'.




  Department ©^Operations D Mamtenaace

  Classification: D Maintenance Technician D Teclmician Ttaiaee ^ Bus Operator
                a Utility Worker D Paint & Body Specialists D Storekeeper

  Date of ^-- ^-; ,^,^ Date Offense/Encident ^ ^^ ^^
  Offens.e/Incident '*"> / / / / / / Reported to Company: ^ / / /1/ /

  Offense/ Incidemt-^ ^ ^ Witaess:
  Reported by: /"f'^/r> ^ O^^-^-/^-

  Offense^ncident V/^<z4//^ A^ £/Tv^^<?£ H^nd b^k-' S^^/ Uj^ft^f
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  Detailed Description of Offense/Incideafc 0^ .5-/^?-//7 V/}^ ^ h^r\d GaiV LfJ^.£ T^U^rl
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 Ulf*^^f\i G-^e .\4-r\'c4U/ ^<jh/bcL^^ ^A/Hi'S^ ft^^a4<.fc. tj.
                                            T^

  Action Taken;

  D Verbal Warning


  D Written Reprimand.

 ^ Suspension: 5-3 0?~/7 to 5-30'/7 C /' J C^
                                       Begin date End date

  Corrective Action: 0 ^\<\^ V,(Ao^\^ CF^A.^P. ^wA^/^ ^ 64 (A) ^PGvvJ
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                                                                               /    /
  Supervisor's Signature Date

 ^-/6)A- [K)a^A^t^ _ 5 / c33 / /7
  Mam^pi-'s Signature Date




  I acknowledge that X have been provided with a copy of this disciplii^iy action and fhat I'm aware of my grievance
  rights. I understand fhat I have ten (10) days &om the date tLe discipline was unposed, to present a written
  grievance to the Human Resources Manager.
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  [3 ]b agreement
  Q Under protest--" /                           Comments:
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  Employee's Signature                                                                  Date



  DISTRIBUTION White                            - Employee         Canary" Human Resources            Pink - Union

  Fomis/DiscioHnc/BaTeai'ninfi--4 Miss OuLwpd                                                         Revised 06/22/05
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               Notification axi( Vkaowlcdgment of Violation of Rule pd Regulations
                                                            PalmTran
                                                                 ATU
   (TJne following employee is hereby notified of a violation of the Rules and Regulations)

   Date: /(S { fff I /^- •

   Employee's Name: ///qA^£/ U^GltaQ.C


   Department ^Operations D Maintenance

   Classification: D Maintenance Teohmcian D Techxucian Trainee JSffius Operator
                    D Utility Worker D Paint & Body Specialists D Storekeeper

   Date of . . . Date Offense/Incident
   Offense/Incident: /0^ / A1 / / Q- Reported to Conyany: /c2 / ^5 /

   Offense/ Incident/-—., >. ' —-> Wibiess:
   Reported by: Tb ^ - 'OO-CrOtQ
                              ~^? . ^^ L'orA r^c-T
   Offease/Incident: T:-O.'A€^ ^r0 C^^(^. Open^Gr^ V\C^^g.?r 0^ ^rce^-V
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   Detailed Description of Offense/ifacident: Q-T\ \^'"Lt~V^ ^\^-ceS\ _l^<^ U^^O.'^' \\'.6^ ^
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     r-po^^^ -Aa \j^o/^,. ov^ ^-l^A^ r\.V"cl".6^^{^V S.Vv \\ W..^ ^^^-JQ^A-^^
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   Actibnlaken:

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                                 Begin date End date

   Corrective Action:
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   Supervisor's Signature Date

   ^fbV^a-^^ . . _^_/_^_/_^
   Manageiy Signature Date




   I acknowledge that I have been provided witliL a copy of this disciplinary action and feat I'm aware of my grievance
   rights. I understand fhat I have ten (10) days from the date the discipline was imposed, to present a -written
   grievance to the Human Resources Manager.


   a • In agreement
   D     Under                  protest                     ^    Comments:                    ;,,,     _^_«




                                                                                         )^LlLj^
   Employee's Signature Date



   PISTKJBUTION White" Employee Canary - Human Resources Pmk - Union

   Fonns/Discipline/Bargaining - 4'1' Miss Out.wpd Revised 06/22/QS
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                                                                                            Pafm Beach County
                                                                                            Board of County Commissfoners
                                                                                            Shelley Vans, Chair
                                                                                            Steven L.Abrams. Vice Chairman


     PaImTran
                                                                                            Karen T, Marcus
                                                                                            Pauiette Burdick
                                                                                            BurtAaronson
3201 Electronics Way * West Palm Beach, FL 33407-4618
                                                                                            Jess R. Santamaria
Phone: (561) 841.4200 • Fax: (561) 841-4291
                                                                                            Prlscitfa A. Taylor

                                                                                            County Administrator
                                                                                            Robert Weisman




      December 6, 2012

      Hand Delivery

      Mr. Michael Wallace
      North County Bus Operator
      Palm lYan, Inc.
      3201ElectromcsWay
      West Palm Beach, FL 33407

      Dear Mr. Wallace:

      Effective /Hmrsday, December 6, 2012, you are hereby placed on AdTmmstrative Leave
      with Pay pending the outcome of our investigation regarding an incident which
      occurred on Tuesday, December 4, 2012.

      Once our mvestigaUon has been completed^ you will be notified of the outcome and the
      appropriate action(s) will be taken.

      Sincerely,


                   ^Cu^c^J
      B.J. Barrow
      Manager of Operations

      BJB/daf

      pc: Chuck Cohen, Executive Director
            Charles crazier, Assistant Executive Director
            Tanya RusseU, Human. Resources Manager
            North County Amalgamated Transit Union




                                        An Equa! OpportuniEy -Affirmative Action Employer
                                                       www.palmtran,org
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            Palm Ttican
    Aiditiinistea.tive Offices
                                   November 14,2017
      3201 Electronics Way

West Palm Beach, PL 33407-4618

          (561)841-4200
                                   Michael J. Wallace
                                   835 Baybeny Drive Apt 105
      FAX (561) 841-4291
                                   Lake Park, FL 33403

    Palm TDram Connection          Dear Mr. Wallace:
     50 South Military Trail
                                   This letter is written confirmation of our ojGfer to you for tfae position of Operations Supervisor
             Suite 101             within our Fixed Route Section. Your hourly compensation rate will be $21.789.
West Palm Beach, FL 3341 5-3132

         (561) 649-9838            Your start date will be Sunday, December 10,2017. Please report to 3201 Electronics Way,
                                   West Palm Beach, Florida on Monday, December 11,2017 at 8:00 A.M. to begiu training.
      FAX:(561)5I4-836S
                                   Your work schedule will be deteraamed by the Section Manager.
       www.palmtran.org

                                   Terms of employment includmg salary, benefits and paid tune off accruals are outlined in the
                                   Labor Management Agreement and are listed m the Memorandum of Understanding (MOU)
                                   and the Conbract Ratification between Palm Tran, Inc. and fhe SEIU, Plorida Pu'bllc Service
                                   Union, CTW, CLC. You will serve a oae (1) year probationary period.


     Palm Beach Cwwty              Congratalations! We look forward to seeing you in your new position.
       Board of Coiwty
        Commissioners
                                   Sincerely,
    Paulette Bwdick, Mayor

 Melissa. McKinIay, Vice Mayor
                                      itonB.Forbes
         Hal R. Valeche            Executive Director
          Dave Kerner


        Steven L. Abrams
                                   If you understand tiiese terms and accept our offer of employment, please sign, date and return
        Mary Lou Berger            this letter to Palm Tran Human Resources.
          Mach Bernard




                                                w
                                   Michael J. Wgilace
                                                                                               Mi^l201-7
                                                                                            Date
    County Administrator

        Verdenia C. Baker




       "An&jaal Opportuniiy
    Afftrmarive Action Employer"


  Official Electronic Letterhead
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                       EMPLOYEE TRAFFIC CITATION REPORT


 EMPLOYEEiNAME:
           NAME.           i^^t\? nil) ^5 TODAY'S DATE://-^-C/8

 DRWER LICENSE W^^WWWWW
 CITATION NO.: A^/<^3t ^ CITATION DATE:J^/23/^<B
                      6.

 OFFENCE:^

ISSUED AT:

CITY:.^W A/r^> /Sch COUNTY:Alm                             STATE :^L

ISSUING POLICE AGENCY-. 4r U ?

COMPANY VEHICLE? NO.: AJ^KJ^

 PRIVATE VEHICLE? :jj£5:'
                                                                   ^r^'A^d^-^
D<           INTEND TQ^&Q-WtOURT?: YES.

COURT DATE:.               (Provide documentation)
                                                                               -x^

                               (Attach copy of citation)




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      Memo
     To: Constance Killings
     From: BJ Barrow, Director of Operations ^» .^.. &<x<^^
     Date: Februarys, 1999
     Subject: Employee Conduct Issues



     On Wednesday, Febmary 10,1 999 at 11:30 a.m., there will be a hearing in the
     Administration conference room regarding your conduct on February 7,1999. You wi!
     be suspended pending the out come of this hearing.


     ec: Union
          Human Resources
           File of Constance Killings
Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 89 of 136




^R&.


       PalmTran
   3201 Elertronlcs Way
   West Palm Beach. FL 33407
   Phone; (561)841-4200
   FAX: (561)841-4290
   www.patmtran .org

   Peny J. MauU
   Executive Director


                                     December 22,1999


       •^s&/
                                     Ms. C. Killings „ -
   Palm Beach County
   Board of County                   311 W.23RD Street
   Commissioners -.                  Riviera Beach, PL 33404
   Maude Ford Lee,:QiaJr
   Warren H. Newell, Vice Chalnnan
   Karen T. Marcus
   Carol A. Roberts                  Dear Ms. Killings:
   MaiyMcCarty
   Burt Aaronson
   Tony MasllotH                     According to our letter dated December 20,1999
                                     December 22,1999, to discuss your traffic citati
   County Administrator
   Robert Welsman
                                     The facts surrounding the citation were review
                                     since the citation was issued while operating a
                                     receive a one day suspension withoutpay, to be s
                                     1999. We will expectyou back to workMonday,
                                     assigned report time.

                                     Please be advised that a recurrence of this naturi
                                     more sever disciplmary action. We sincerely
                                     necessary.


                                     Sincere:



                                     Todd Bendfelt
                                     Chief Safety Supep^isor

                                     CC: C. Hayden, Assistant Executive Directoi
                                            B. J. Barrow, Director of Operations
                                            Personnel
                                            Union Local 1577
                                            File




                                                An Equal Opportunity - AfRtmattve Action Smplcyer
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     PALM IRAN
      INTEROFPICE

                                                   MEMORANDUM



      to: Donna Grieve, Human Resource Manager
      from: Dale R. Smith, Director of Maintenance.
      subject: Driver InsuborcHnation
      date: November 21, 2000




                On Monday, 11/20/00, at about 5:45 pm, I overheard a radio conversation with
      Charles Quandt and a driver. Charles asked the driver to wait for another bus, but
      the driver refused. Again, Charles said that it was a "10-54", and that she needed to
      wait The driver told him, "No, I'm not waiting. It's cold out here and I have on short
      pants."

            After that, the radio conversation ended. I called Charles to offer my help, but
      he declined saying that everything was under control.
            At about 6:05 pm, I overheard the radio again. It was Charles telling
      Dispatcher Dennis Roberts that the operator of Bus 245 was refusing to get off the
      bus. Dennis told him to just sit there and wait for a few minutes. Immediately after
      that comment, Charles came back on the radio and said to Dennis that the operator
      had Just pulled away. Dennis told Charles to let her go. His comment was, "Just let
      her go. Let's not make a scene. I'll talk to her when she gets in."
    f   '




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    Palm Trail
    Labor-Management Memorandum



    Date: December 18, 2000


    To: Dennis McCabe, President
                  ATU, Local 1577

    From: Cliff Hayden, Assistant Executive Director


    Subject: Discipline for msubordination; Constance Killings; Grievance # 00-12-01

    Based on the discussion today at the hearing on this grievance with Union representative Dwight
    Mattingly and the facts surrounding the incident of November 11, 2000,1 find that the discipline
    imposed was just and therefore must deny the grievance.


    The four (4) days of suspension which resulted in the loss of six and one-halfdays of pay due to
    the Thanksgiving Holiday are within the guidelines established by the County for the second
    offense of insubordination. In fact, Ms. Killings was insubordinate on two occasions on the 20th
    and the discipline could have been more severe.


    Ms. Killings should be made aware that further acts ofinsubordmation will not be tolerated and
    may result in the scheduling ofapre-termination hearing.



    ec      employee Pile
           Dwight Mattingly
           Grievance Pile
Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 93 of 136



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                                                                   Palm Beach County

^s^                                                                Board of County Commissioners
                                                                   Warren H.Neweil, Chair
                                                                   Carol A. Roberts, Vice Chair

 IPalmTran                     «»»•
                                                                   Karen T, Marcus
                                                                   Mar/ McCart/
 3201 EleccronicsWay - West Palm Beach, PL 33^07                   BurtAaronson
 Phone: (561) 841.^00 - Fax:(561)841-4290                          Tony Nasilotti
                                                                   Addte LGreene

 Perry J.Maull                                                     County Adrflinistrator
 Executive Director                                                KobercWeisman



        October 11, 2002

        Hand Delivered

        Ms. Constance Killings
        North County Bus Operator
        Palm Tran, Inc.
        3201 Electronics Way
        West Palm Beach, FL 33407

        Dear Ms. Killings:

        Effective immediately, you will be placed on administrative leave with pay
        pending the outcome of a Pre-termination hearing for excessive
        absenteeism as outlined in Labor-Management Agreement, Article. 22 -
        Sick Leave and Sick Pay, Section 10.

        A letter will be sent to the home address with the date and time of the
        hearing. If you have any questions, please do not hesitate to call Ms.
        Donna M. Grieve, Human Resources Manager, at (561) 841-4231.

        Sincerely,



                           <KAA^>^Y
        B.J. Barrow
        Director of Operations

        BJB/daf

        pc: Perry Ma-ull, Executive Director
                  Cliff Hayden, Assistant Executive Director
                 Donna M. Grieve, Human Resources Manager
                 Donna Raney, Assistant County Attorney
                 Wayne Condry, Assistant Director of-ER&P
                  North County Amalgamated Transit Union
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    page 2 of 2
    Constance Killings Response



       cerely,




    P&rry J. MauU\
    Executive Directofr

    c: . Robert Weisman, County Adixunistrator
           Donna Raney, Assistant County Attorney
           Cliff Haydea, Assistant Executive Director
           Wayne Condry, Assistant Director, Employee Relations and Personnel
           BJ. Barrow, Director of Operations
           Donna Grieve, Human Resources Manager
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                                                                                                     Palm Beach County

.^s
•^      •<3/^                                                                                     ,^ Board of County Commissioners
                                                                                                     Warren H. Newell, Chair
                                                                                                     Carol A. Roberts,Vice Chair

      PalmTran                                                                                       Karen T. Marcus
                                                                                                     Mary NcCarcy
 3201 Electronics Way - Wesc Palm Beach, FL 33407                                                    BurcAaronson

 Phone: (561) 841-4200 - Fax:(561)841-4290                                                          Tony NasiloKi
                                                                                                    Addie LGreene

 Perry J.Maull                                                                                       County Administrator
 Executive Director                                                                                  Robert Weisman


       October 25,2002

       U.S. Mail
       Certified/Return Receipt Requested

       Ms. Constance Killings
       311West23tdStreet
       Riviera Beach, FL 33404

       Dear Ms. Killings:

       This letter is to summarize the results of the hearing that was held on October 24, 2002. Your termination
       was recommended for the following violation:

                 • Article 22- Sick Leave and Sick Pay, Section 10

       At the hearing, Mr. Cliff Hayden, Assistant Executive Director of Palm Tran, began the hearing by stating
       that the purpose of this hearing was to determine the appropriate disciplinary action for your having seven.
       (7) occurrences of sick leave lasting less than three (3) consecutive days in two (2) consecutive years.

       Mr. Hayden then discussed the issues with the representatives of Palm Beach County Personnel and your
       Division Director after which he determinated to terminate your employment with Palm Tran effective
       October 25,2002.

       Sincerely,



    l^yi^- f^-^M^>^
        fonna M. Grieve
       Human Resources Manager


       DMG:hhl

       c: Vince Bonvento, Assistant County Administrator
               Perry MauII, Executive Director of Palm Tran
               Cliff Hayden, Assistant Director of Palm Tran
                 B.J. Barrow, Director of Operations
                 Donna Raney, Assistant County Attorney
                 Wayne Condry, P.B.C. Personnel
                 Employee file




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                                                             www. palmcran.org
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                                                                                              Palm Beach County
                                                                                              Board of County Commissioners
                                                                                              Karen T. Marcus, Chair
                                                                                              Tony Masilotti,Vice Chairman .

     PalmTran                                                                                 Jeff Koons
                                                                                              Warren H.Neweli • . ' '

                                                                                              Mary'McCarcy
3201 Electronics Way - Wesc Palm Beach, FL 33407
                                                                                              BurtAaronson
Phone: (561) 841-4200 or (56!) 841 -4290
                                                                                              Addie LGreene

Perry J.MaulI                                                                                 C o u nty Ad mi n istrato r
Executive Director                                                                            Robert Weisman


     December 22, 2002



     Ms. Constance Killings
     311 W. 23rd Street
     Riviera Beach, Florida 33404

     Dear Ms. Killings:

     I am writing in reply to your letter to County Administrator Robert Weisman dated November 19,
     2002, which was forwarded to me for my review and response.


     You were afforded a proper pre-termination hearing on October 24, 2002 regarding discipline for
     not reporting to work as scheduled on at least seven (7) occasions during the previous six (6)
     month period. Under the requirement of Article 32, Section 3 of Palm Trail's Labor Management
     contract, your actions required termination. At the pre-temunation hearing, you presented
     evidence to support your absences. The evidence was examined by those present at the hearing,
     which included: Wayne Condry, Assistant Director, Employee Relations and Personnel, Cliff
     Hayden, Assistant Executive Director, BJ. Barrow, Director of Operations and Dorma Grieve,
     Human Resources Manager. By unanimous decision, your evidence was found not to support your
     excessive absenteeism and therefore you were termmated effective October 25, 2002.


     Subsequent to your termination, you filed a grievance. A grievance hearing was held on
     December 6, 2002. Present at that hearing were Donna Grieve, Palm Tran Human Resource
     Manager and Assistant County Attorney, Donna Ratiey. That grievance is still pending and if
     denied, you have access to the arbitration process if supported by fhe Union.

     Palm Tran has reviewed your allegations that you have been treated unfairly and fhat certain Pahn
     Tran employees are biased against you. Haviag considered the facts surrounding your
     tennmation, I am confident that the email you sent to Mr. Weisman played absolutely no part in
     the decision to terminate your employment. As indicated above, the decision to terminate your
     employment was based solely upon your failure to adhere to Palm Tran's attendance requirements
     as set forth in Article 22, Section 10, of the Collective Bargaining Agreement. As always, if you
     have any questions regardmg your separation of employment, please contact Ms. Donna Grieve,
     Palm Tran's Human Resource Manager.




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                                                                                                 Palm Beach County
                                                                                                 Board of County Commissioners
                                                                                                 Karen T. Marcus, Chair
                                                                                                 Tony Masilota',Vice Chairman
                                                                                                 Jeff Koons
                                                                                                 Warren H. Newelt
                                                                                                 Mary McCarcy
3201 Electronics Way - West Patm Beach, FL 33407
                                                                                                 BureAaronson
Phone: (561) 841-4200 or (561) 84f-4290
                                                                                                 Addte L Greene

Perry J.Mauli                                                                                    County Administrator
Executive Director                                                                               KobertWeismsn



June 11, 2004




Ms. Constance Killings
311W.23"lStreet
Riviera Beach, FL 33404

Dear Ms. Killmgs:

A Pre-Termmation hearing was held on October 24, 2002, at Pahn Tran's Adnmiistrative OJffiLces located at 3201
Electronics Way, West Palm Beach, Florida to consider fee imposition of discipline, includmg termination, as a
result of your violation of Section 10 of Article 22, Sick Leave and Sick Pay, of the Labor Management Agreement,
for excessive absenteeism. You attended the hearing with ATU President Dwight Mattingly who represented you at
the hearing. Palm Tran determined that y ou h ad not complied witibi the requirements of the Labor Management
Agreement and terminated your employment for excessive absenteeism as of October 25,2002.

You then filed a grievance alleging tbst Palm Tran had discrimmafed against you and wrongfully temunated your
employment. Palm Tran denied the grievance. Thereafter, ATO demanded that fhe grievance be submitted to
arbitration. la an effort to settle the pending arbitration and resolve any and all claims arising out of your
termination, Pahn Tran has decided to reinstate your employment and return you to work, subject to your
acceptance of this Reinstatement, Release and Last Chance Agreement (Agreement) and compliance wifh its terms
and conditions as set forth below:

                                  Reinstatement, Release and Last Chance Agreement

In consideration of Palm Tran's detemimation to remstate Constance Ktllings (hereinafter ''Killings") -without
backpay or ofher employment benefit, except for the seniority credit as expressly set forth herein, and KiUings's and
the Amalgamated Transit Union Local 1577's (hereinafter <fUnion") decision to withdraw fhe grievance and the
pending demand for arbitration in their entirety and with prejudice, Palm Tran, Killings and Union (also
collectively referred to herein as fhe "parties") agree as follows:

1. This Agreement shall take effect upon execution and remain m effect for a period of two (2) years.

2, Killings must provide to Palm Tran, prior to her reinstatement and return to work, proof that she still holds
         a commercial drivers' license with passenger endorsement.


3. Prior to her return, Killings must complete and pass a new hire drug test and physical exammation to be
        given at the Palm Beach County Occupational Health Clinic, and satisfy all other requirements determined
        by Palm Tran to be applicable to employment as a Palm Tran bus operator.

4. Following execution of tins document and Killings's satisfaction of all conditions which must be met
        before 'her return to work, a date will be establislied by Palm Tran, after consultation with Killings and the
        Union, for KUlmgs's return and upon her return to work Killitigs's employment status will be changed from
         terminated to reinstated,




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     Killmgs's seniority will be reinstated to her original date of hire for the purposes of bidding for job
     assignments, vacations, and to determine layoff, recalls and overtime. Seniority credit will not be given for
     the purpose of determining Killings's entitlement to any other employment benefit or other term or
     condition of employment unless agreed to in writing by Palm Tran and the Union. She will be assigned her
     selected run, if a run was selected in the last general bid, and she has satisfied all conditions which must be
     met prior to her return to work.

     Notwithstanding any provision of the Labor Management Agreement, or any past pattern, practice or policy
     of Palm Tran, the Union and Killings agrees that during the first year of this Agreement that she will be m a
     probationary at-will stahis, that she will not be absent fi-om work more than five (5) times, that she will not
     be absent from work more than ten (10) full days, and that she will not incur or'be charged with five (5) or
     more miss-outs. T he Union and Killings further agrees that her absence &om work more than five (5)
     tunes, her absence from work for more than ten (10) full days, and/or incurring or being charged with five
     (5) or more miss-outs in the first year of this Agreement shall constitute just cause for termination and that
     she will be immediately tenninatecL If during the term of this Agreement she is absent for any type of
     approved leave of absence, workers compensation, disability or other paid or non-paid approved leave, the
     term offhis Agreement will be extended by fhe same amount of time equal to the number of days that the
     employee was absent from work on an approved leave.

     Ms. Killings has requested and Palm Tran will grant her, an un-paid leave of absence to be taken on 9 -12
     July, with a scheduled return to work on Tuesday, 13 July. This leave request is granted under conditions,
     established in paragraph # 6 above.

     The parties agree that neither the actions of Palm Tran, Inc. nor the terms and conditions of this Agreement
     shall be used or offered as evidence of a past pattern, practice, choice of action, or interpretation by Killings
     or the Union in any legal, equitable or administrative action, including but not limited to arbitrations.

     Killings and the Union agree that Palm Tran shall have the right, in its sole discretion, to determine whether
     Killings and/or the Union have complied with or satisfied the conditions of this Agreement, including
     satisfactory performance of her probationary period. In the event Palm Tran shall determine that Killings
     and/or the Union have failed to comply with one or more conditions of this Agreement, Palm Tran shall
     have the right to terminate Killings' employment and/or impose such other discipline, which it determines
     to be appropriate. Any decision by Palm Tran to terminate or discipline Killings for reasons related to this
     Agreement during the first year of this Agreement shall be deemed by the parties to constitute just cause for
     termination. Any decision by Palm Tran to terminate or discipline Killings for a violation of any provision
     of the parties' Labor Management Agreement and/or any work rule, for conduct uhbeconung a Palm Tran
     employee, or for failing to satisfactorily perform her job duties and responsibilities during the term of this
     Agreement shall constitute just cause for temunation. No action(s) or decision(s) by Palm Tran related to
     fhe enforcement of this Agreement, or any of its terms or provisions, shall be arbitrable nor shall any related
     facts, events or occurrences considered by Palm Tran in reaching a decision to discharge or discipline
     Killings be arbitrable by Killings, the Union or any other entity which might have standing to challenge
     Palm Tran's action. However, should Palm Tran propose to terminate Ms. Killings after she has been back
     to work for a period of more than sbc (6) monfhs of work, as defined in paragraph six (6), than she will be
     afforded an opportunity for a pre-termination hearing; provided, however, that this provision shall not alter
     Ms. Killings's at-will status nor diminish any rights Palm Tran has under this Agreement.

     Killings and the Union acknowledge that the temis and conditions of this Agreement may differ from or
     conflict wifh the terms and conditions applicable to her employment under fhe Labor Management
     Agreement. Killings and the Union expressly waive any rights each had, have or may have under the Labor


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       Management Agreement which differ from or conflict with the provisions of this Agreement and
       acknowledge that but for this Agreement, waiver and release that Killings would not be reinstated and
       returned to employment.

10. For and in consideration of Palm Tran's agreement to reinstate Killings as described in this Agreement, and
       other good and valuable consideration, Killings and Union, their successors and assigns, to the extent
       permitted by law, knowingly and voluntarily waive, release, acquit, satisfy, and forever discharge Palm
       Tran and/or Palm Beach County, and their officials, employees, servants and agents, in both their individual
       and official capacities, from any and all known and -uakjiown rights, claims and causes of action which
       either had, has, or may have arising out of Killings' employment, termination and/or reinstatement of
       employment with Palm Tran, from the original date of Killings' employment to the date of this Agreement,
       including, but not limited to, any claim(s) under:

                       The Public Employees Relations Act;
                       The Florida Civil Rights Act of 1992;
                       Title VH of the Civil Rights Act of 1964;
                       The Civil Rights Act of 1991;
                       Sections 1981 through 1988 of Title 42 of the United States Code;
                       The Immigration Reform and Control Act of 1986;
                       The Americans with Disabilities Act of 1990;
                       The Equal Pay Act of 1963;
                       The Occupational Safety and Health Act;
                       The Family and Medical Leave Act of 1993;
                       Any other federal, state or local civil or human rights law or any other federal, state or local
                      law, regulation, resolution or ordinance; and/or
                • Any public policy, contract, or common law claims, including any tort claims (e.e.,
                       negligent or intentional infliction of emotional distress, defamation, assault, battery, false
                       imprisonment, wrongful tennination, etc.) whether based on common law or otherwise.

       as they may be revised from time to time.

       This waiver and release also bars any claim or demand for costs, fees, or other expenses including
       attorney's fees incurred in connection with any of the above-referenced claims. The listing of claims
       waived in this paragraph is intended to be illustrative rather than exhaustive. Thus, to the extent permitted
       by law, Killings acknowledges and agrees that this Agreement constitutes a full and final bar to any
       and all claims of any type that she, individually or collectively with Union, had, now has, or may
       have against Palm Tran and/or County, including, but not limited to, each and every one of Palm
       Tran's and/or County's officers, employees, servants and agents, in both their official and individual
       capacities, and their successors and assigns, arising out of or related to Killings' employment,
       termination and/or reinstatement of employment with Palm Tran up to arid including the date of
       this Agreement.


11. It is understood and agreed by the parties that this Agreement is executed based upon the unique and
       particular circumstances of this matter and does not establish a precedent for the resolution of any other
       matter or for any otlier purpose whatsoever. This Agreement is not admissible in any legal, equitable or
       administrative proceeding (including mediation and arbitration) except for the purpose of enforcing its
       terms.




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12. Killings and the Union acknowledge that prior to executing this Agreement that each had sufficient time to
        carefully read and fully understand its terms. Killings further acknowledges that she has had sufficient time
        and opportunity to consult with an attorney or her choosing, and fhat she has consulted with her Union
        representatives who have discussed the impact and effect of this Agreement. Killings and the Union
        represent and affirm that each has knowingly and voluntarily entered into this Agreement and fully accepts
          its terms and conditions.


          IN WITNESS WHEREOF, the parties have executed this Last Chance Agreement as of the date
set forth below.




                     w^/
                  ittmgl^ Pre^^nt
                                                   ^/u^
                                                   Date          Charles D. Cohen Date
                                                                                                 T^^/LZO^I

               ocaU577\^_J)                                      Assistant Executive Director, Palm Tran



By:                                                                     By:S01-^/5y^^ ^^/'6^
      Coi^tance Killings <=_) Date                               Witness
                                                                    ness ^ Date




Approved:



   ^Uo ^U^JL^^/l^lot/
J^s Bnmell, Director faate'
Human Resources, Palm Beach County




G:\...\draneyVLConstanceKillings.pt.06-08-04.wpd




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                                          •""•^1,




  -^                                                       Personnel Action Form
        IPalmTran
A.

  a Promotion               Q Demotion               Q New Hire Q Termination . Q Retroactive
  Q Transfer                Q Rehire                 Q Merit J^Other: Ce.- ^s^aVaA - ^jr l^^Jr
                                                                                                              C^o-^c^
                                                                                                              ^^-ee.
     Name: ^- 0 ^S i-Ct^ri & \<\\\\( ^S Effective Date ^5 & / 0</

     Social Security Number:                                       Note_


B. Status Change

     From:
     Department                           Title:                                               .Salary: $
  Account #: 080-_                              ^00_-IXJob Class                         .Pay Range/Grade:

  a FT                      Q Exempt                 Q Regular                    Q Bargaining Unit
  QPT                       Q Non-exempt             Q Temp                       Q Non Bargaining Unit
     To;
     Department       1A\LQ_              Title:                                               .Salary: $ I^-O^
  Account #: 080-5^ " S 11 0 - "00 _ Job Class _32i^L_Pay Range/Grade: ..

      'FT Q Exempt ^Regular ^Bargaining Unit
  OPT                       yNon-exempl Q Temp Q Non Bargaining Unit

c.    Leave of Absence
       QPMLA Q Extended Sickness                               Q   Personal         a Other:
               Effecth/e Date:                                     Return Date:

D. Separations

               Q Resignation-       a Involuntary Termination                 Q Retirement         Q Layoff
          Q Other                                                          Q Reason Code:

           Recommend for rehire? Q Yes                  Q No


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                 Resources-Manager Signature                                              Date       7'

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Revised 2/03
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Harry Lander

From:                 Samantha Prescod
Sent:                 Wednesday, November 25, 2009 1:54 PM
To:                   Harry Lander
Cc:                   B.J. Barrow
Subject:              C. Killings




November 25, 2009 on around 9:09 we received a call from Customer Service/ stating that It
was raining and the operator refused to open the door and let the passengers on at the Town
Center Mail. The bus was due to leave at 9:10am. A man began a verbal confrontation with
this operator in turn she requested a supervisor. PT-3 was dispatched from Defray Beach/ Fl.
Heading to that location. 9:13 lightning knocked down the link in the computer therefore the
radio was down anywhere from 3-5 minutes. At 9:16 am Operator Killings called back on the
radio stating {t I thought you were being funny" The communicator asked her why she said
that. Operator stated that I called and did not hear anything I thought that you were being
funny. The communicator explained that the link was down and that there is a supervisor in
route. The Operator than called via landline/1 answered and she stated that she was getting
off the bus I then informed her that since the supervisor was far away that Boca Police
Department would be there soon. I asked her to please let me know when they arrive.
Upon the arrival of the supervisor she became irate with the supervisors decision to carry the
passenger she called me to let me know that Robert Andolina is making her transport the
passenger/ I informed her that I could not override his decision. I then asked her if she wanted
to believe relieved. Operator Killing stated that she will not mess up her "Holiday Pay"


Samantha Prescod
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                                                                                                                       (^
 Incident Number: 8863 OPS Investigation RcpOTt



  Day & Date Of ^•\/26!200Q Time of Incident 9:29 AM Type of Comment Phone Nature of Call Complaint

Location of Incident Town Center Mali Routes 3 Direction North jBfoc/r

Operators Badge Bus Number 0029 Garage South County

Incident Description
Caller states that the female driver has a nasty attitude, refuses to turn the AC off when all
passenger are making the request (they are wet because of the rain) and the driver refuses to let
them on the bus at the TCM until time to leave. In addition, after the bus leaves the TCM, the
driver then decides to stop at McDonaIds to use the restroom, further delaying the bus. The caller
 states that the driver is doing this purposely and that a Supen/isor (Rob Andolina) was at the
scene following the bus.



            Date 11/25/2009 Action Dept Operations Returned Investigator

 Folhw-Vp Action
 Emailed to Harry Lander for tape review and follow up.


                       /c^A^




Wednesday,                            November                        25,        2069                Page   1   of.I
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                                      136
             Notification and Ac' -wledgraent of Violation of Rules an regulations
                                                   PalmTran
                                                      "ATO
  (The following employee is hereby notified of a violation of the Rules and Regulations)

  Date:/^6- / u I
                        ~T7~.^L ^ ^ ://r.
  Bnyloyee's Name: L _ (yy} ^T^L^ C-P- . ^ —t- f / / r\^ •



  Department ETOperations D Maintenance

  Classification: D Maintenance Technician D Technician Tramee ES^Bus Operator
                   D Utility Worker D Paint & Body Specialists D Storekeeper

  .Date of // ^-in . , Date Offense/Incident ,^
  Offense/Incident: ^ /<y< &/•/'/ Reported to Cpmpany: -^ / <^<£ /

  Offeme/Incident J ,n-._ { L^ Witness: V^2^ 0~^^
  Reported by: J t/ Jj.^L(~U "^ FO/^&y^.

  Offense/Incident: t^4-<-n^ ^i Ur^^pW fCr-^-\<^tjE ^l^J-^ci -<-^" ^ ^fcp/^£-C-

  Detailed Description of Offense/Incident: /// H r^O^- 5~) ft T^ >^^
                                                                   ~J~




  Action Taken:

  p/r Verbal Warning


  a Written Reprimand

  D Suspension: _ to
                            Begin date End date

  Corrective ActiQn: S//S ' /^LL^^C^ n uu^J^ A-^-K/o^^ >/^/rv .^-^J-l^//,^'/
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   itipervisor^s-Signature Date

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  I acknowledge that I have been provided with a copy of this disciplinary action and that I'm aware of my grievance
  rights. I understand that I bave ten (10) days from the date fhe disciplme was imposed, to present a written
  grievance to the Human Resources Manager.


  D In agreement '^ !^/-^-
  d Under protest Comments: i y(^-l^<
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  Employee's Signature ! Date



  DISTRIBUTION White - Employee Canary " Human Resources Pink - Union

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                                                                          136

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 Wp.f^r^f |CT^»JV(-HCW» VfSMW^




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                                      136                                           ^




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                                             8^^j?i^]tep^^^
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                                      136

                      Notification and A liowledgment of Violation of Rules a ^Regulations
                                                                   Palm Iran
                                                                     ATU
   (The following employee is hereby notified of a violation of the Rules and Regulations)

   Date. f0 I /S I I I ^ .

   Employee's Name: /7/-S L'OAS^V^^ {^U(^^


   Department E@^?erations D Maintenance

   Classification: D Mamtenance-Technician                          D Technician Trainee                   !us Operator
                             D Utility Worker                       Q Paint & Body Specialists          0 Storekeeper

   Date of                                                          Date Offense/Incident
   Offense/Iacident:              ft i.IS ill                       Reported to Company: ^ ^/ t 0 / / /

   Offense/ Incident'                                               Witacss: ctSvf I -^S^-l n/7^^1"f~~
   Reported by<^                                      ^f~^E

   Offense/Incident: Fourth f4th1 Miss Out Point

   Detailed Description of Offense/Incident; The employee has accumulated four f4 1 Miss Out wifhm a roUmp oneXU
   year. In accordance with Article 32 of the Labor Management Contract ttxe employee shall receive a lctterjaf
   reprfmand,


   Action Takes:

   0 Verbal Warning

   m Written Reprimand


   D Suspension:                                              to
                                         Begin date                   End date

   Collective Action; Imorove attendance, tenHOI "Miss-Outs" a rolling one d) year the employee wiU be afforded a
   pre-tenmnation h^arme3)riqp^ennmatton for excessive Miss Puts.


                                                                                 /^/ /S,fl
  .-^y^^oi^s^^att^L^                                                        Date

                                                                            /^j/Ll/^
                                                                            Date
L./-




   I aclaiowledge that I have been provided with a copy of this disciplinary action and that I'm aware of my grievance
   rights. I understand tfaat I have ten (10) days from &e date the discipUne was imposed, to present a written
   grievance to the Human. Resources Manager.


                  In agreement
                  Under protest                       Comments:



                                             AS^{^^                              fer -- /^/94
                                                      "V
       Employee's Signature                                                                      Date



       DISTRIBUTION White - Employee                                 Canary." Human Resources                    Pink - Union

       Fomis/DisiStptinc/Bargaining ~ 4 Miss Outwpd                                                              Revised 06/22/05
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                                      136
                                                                              ^%^
                                                                               *SCWi).



           Notification andS-^ Jiwledgment of Violation of Rule^-A, regulations
                                                Palm Traa
                                                     ATU
(The following employee is hereby notified of a violation of the Rules and Regzilations)

Date^^L / /^ f 2 0 f^-

Employee's Name: /^ A/ ^7^?^V C 6" Klfl/^e-S


Department ^.Operations D Maintenance

ClassificatioB: D Maintenance Techniciau D Technician Trainee , ^ Bus Operator
                 D Utility Worker 0 Paint & Body Specialists D Storekeeper
                    •r^


Date of . ' Date Offense/Incident
Offense/Incideut: ft ft € I /^ I ^0 /Z. R-eported to Company: A^- / Y ^ / ^ ^

Offense/ Incident Witness:
Reported by: ^/££/^^ "/? f3 ^^^Q^ rr ~

OJGfettse/Incident: _Z./g /y %// ^L/T^ ___ -

Detailed Description of Offense/Incident: Q^^'yz^n'f^ U/o^/^<s- ^u^^osf ff^f</^ /^/U-Q
. ~~To_..<L^ u^'^ ^s v/^ t> (T^ -7",^^ 0^6r tf>-yr'Ar 0¥^^m. i.^^ ^r ^^5~'7^m
   7 fi-1/i^' ^^T^



Action Taken;

Jlf Verbal Warning

a Written Iteprimand

a Suspension: _ to
                          Begin date End date

Corrective Action: Q^^Ycft
 ^.^Q^si-z^v       ^7/^Ar,
                             T'Oyi   ,7'^?. ^   73   ^  ':fl{>^   1^u^ /^/^o ^ 7-          TH^-




                U^.^.^ ft^f€l ^ i^Qf^.
§iyervisor^ignaiure^ Date

                                                             ^ / /6 / ^ T/
       ^3^^
Manages Signature^ Date




I acknowledge that I have been provided with a copy of this disciplmary action and fhatTm aware of my grievance
rights. I understand (hat I have tea' (10) days £rom fhe date fhe discipline was imposed, to present a -written
grievance to the Human Resources Manager.

D la agreement
D Under protest Comments: _ _

                                      "T^A/^ To s~^^} ^y-^^w y^-/^. ^/-^^^^
                                                              / /
Employee's Signature . Date



DISTRIBUTION White - Employee Canary - Human Resources Pink - Union

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                     Notification and '" iwiedgment of Violation of Rule? ' jlegulations
                                                                               Palm Tran
                                                                                   ATU                                  .      ••

  (The following employee is hereby notified of a violation of the Rules and Regulations)

  Date: W I cf"i f /^Ac ^>. i .
                                    /    S        '   _       1       .   I   ^     .   !

  Employee's Name: I f } i, \^s l^'^CJ{ IC^A f} •^v.^v.--?' .
                                  ~\^"-~iy^- ""— •-= — —- •• • ~ f\ y/



  Department ^Operations D Maintenance

  Classification: 0 Mainteaance Teclmician D Techmciaa Tfaamee El Bus Operator
                a IMlity Worker - D Paint & Body Specialists 0 Slorekeeper

 Date of ^ ^-~. f ^ . Date Offeiise/Incident ^
  Offense/Encideat; ^// ic^ I //J/^Q/ ^ Reported to Company: '—2 . /^' •/ / ?-"0 / >^~
                            ^'-"^.                        .       ^       ..    .,_.^         •—"



 Offense/Incident f^ _ ,, . o Witness: V { O^L^- .^X^^&^i.
 Reported by: "•• / /K^(r"N^ F^' ^ ~~~^, ( " ~

  Offense/Incideirt: '• T^^—^- r^^ U^ ^ t^J j/lU^£ ^<^^A^^ ) 1 h'^^"JH
                                                          "?—^ '/' ') E—7~777T~~7^^—~ ? /*
 .Detailed I^scnption ofOffeuse/Incident:^ {_^'f^^ ^ / ^,9-^ (T^ <7 ^~^-
    f-c^^J'i ^ ^& ^-c.^i'^e ^^.-^^^/^•i/ -^^^ i--^^ -^ . rr^-y~
    ^^r o^f;-^ -L^' -,-fc-c/ bo^-^ !^.^^f bu/^- -U^ ^^c^,ri^ A£.A&^^r^i—^
 pi^ ^'^-^ h^S. » .b^£>,-t^Lc> ^J^i /UL,^ ../^-pJ ^fr-,^^ bo^ i^^. .^-</^d^&^ pc^L'^1-^
                                        /{ -y ^' i A-./ ^                     v
 Action Taken:                                                 ft-                 tor^.<', c>^^L-CL^-
                                                 "\ '" f-''" ^"
                                                                                                              y\\ A
                                                                                                                ^
 D Verbal Wanung


  a       Written                                  Reprimand                                 /   .1   /   .   ,.   '.

 ^ Susp^io.: ^lil-U- to /?',//3///^- -"~^?'"^!U1S,
                                   ^-< gegm^ate" / Bad/date / ' (/ ,^/. f^s /
                                  I/' , \ 1 h .' // ' / / ^ ^^1 .f ,f ,'. i ^ it
  Collective Action: , fc.^^^c>/ /^/ /c-^f\^ . ^£^yi^L-^ J^S^^...
 /^^u^ . ^n • ^ /) sl / A^ ^u^' ^ ' ^>^u^ ^cl^ ^^
    1^^/JS./^^-ff^ oL^^T.^^>^f^h. J .
       y ^""'^ ' y^
   ^ /r
      //""         '-...--——..                        /   r   '   -   Y/i     3,




  Supervisor's SigasAure Date

    '^S-~Sf_^ . . • ^LJ^UJ^T
 Manag^Signatur^''"'" Date




 I ackaowledge &at I have been provided wifii a copy of this discipliaaiy action and ft^t I'm aware of my grievance
 riglris, I imderstand that I have ten (10) days from the date fae disciplme was imposed, to present a -written
 grievance to the Human Resources Manager.

  a la agreement
  D. Under protest                                        Comments:

                                                                                                 ~4
'^^t^^/> !^^                                          -<"A-<K '               Q^-J.^J                     s-
                                                                                                              w^y •
                                                                                                               ^f='
  Employee's Signature                                                                                Date-




  MSTmBimON White - Employee                                                       Canary" Human Resources              Pink - Union

  Fnrmt/niu'inli'nn/Rttrn.lninit _ 4<tl Miirn nut "mrfI
Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 113 of
                                      136
                                       t        -.   .    -„.   ...   -_    -    "\
           Notification and. -jnowledgment of Violation of Rules ..^JRegulations
                                                         Palm Tran
                                                            ATU
(The following employee is hereby notified of a violation of fhe Rules and Regulations)

Date: _^€ i ^i / /^ •
                                       / /
Employee's Name: ^/^^/Jf^ ^ i I (iA(s'^


Department B'dperations D Maintenance

Classification; D Maintenance Technician Q Technician Trainee S'Bus Operator
                 D Utility Worker D Paint & Body Specialists D Stoiekeeper

Date of ^ Date Offense/Incideat
Offense/Incident: ^ I ^O/ I t^ Reported to Company: ^ / X° / /(£

Offense/ Incident Witness: i/i )>^0 'W5&/J MTf^A
Reported by: (Q^/U-T^
                '   ^             .   ^         .    .    ^     .    ^--
Offense/Incident: ift- & \/^1^ / 5C£ /4<X-t £>^7.

 JetaUed Description of Qffense/Incident: D-^'rU.T^ Kt/d.^^5 2^ ]?^ ^£^? ^^i ^^0 ^
 Lw ^. ff>m -A^/t^i^^T^/^^^p^f ^"--< w^cu ^i^t C.^TAC.T
f^irM 'A t/^^tdl -STo^^ /AJ T^^^/c.. ' _
                                           f~


Action Taken;

D Verbal Waraing


B^ Written Reprimand

Q Suspension: _ to
                            Begin date End date

Corrective Actkm:|3^/i/t-7o^ k» 1/iM^. <^/^^ )>.,/.^ ^A-^^ ^/A£/J ^.^^Ji^tf ^ ^v-^%'^
WtcL^ 4^& A^ ^oX^: ^-'(^A^^ ^7?Aic ^^^^A ^^/^b '^ ^^^_ ^,4^}/,
vi^^ l^^T 'to-v7^^^'"
               (lA'u.1^ \h^.. To 1i£ ^U.J^ t^^ ^//t^i^J d^ ^?ccT
                                                               '
                                                                 ?^iKt^/L
                                                                     /'
                                                                          ^W
                     J^ F^ ^^-.



                                       ^L ^ i /.t i /^.
Supervisor's Sfgaature Date

C-^/\^' ,-^——"-^-'" ^ /-^/ / /€s>

"-'T7' _.. s-:
I acknowledge that I have been provided wifh a copy of this disciplinary actioa and that I'm aware of my grievance
rights. I understand fhat I liave ten (10) days from fhe date tihe disciplme was imposed, to present a written
grievance to the Human Resources Manager.


r-p In agreement
 £] Under profest Commexits;

                {4f;W.<"'""~>                                        •   j..      ^/       '_.
                    liK^ •: . ' iij^jMa-
 ^npfoyee's Signature ^:
                      /' ^                                                      Date
  _/•            c^

                                      /)
DISTRIBUTION White - Employee Canary" Human Resources Pink' Union

ffnrmt/ni'nfinli'nf/nafaai'nmn - A"* Mw r>nf \vnii W-in,-^ t\WllM
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                                                136




                                                                                              ^3 ,7
                                   October 4/2018



           PalmTran
                                   Constance Killings
   Admitustrative Offices
                                   1790 Woodbine Way
     3201 Electronics Way
                                   Riviera Beach, FL 33418
West Palm Beach, FL 33407-461 8

         (561)841-4200             Dear Ms. Killings:
      FAX: (561) 841-4291
                                   This letter is to notify you that effective today/ Thursday. October 4^018, you are
   Palm Iran Connection            hereby being placed on Administrative Leave with pay pending an investigation
     50 South MUitary Trail        regarding allegations of unprofessional conduct.
            Suite 101

West Palm Beach, PL 33415-3132
                                   Be advised that white you are on Administrative Leave/ you are expected to remain
                                   available to your management as needed. This includes telephone calls and email
         (561) 649-9838
                                   notices.
      FAX: (561) 514-8365
       www.palmtran.org
                                   You will be immediately advised upon the conclusion and outcome of this
                                   administrative investigation.




     Palm Beach County             Steven Fields
       Board of County
                                   Operations Manager
        Commissioners


    Melissa McKlnlay, Mayor        c: Clinton B. Forbes/ Executive Director

   Mack Bernard, Vice Mayor
                                      Sean K. Smith/ Director of Operations
                                      Cathy Lewis, Senior Manager of Human Resources
         Hal R. Valeche               Dwight Mattingly/ President of Amalgamated Transit Union (Local 1577}
        Paulette Burdick              Employee's Personnel File
                                      Payroll Section
          Dave Kerner


        Steven L. Abrams


        Mary Lou Berger                                            \ ^




    County Administrator

        Verdenia C. Baker




       "An Equal Opportunity
    Affirmative Action Employer'


  Official Electronic Letterhead
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                                      136
             Notification and / tnowledgment of Violation of Rules i I Regulations
                                         Palm Tran
                                                       ATU
 (The following employee is hereby notified of a violation of the Rules and Regulations)

 Date:; L i it it 3
 Enyloyee's Name: ([f^ S5/b-> ^/^ ) )/l r'V t>^ /
                                                         T
 Department DOperations D Maintenance

 Classification: D Maintenance Technician d Technician Trainee ESMBus Operator
                  D Utility Woricer D Paint & Body Specialists D Storekeeper

 Date of ^ ^ ^ Date Offense/Incident ^
 Offense/Incideat: 5- / ^.O) • f i Reported to Company: ^ / fJ I /J

 Offense/Incident , ./^ /- Witness: [/i t>^-^ €> B£^i^T/0^
 Reported by:^i/ <Sa^ ^ U-^ U^^h^ t

 OfFense/&icident:^£^/< ^//P^/o^ L}/^U Q^i b^7v//^AT/l'^h 'DAi'^/^^^ /^ ^tl//^
                                                                         Tf—^
  )etailed Description of Offense/Jncident: £b^A^7^t 6fi^]>i^\/ O^S ,^.'5 //^O S^</</^.^
T^ou.U-f A: 6^.-sTo/^/^.6o^^^T ^^5.a^£/i.^t> u.A}^^ A-^
'.^/J^T^o^ bf^.UtC^ L>/hL6 aW/t^Ti^. ^i ?)u5, O^C^'V^^. ?)^^£^
fJ^5~^l^ !)S^A\/^ /i^A^'^f> i>AtrA/^A^ /^ 'LA OW^^i'Ab -r^ !^^'
T?^^i4-^/0^^
 Action
             M£- ^ boiler
           Taken:    *"
                          ^/jo^rfc?^
                          ' '" ~  ^,
                                     ^^r/^5
                                     ,. ,. -
                                             ^^s,-^^-
                                                                                                   00 -O/^
         Verbal                          Warning                                  ^        ^       ^        ^
                                                                                                  ;9£> -

 a Written Reprimand

 0 Suspension: _ to
                           Begin date End date

                            ^G 2AA^y t^^l Ahn>£ By M{ r'^UA ^^.
^L^i^S /^\>'P/L^C^^/t^ .?>\fi H^^M^f^ ^Ao^ U^'^L A^\/4-^h^
t6L&^/l<Qm^ ]^S\/)C^ i^t'^ o^e^T^^ ' PM.&U n^ ^?/A^77
M <^-^d^. ^iT^^/h-^ ^A^/</;^^ U^''^ ft^ p/1^^^^ S^<i/^.
                                                                  i^/ // / /^
 Si^ervisor' s. !31gn^ture Date

  ^-^^TJ^T'-— (^ in i^>rj>
 M^g^sS^?£e^^" Date



 I acknowledge that I have been provided wifh a copy of this disciplinary action and that I'm aware of my grievance
 rights. I understand that I have ten (10) days from the date the discipline was imposed, to present a written
 grievance to llie Human Resources Manager.

  /
 Q" la agreement
 D ^./^%adeir prpt^st

                                                                                                     <?
                                                                                  6 !//' I /3
 Employee's Signature // Date


 DISTRIBUTION White - Employee Canary - Human Resources Pink-Union

 Ffflmaa/Disciplinc/Bareauu'ne- 4°' Miss Out.wpd Rftviscd 06/22/05
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                                      136
               Notification an<f |fcnowledgmeat of Violation ofRulef |d Regulations
                                                       PalmTran ^"'

                                                           ATO
  (The following employee is hereby notified of a violation of the Rules and Regulations)

  3Date: /{) I 6 //-<>0/^

  Employee's Name: / .-M-^rW^tA                        y^^ - ^y^;J~£

  Department iSB/OperatioBs D Maintenance

  Classification: D Maintenance Technician               0 Technician Trainee               tus Operator
                       D Utility Worker                  D Pamt & Body Specialists       D Storekeeper

 Date of                                        .^"
                                                         Date Offeiise/Incident ^> ^ ^~) /i i
  Offense/Incident:     S___,__nj^                       Reported to Company: 0 / / / / C^ /<

                                                         Witness: V/^~^
 S^MT^X.^7/&o^
  Ofiens^cident: S^7 /-S^S-^ ^^-^-^^/--^/^-?6^6 6^
                                      .<:
 Detailed Bescnptipu ofOfSease/Iucideat:              ^6-7^12^-. .^1^ AJ^^A.^
 ,-"!^<::7:Pr~"' VJS,^~^r                             //-r^ 7^^ a u / //j£^ . /.^ /^ ec
      T-^/rvih^                    riAT.s .
                         1L
 Action Takesu:

  D Verbal Warning


  a Written Reprimand

                                                       /w^^
                                                                          ^'


 g/ 'Suspension: /<9/§/^S to
                              / Begin date End date

  Cfme^w Action: G^W^^P/ /TU^^ Q^AJLQj^ ^ -ft
 ^p^fL^ Cfi^o^f^ ^ ^j / /- ^ ©• / / </ - y~o~




           ^
  SupeiEVisor's SJtfaatare                                         Date

                  T7                                               /i? 1^ iff.^^
  Mariager's Signature                                             Date




  I acknowledge tfaat I have been provided wiA a copy of this disciplinary action and that I'm aware of my grievance
  rights. I understand fhat I have ten (10) days irom &e date the discipliae was imposed, to present a -written
  grievance to fhe Human Resources Manager.

  D        In agreement
 p^'       Under protest                  Comments:
            ^//         ^.
                             ^^•v"'-
  Employee s Signaturel                                                          Date
      ^3^ /</>'                             u^^A ^U ' (Lx^ ^ 4^^^-rv"^

  DISTRIBUTION White - Employee Canary - Human Resources                                           Pink ~ Union

  PoTins/Disc!pluie/BflrgaMUBg~41lIMlssOutwpd , . . ', . , •-,':"^ .                              Revised 06Q2/05
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                                              136
                          Notification au<f jpnowledgment of Violation ofRulef |d Regulations
                                                                    Palm Tran
                                                                       ATU
            (The following employee is hereby notified of a violation of the Rules and Regulations)

            Date.,/^ I ff) ^.^ /, ^

            Employee's Name f,_^f
                                                               M^i&^' L^-'v/^-£

            Department ^Operations                            D Maintenance
                                                                                                          /
            Classification: D Maintenance Technician                 D Techaicm Trainee                 CTus Operator
                                 0 Utility Worker                    Q Paint & Body SpeciaUsts          a Storekeeper

            Date of (-1'^-^ ^ ^ Date Offense/Iacident
                                               Date Offense/Iacident Q
            Offense/Incident: 6 / / // ^O/^ Reported to Coiupany: ^ / /^/ ^O/

            Offense/Incident^^^ . ./ . , . -^ ^. Witness: t^/'^
            Report^ ( ' ^>^^//^OC^ ^^ ^ ffy^W^^ ^^^^ 3, •/&J
            Offense/lQcident:                              ^"^"^ /^C^GVJL^^f^. /U^//c^ V^k^'^-

                                                -c^-ci-y
            D&failed Description of OfCense/Incident:       /-S. /y^ /-S. /^ A^-^-L-^J^. \L^^^^-
                                                      r^^~i"C^sf~€H
                ^~rt^^ . a_ tf^ "^^.^
                                   .^.^.J^JC ^ O^J~                                                     U S-0^=:A (^r^V
            .J5>^/^-<^ ^v-< c ^A 0~^ , <:J5.                                                                   T
            Action Taken:

            Q Verbal Wamiag

            a          Written Reprimand
                                                                                     ^
                       Suspension: / °/ -t'/<s^f^ to                  0/9/c^A
                                           iBe^m date                  /Bnd^date

            Corrective Action:




                                                                              Date

                                                                              /D ( 6. i^c/^'
                                                                              Date




            I acknowledge that I have been provided with a copy of tihas disciplinary action and that I'm aware of my grievance
            rights. I understand that I have tea (10) days from the date the discipline was imposed, to preseat a written
            grievance to fhe Human Resources Manager.

                       In agreement
            a                    rofe3t                 Comments:
                       r^7/
                     /
       (—Sfflployee'
         _^Z              X.
                     s^tgHSEure"                                                                 Date

                                               X7~'

            DISTRIBUTION White - Employee                             Canary- - Human Resources                 Pink - Union

;.^;;,.',.. Fomu/Discip]tne/Bargainmg--4dlMissOut.wpd                                                          Revised 06/22/05
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                                      136
               Notification am iriknowledgment of Violation of Rule. iid Regulations
                                                     Palm Tran
                                                          ATU
  (The ToUowing employee is hereby notified of a violation of the Rules and Regulations)

  Date: //) I h 1^-0^                                ^                     ^~-
                                                     <.
  Employee's Name: {yW-ft^^^                               t^L^ -'.JL-/)a^!^r

  Department          ^6p eratlons             D Maintenance

  Classification: 0 Maintenance Teclmician               D Techmcian Trainee               lus Operator
                      0 Utility Worker                   D Pamt & Body Specialists      D Storekeeper

  Date of 0 , ^ ,/                                       Date Offense/Iacident ^
  Offease/Incident: ^ / / / /                            Reported to Company: & / / / /

  Offense/ IncidghU                                      Witaess:          i L^L^
  Reported by: '^-"<           ^ //^)£)S^
  Offense/Incideat;          S^^' /Cy/^^^^" (=^W^
                                                                                                        -?
  Deviled Descnption of Oi^nse/Jncident: {^J^^L^r^'^<L. 6^^ C'^?7//^'?-
  ^J^A/./-r ^^r\f/'^{<^ ~fa^^^ U.Cf ^ /yJ^>£i ^<-^^T
  n ^' '\\^ ^ -?-€j3^7 ( ^ -^ f'-^-iU ""-^ "^^-i^s&^' L/-g^> cJL^.
                                              '.£LZZ..—~'ZZ..


  Action Taken:

  0 Verbal Warning


 C^fv^ Written Reprimand

  D Suspension:                                to
                              Begin date                   End date

  Corrective Action;




  Supervisor's Signature)                                           Date

                                                                    ,6 i/o 1^0^
  Man&ger's Signatire                                               Date




  I ackaowledge that I have been provided with a copy of this disciplmary action and fhat I'm aware of my grievance
  rights. I understand that 1 have ten (10) days from the date fhe disciplinfr was imposed, to present a written
  gdevance to fee Human Resources Manager.


           In agreement
           Under protest                 Comments:




  Employee's Signature .:„:.'' '•" • , ^ . /i ^.^ ^. /Date
•^^€- '^r^± /JD";'^/^-^ i^it^ (^'jm tT) ~]^^e^^ fi KJ; / a/^ /JL^^ ~t^_^t)^
                                                                                                                    "^•^^'^
                                                                        U--


  DISTKIBimON . White - Employee Canary - Human Resources                                         Pink "Union " /-^

  Fonns/Disciptme/Bargaining - 4nl Miss Outv^d . •.. :.; ;•, • ,- ;                              Revised 05/22/05
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                                       136
              Notification and Acknowledgment of Violation of Rules ^ J Regulations
                                                     Palm Traa
                                                        ATU
   (The following employee is hereby notified of a violation of the Rules and Regulations)

   Date:_^_J__ £^/ /w'
                                              /^ /


   Eayloyee's Name: d A 5J^ ^ M/^ /.M/-^^ /
                                                            f



   Department B'Operations Q Maintenance

                                                                                           _^
   Classification: D Maintenance Tecbmcian 0 Technician Tramee S-Bus Operator
                 D Utility Worker , D Paiat & Body Specialists D Storokeeper

   Date of ^ ... ^. ; / Pate Offense/hicident
   Offejise/Incideat: ^ / /^T/ /6^ Reported to Company: <8 /. ./.$ / /^

   Offease/Incident „. . • Witaess: l/r>£0 •^&^l^'T/^-i
   Reported.by: D^Cr/U^O/L "

   Offense/Incident .: ___I ft.^V£.^T^^G A^fC^^

  Detailed Description of Offense/tncident: cW-AAT&A 'S-l/rtV6--/ /9^ ?Jt^SO#)^ ^w./J^</A?
  /(-^/Wf/-'i47^/ ^P^ ^Qu/i ^/^Uic.^. /^^£ Ci.wr^cr u)ir7/
    'AA oT/^-/< £/^//. <: L^ A 3 t/C^. ^ ;•: ^c AT^&^ ^T/^ Tb n /t ^i 4 T^^'
                                             /       •            "         •




   Action Taken:

   a Verbal Warning


           Written Reprimand

   Q Suspension: _ to
                             Begin date End date

                                                                                                               ^>.
   Corrective Action: ^/^/i-To/C AW&W;V/ 5^nli u <A ^-^ ^A-{1:'£ k^iW ^€^r~Tt^(r A rf\"U^
TA/^ \/€l^^U ^-^ 3£ j^ra/f^ 4-/^A-ft^ ^}€ "%^ ^_^T-/ 2^?^£ /U&L(^I> T^. W^U
f<?^ A^9 ^z/^&^ T^.f/W^S-tA-^ 'i/t?i<'T& ^ ^i/oL^&b jk) A 6^{sh^^^ ^i
  ^ ^ r^T/j3^^^^-^ ^ ?.cry"
            /•'' } ' ^1^'*^ .^\ {

                                                                       / ^i ,6-
   Supervisor's Signature , Date

   _X.((^^_-' ' '? / X^/ /4
   Manager's Signature Date




   I acknowledge Ifaat I have been provided with a copy of fhis disciplmary action and that I'm aware of my gdevance
   rights. I understand that I have tea (10) days from the date the discipline was imposed, to present a written
   gdevance to fhe Human Resources Manager,


   Q Inagreement
   D /''' Under prptest / Comments:




                                 iz _
               ?1 . ! /
           / // .// / ••
           i^-^ . /S/ /.,^-—. cf/ /^J/ Jl^
   Ei§pioyee'sSignahiret-^^-^^^^ Date



   DISTRIBUTION White - Employee Canary - Human Resources Pink - Union

   Forms/DiscmIint/Bareaininji - 4V1 Miss OuLwpd Rovised 06/22/05
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                                      136
                                  fi.^                     ..-.-^


                Notification and A-xnowledgment of Violation of Rules i^J Regulations
                                            Palm Tran
                                                       ATU
 (The following employee is hereby notified of a violation of the Rul6s and Regulations)

 Date: /^ / ^^ I <?°/7

 Employee's Name: ifiSS^cf^^L Hr^JI^


 Department ^f Operations D Maintenance

 Classification: D Maintenance Technician D Technician Trainee t^Bus Operator
               D Utility Worker 0 Paint & Body Specialists D Storekeeper

 Date of ,^ t^ ^,^ DateOffense/Incident
 Offease/Incident: /^. / /• 6 / ^Of / Reported to Company; /"^ / f ^ f

 Offeuse/Incident , . ,, „ Witness: _U f ^€Q
 Reported by: C^^W /7^ !^iSe ~

 Offense/Iucident: T)fW?r MlSCO^C^

 Detailed Description ofOffense/Incident: W^Vah)^ S.H^^j^^/ /r7 ^ Qi'^U^Sf'n^
   /., fJ-U & 6ffCf^<3^^ f^hf^ b(?i^^.^^ Ct^^-'^uc^ ^^t-^^^r ^
   -U^                         !^j^                   </            '     -
        ^" "'" ' ^r




 Action Taken:

 y Verbal Warning

 a Written Reprimand

 Q Suspension: ,____ ,, __ to
                               B egm date End date

  ^ective^ction: 0(W(-fti/ jk)y Irf ^dl^^ _ ^ !)^/^i^ <7^LUA?L/ f^P^>U ^
   ;/'i<flrf.f^ iUw^ h^Ji^C^.f -^ A^/ ^C^nw^^^ ^^ trt <'?/ ^fff'f^^y
      ^f^WM -H^ v^bii^ ^r^r •F~


                                                                      /     /
 Supervisor's Signature Date

 (SM^^^^—' _ iS.,2S\ ,^0f7
 Manager's Signature Date




 I acknowledge that I have been provided with a copy of this disciplinary action and tiiat I'm aware of my grievance
 rights. I undeistand feat I have ten (10) days fcom the date the discipliae was imposed, to present a written
 grievance to the Human Resources Manager.
 I/'.                    •      .     -
 S' In agreement

 >'/ntey? ^'£
 a . -'Under protest ^/€omments:


                      k//«y.
                      -^A/     Z^..
                         ^^(•w^w^
                                                           /^          1^/1                   //7
  mplo^ee's Signature I' /j Date


 DISTRIBUTION W? - Employee Canary " Human Resources Pink " Union

 Pnntte/nn;rfln1]nf/ni>nrafninc-41*lh(wnntwnrf ..-';. ••-'.•' . Revised 06/22/05 •
       Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 122 of
                                             136
         ^ Notification and Acknowledgment of Violation of Rules and Regulations
                                                      Palm Tran
                                                          ATU
        (The following employee is hereby notified of a violation of the Rules and Regulations)
                                  ^
        Date: 0 /yo..//..f
                //^,-
                      /^- ..
                      />.  ^ / ^
                               ^
        Employee's Name: / /-'k^^f'/J/^^1'//^. /•W/^0 /^


                           -*^r

        Department GK)perations D Mauatenance
                                                                                            ..-^'

        Classification: D Maintenance Teclniician Q Tecbnician Trainee EMSus ODerator
                       a Utility Worker Q Paint & Body Specialists Q Storelceeper

        Date of /"^ ; ^ ^'', •• Date Offense/Incident ^-/ .
        Offense/Incident: / // 7( / ^( Reported to Company; ///"?/ A

        OffeDse/Incident/ ,.'•} , Witness: K / ^^z. ;7 ( }h<-^
        Reported by: ^OW H/^fW ^

        Offense/Ihcident: L^/^^ Hi'^.ff ^-c 0^^. './^/'l. f C/'^/t^'

        Detailed Description of Offense/tncident: (5' ^'-i' fi^-^n/ U?/^^ C) //^•sfJf /J /-//i f^^2/•'^' t^<^^
        -4^'h^ f'i-j^^'iv-s^ /^^^.€^^^ ^C//.^^-y^syC. A~^ ^//./^^•^^ ^ /)-"/^^^
        ^''i^'/^rv-} ,^y nJ.r'^ /?./ ^/<? /- A/j-.' C^i^O^i L) '/'€ / ^<^..



        Action Taken: .

        D Verbal Wanaiag


        P/""' Written Reprimand


        D Suspension: , ,..„ t°
                                  Begin date End date

       Corrective Action: !/]_^~-tfi ^ T^J^ (/-^: I/ n^/-vl J;^. ^ /^^ /-<_ ( \^Jr^.^^.-^ (-0^^
       ft A^'/ 6///'//^/ ^f/l CUS"^^-?^^ .^{^i / ^ </ '7~^^^/^/^j. /9/^r'^^^'-
        ^.,' / // /Z -^ ft ^ !/<. /^^ - y'/t/?^/^':-^/ ,'/) / ^1.//7^^/C^^ ^/^^^.^ /



                           -n                         ,           /
       "Sir^ervisoT'^Sigm^e' |\ ^ Date

       ^h^y^ ^V- -?. / / A / / P
        JMEan^gCT'sl^aatiSrel Date



        I acknowledge that I have been provided with a copy of this disQiptmary action and tfaat Fm aware of my grievance
        rights. I imderstaud &at I have ten (10) dsys from the date fhe discipline was imposed, to present a written '^
 ^ grievaacg/to the Human Resources Manager.;


                la agreement ,. ^.^ /„ ^/ ///^ ^ ^ ^7^)—^ . ^ U
        a , -Ind^E^'t/? CommeDte.^;/N4-<y ///^ U/—// /•7e-/-/^^ ^
        / / / \Af ^"^).. ^.0 - /. ^ l^^hk^<
           - ^" ><L^l^r. // //<^ / /^ /"~" . ^
        Employee's Signature . / / Date

\,^—"—~—~—""•""""""" "•"1"'""""""""" ' —-—- """'1 ——' '•""""""" • —~—"""" "—'
*i'r




        DISTRIBVTION White - Bmployee . .Canary - Human Resourc.es.-': Pink - Union

        Fnnnc/n»,tftmHnp-/RarBatnfrt""^<l'Mii:cn)itwnf1 •:. • . . ' 0«u;e-^ ftfim/W
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                                      136

 • Notification and Acknowledgment of Violation of Rules and Regulations
                                   PaImTran
                                                           ATU
 CThe following employee is hereby notified of a violation of the Rules and Regulations)

 Date: • '"7 / 30, I?S

 Bnyloyee's Name: C^^&^ pd f(A t)f,/2dte.-J
                                                           i
                                                                                                                             I.




 Department ^Tpperations D Mamtenance

 Classification: d Maintenance Teclmician D Techmcian Tramee --^[^us Operator
                   a Utility Worker D Paint ,& Body Specialists D Storekeeper
                                                   I -r- L
 Date of '-/.-,. .^ t\: [ '' ; DateOffense/Sacident
 Offense/Incideat 7 /ffci / ^(\ \^ " Reported to.Company: 7 / C^> I 1?\
                                          ff   ':      )   '   '   '   ^


 Offense/ lacidest.^^ *- : Witness:
 Reported by: / f^^^C y -'• / ~ .

 Offense^acident: Trk- ^^K OO^^^ft^ _•
                                                    ^~^-
Detailed Description of Offense/lncident: 'EC^T-\ -h;'-^' f^r\ &.n\0^e& i^ O^'-'SiC^ ^V'i <l^-/i/^n"
C(^' €T\<?. ^ r< OY1 ui (€r^. ^^Y:,/ ^s, ujino acc^"i. ^ 4e i^ ^s,c.x ^s^ f^^c^ or
^ Ora.^ftv,/^ oT ^ A.u^ '5.ic< i^ A fo^r-^ (ul&'ftdGyr ^.SL( ^\\ 1b€.
 n?^cW a QCQ^fr^c^^ v-^t^v/. o<^ 0) ^^^r^-h'^-s'^C ^^^£>^f O.t&^t^
 A^.cje Q9 ^Qd^rn .^ /, 3m~" ""—'-
 Action Taken:

 a Verbal Warmng


^eC' Written Reprimand

 a   Suspension:           ^^   _^^^^^     to      _.,__,.,_

                            Begin date End date

 Cotrective Action: Tr TSJCK ^^L/i(^KL€ ^ U&/^ ^^•'W-^ uXvf f\^




                                                                              _/_           L
 ,Supervisjor7<Signature                                               Date

           \A /^JLt-^--
          lu"


 Manager's Signature Date
                                                                        ^     _il
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                                                                                    !_      /_




 I acknowledge fhat I have been provided witii a copy of this disciplinary action and feat I'm aware of my grievance
 rights. I understand that I have ten (10) days from fhe date the disciplme was imposed, to pTesent a written •^'
 grievance to the Human Resources Manager. / / /
                                                         /
                          / ^7 . ^ , / €""^: /' • -../«;? L.L-^'-
 D/ laagreement ^ .^-7/ ,4,.- ^ ^7c7f / /:1 '^ ^€Q/f 7"f '^1
i^ Underprotest Commen^r / '-//W ^ "^/ / ( ^ f f _^^^4.:f. •//'•J-<
     ./---^          '     „.-'•>       ^'         .       7^            .    7""""                •'•"""            ^    :''"a-


/'"'' ' / x"--ii \. ^<'T. / y.^""-"


( " ^^^"^-^-^r" • ___^___
""EiiyI^y&e'rSignature / / .. ~ , Date.
                                    t^'        '   •           ;   '    •     -     -       '    ....   .   •   .;   .•




 DISTRIBUTION White - Employee Canary - Human Xesources Pink - Union

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Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 124 of
                                      136

             Notification and A^JiowIedgment of Violation of Rules ai^Regulations
                                                   PalxnTran
                                                       ATU
 (The following employee is hereby notified of a violation of the Rules and Regulations)
        //      ^^         ^       '
 Date: ^[ / ..^Q_LC^_

 Employee's Nam.: (i^S^<^^ ^rJS^

 Department ^TOperatioas D Maintenance

 Classification: D MamteDance Technician Q Technician Trainee ^(D Bus Operator
                a Utility Worker D Paint & Body Specialists D Storekeeper

 Date of ^1 3/ .^ Date Offeia5e/Incident ^j
 Offease/Iucident: 7 /^l f ^ Reported to Companr. 'i fcfi / 1^

 Offense/ Incident-r-. ., , _ Witaiess: . ...,_„_._L
..Rep&rtedby: / 'W\}€' 2C • ~

 Offense/Incident:     "7r" ^€JC W(l.^^^£.

Detailed Description ofOffense/Jncident: tO.-C 'n -h^ ^.^ (^T«"M^ /^. ^^ •"\^.< ^i^ Cc<.^
 _& ^ Oi/''s('< ^^K i-T^..('^M//\ •^nO'ru^-'S ^)n^ ^^^fn..\^4G i^ d'S-£jC Qy^/fi'^^^ Or
 Q t'T-A,<iA,". ..,;-Q,, -^^ ^)/tf. ^\.f?^ s.tC;'/\. n ^ folii^ C'^W^c^f ^-^x/ ^\U '!ry.
 A^//^-1 G ^F--k//^i/Y?^-n W/l7^' 0<^^ •T^ 4e^^^/^ h^' ^/ry^Si^ ^n^^'
   ^._-^c ^S -^^n ^ ^~~
Action Taken:

 0 Verbal Warning


^ Written Reprimand


                           Begin date End date

 Couective-Action: Tr^ ^^C ^ ^^^^/"^; ^ ^X.fc, L^Jf i H^A U.:^r^-s




                                                                      _/..         „/„

 Supervisor's.Signatur.e                                      Date
      ?) \~ •.
                                                                                   r i Say
                                                                             /s'

   7i/A^^ ^                                                      /.   _/_
                                                                             s-


 Maoa]g^r>s Signature Date




 I acfcaowledge that I have been provided with a copy of this disciplinary action and that I'm aware of my grievance
 rights. I understand that I liave ten (10) days from fhe date the discipluie ^a^ iicposed, to present a written
 grievance to &e Human Resources Manager.

 0 ^}xji agreement
 D<','^"^ Under protest , CpnfiB[ents:
                                                 ^
 ^ '( /7 /<• ////" ./'/
^—^-/^ <_>-/^^
 Employee's Signature ^- (^ . Date



 DISTRIBUTION White" Employee ;. Canary - Human Resources . Pink - Union

 •Fn(-tns/niscmlmt/Bar^amEne-411'MissOuLwnd ; •• ••• •-••. Revised Ofi/22/05
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                                      136




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          Case 9:19-cv-81111-RLR Document 1-3 Entered on FLSD Docket 08/07/2019 Page 126 of
                                                136



                                                                                                 /3/&


           Palmftan

    Admmistrative Offices
                                  June 22,2017
     3201 Bleccronics Way
West Palm Beach. FL 33407-461 8
                                  Via Hand Delivery
        (561)841-4200

      FAX: (561) 841-4291         Wayne E. White
                                  2550 SW Cooper Lane
                                  Port Saint Lucie, FL 34984
    Palm Tran Connection

     50 South Military Trail
                                  Dear Mr. White:
           Suiie 101

West Palm Beach, FL 3341 5-3132   Effective Thursday June 22, 2017, you are hereby being placed on
        (561) 649-9838            Administrative Leave with Pay pending the outcome of an incident which
      FAX: (561) 514-8365         occurred on Tuesday June 13, 2017.

      www.palmtran.org
                                  Palm Tran's Human Resources will notify you of the date and time of the Pre-
                                  Termmation Hearing.


                                  Sincerely,



     Palm Beach County
       Board of County                      ^O^^v^
       Commissioners
                                  BJ. Bairow
    Mary Lou Berger, Mayor        Manager of Operations

   Hat R. Valeche. Vice Mayor
                                  BJB/smr
        PauletteBurdick
                                  C: Clinton B. Forbes, Executive Director
         Shelley Vana                Donna Raney, Chief Assistant County Attorney, County Attorney
       Steven L. Abrams              Sean K. Smith, Director of Operations
                                     Michael Williams Interim, Director, Administrative Services
       Melissa McKinIay              Jafari Bowden, Interim Safety & Training Officer
       Prjsdlla A. T^ylor
                                     Dwight Mattingly, President, Amalgamated Transit Union (Local 1577)
                                     Employee's Personnel File
                                     Payroll Section


    County Administratot


       Verdenia C. Baker




      "An Eguol Opportunity
   Affirmative Action Employer'


 Official Electronic Letterhead
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                                               136



                                                                                                          ,3,^

                                  June 26,2017
           TatoiTcan

    Administrative Offices        First Class & Certified Mail
      3201 Electronics Way
                                  Mr. Wayne White
West Palm Beach. PL 35407-4618
                                  2550 SW Cooper Ln.
         (561)841-4200
                                  Port Saint Lucje, PL 34984
      FAX: (561) 841-4291
                                  DearMr.WMte:

    Palm Tcaxi Connection
                                  As you know, the Labor Management Agreement between Palm Tran and ATU (LMA)
     50 South Military TYaiI      requires that employees shall act in the best interests of Palm Traa and treat the public wifh
            Suite 101             respect and courtesy. Specifically, in fhis regard. Article 9: Employee Cooperation, Section
West Palm Beach, FL 3341 5-3132   1, of the LMA provides as follows:

         (561) 649-9838            "The employees shall work at all times to the best interest of the COMPANY; they shall
      FAX: (561) 514-8365         perform efficient service in their work; they shall operate and handle the COMPANY'S
       www.palmtran.org           vehicles .carefully, safely, cmd -with the utmost regard to the safety qf passengers, the general
                                  public, and the equipment entrusted to their care; they shall operate and handle the
                                  COMPANY'S vehicles at all times in full compliance, with the rules of the COMPANY; they
                                  shall give the riding public courteous and respectful treatment at all times to the end that the
                                  COMPANY'S service may improve and grow; and they shall at all times vse their influence
                                  and best endeavors to preserve and protect the interest of the COMPANY and cooperate in the
                                  promotion and advancement of the COMPANY'S interest."
     Palm Beach County
       Board of County            As a result of an incident that occurred on June 13, 2017 you were placed on Adminisfrative
        Commissioners             Leave with Pay on Thursday, June 22, 2017. The investigation offhe incident has been
                                  completed.
    Paulette Burdick, Mayor
                                  A pre-termiaation hearing has been scheduled for Wednesday, July 12, 2017 at 2:30 PM
 Melissa McKinlay, Vice Mayor
                                  located 3201 Electronics Way in the Dale Smith Cojiference Koom, West Palm Beach, FL
         Hal R. Valeche           33407. The purpose of this hearing is to deteraiine the appropriate extent of personnel action
                                  to be taken up to and includmg temunation of employment. At this hearing, you will be
          Dave Kerner             afforded fhe opportunity to present any and all evidence relating to the allegations stated above
                                  that you would like Palm Tran to consider. If you have any questions regarding your hearing,
       Steven L. Abrams
                                  please contact me at (561) 841-4200.
        Mary Lou Berger
                                  Sincerely,
         Mack Bernard




                                     itonB.Forbes
                                  Executive Director, Palm Tran
   County Administrator

                                  c: Dorma Raney, Chief Assistant County Attorney, County Attorney's
       Verdenia C. Baker
                                         Sean K. Smith, Director of Operations
                                         Michael WUliams, Interim Administrative Serrices Director
                                         BJ. Barrow, Senior Manager of Operations
      "An Equal Opportunity              Amalgamated Transit Union, Local 1577
   Affirmative Action Employer"


 Official Electronic Letterhead
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                                      136



                                                                                                ,31^
          m^                        July 26, 2017

                                    Mr. Wayne White
           •^3^>                    2550 SW Cooper Lane
                                    Port St. Lucie, PL 34984

             PaImTtan               Dear Mr White,
      AdmUtiistrattve Offices

       3201 Eleccronics Way         On July 12,2017, we met to discuss staffs recommendation to temiinate your
  West Palm Beach, FL 33407-4618    employement with Palm Tran. At this hearing you and your union representative
           (561)841-4200
                                    President, Dwight Marttmgly, were shown the video to afford you an opportunity
                                    to explain your actions.
        FAX (561) 841 -4291

                                    Your behavior was unprofGSsionaI and in violation of Article 9: Employee
      Palm Iraxt Cotmection
                                    Cooperation of the Labor Management Agreement, which requires Operators to be
       50 South Military Tlrail     courteous and respectful at all times. When you were shown the video and you
              Suite 101             acknowledged how inappropriate your behavior was. You displayed great remorse
  West Palm Beach, F1L 33415-3132   and took full responsibilties for your actions.
          (561) 649-9858
                                    I have been advised by the Executive Director, Clinton B. Forbes, that he has made
        FAX: (561) 514-8365
                                    the decision not to terminate your employment, based on your overall work history
        www.palmtran.org
                                    as a Bus Operator. Prior to this incident, you have never received disciplinary
                                    action relating to unprofessional conduct.


                                    Based upon the evidence presented, and in consideration of your overall work
                                    history and acjknowlegement of your inappropriate actions, Mr. Forbes has decided
                                    that in lieu of dismissal, you will serve a three (3) day suspension without pay.
       Palm Beach County
        Board of County
                                    The foregoing is based upon the unique particular circumstances of this case and
         Commissioners
                                    does not establish a precedent for the resolution of any other matter. Should you
      Pauletce Burdick, Mayor       have any questions regarding your bearing, please contact Lavem BIackwood at
                                    (561)-841-4337.
   Melissa McKinlay, Vice Mayor


           Hal R. Valeche           Sincerely,

            Dave Kerner
                                    A^.AT^
         Steven L, Abra.ms          Sean k. Smith
                                    Director of Operations
         Mary Lou Berger

           Mack Bernard

                                    C: Clinton B. Forbes, Executive Director
                                            Donna Raney, Chief Assistant County Attorney
                                            Cathy Lewis, Senior HR Manager
     County Administrator                   BJ Bairow, Senior Manager of Operations
                                           Payroll Section
         Verdenia C. Baker
                                         ^Employee's File
                                           Amalgamated Transit Union, Local 1577
        "An E^Viat Opportunity
     Affirmatiw Action Empbyer"


   Official Electronic Letterhead
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                                      136

            Notification and AcKnowledgment of Violation of Rules ai. - Regulations
                                                  PalmTran K / L-^
                                                   ATU    'y  ' ^
 fThe following employee is hereby notified of a violation of the Rules and Regulations)

Date: _'7 J_^^ jj_(_

Employee's Name: LO Coj, / '^ G U^ ^ . •\' 1<L
                                 ^
Department 'pl'^Operations D Maintenance


Classification: D Maintenance Technician d Technician Tramee DSus Operator
              D Utility Worker D Paint & Body Specialists D Storekeeper

Date of ^} , -^ . ./-; ^ate OffeDse/Incident ^. / —,
Offense/Incident: ^./ / 6/ / / Reported to Company: W I / ^ { ./7
                                                                     ./• ^




Offense/Incident ? ~,\ i Witness: \S \ o "<r' 0
Reported by: \^J> C^ >.' ^ (' L/'-J)'' ' €

Offense/Incident: f\( ji- •.C\^ L\ (cll ^ QIL.^^^ (-- o 0 0 P. r^J\ .uv--. l-\ ,-\ ^r^1 c^^^^.;^ CG.AC
                                                         Q.._-         ^_-.._         .___.^


Detailed Description ofOffease/Iacident: A. t-vC. .-..-^''i,^ v C,'.\'t G<; K^-.^ o^- '^•J\\> l ^-

  0^. ^^^ _^" ' ~0~




Action Taken:

D        Verbal Warning


 D       Written Reprimand

                       f7/0^-///^
^        Suspension: '/ O""/                 to        -u^'ln -5 6c^^, p.-kKe-^w
                          Begm date                    Eaddate ---^—- >^^^^^^^
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                                                                                                       \'l


                           r
Corrective Action: T^-e'^v^.v-^-c' * ; ^^-\ L\<-\'pr^^ <2'^^-;ur~^l_Cc..-,<.^^...'.- L.0^' \^ o.'^ cc^\-'-y .




                                                                     /       /
Supervisor's Signature Date

^^-\>.-^:-^A.^ _ y / o c-i ,7
Managep's Signature Date




I acknowledge that I have been. provided wifh a copy of this disciplinary action and that I'm aware of my grievance
rights. I understand that I have ten (10) days from the date the discipline was imposed, to present a written
 grievance to the Human Resources Manager.


 D/ In agreement
E)' -. Under protest Comments:
      \ -—-r—-_ ^.;"<'7^
•^ \ -• ^':Vi\i A'
 •"M.l^-i—.1''-', y'-~l'W.. ' 'T /.)fc/ 1~;

 Employee's Signature Date
                \


 DISTRIBUTION White - Employee Canary - Human Resources Pink - Union

v^ —i-mt<,ot-i;—fn———;n- <>l> »<;— rt..* >.—^ n——-4 n^i-iimc
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                                      136




 Jose Rivera
 4539 Amherst Circle #89
 West Palm Beach, FL 33417
 561-687-0981

 November 26,2018

 Katherine Gonzalez
 U.S. Equal Employment Opportunity Commission
 Miami Tower, Suite 1500
 100 SB 2nd Street
 Miami, Florida 33131-2216

 EEOC

 Re: Jose Rivera v. Palm TraW 15m-2018-00051

 Dear Ms. Gonzalez,

 I have reviewed Palm Tran's position statement and prepared this letter in rebuttal There is
 sufficient evidence to support a fmding that Pahn Tran has discriminated against me, a white
 person, on the basis of my race due to their deferential treatment of black employees m comparison.

 Palm Tran fails to justify their position in fh-eir declaration headed "It is impossible for the
 Charging Party to establish that he -was discriminated against because of his race, national origin
 and gender." First off, Palm Traa attempts to justify their discriminatory treatment against me by
 mischaracterizing the incident they used as a pretext to teiminate me. Pahn Tran generalizes my
 response to a confrontation instigated by passenger Myron King as egregious and "abhoirenf
 without specifically stating the behavior or actions they deem as such. In actuality, the incident
 involved a patron who has previously been charged wifh assault on a public transit employee (see
 exhibit A ) and who has numerous confrontations with other public transit workers (see
 exhibits JB_1_ fhm __B 15_). The incident was in fact a minor argument instigated by Mr. King
 which was completely resolved without escalation of the argument. It is clear that Palm Traa's
 position statement attempts to magnify a minor incident and provide a pretext for a discriminatory
 tennination of my employment.

 In contrast. Palm Tran has given similarly situated black employees much more favorable
 treatment for incidents which could very well be characterized as "egregious" or "abhorrent." The
 following incidents are examples which are known to or should be known to Palm Tran.

 (Example I) Between May and July of 2017, Wayne White (black/Male), while employed by Palm
 Tran and on duty, was returning a bus back to the garage. He was cut off by a driver which ensued
 into a verbal altercation between Mr. White and the driver of another vehicle. Mr. White told the
 driver to "Suck my dick" numerous time. (A public records request has been submitted and fees
 have been paid for infonnation pertaming to this employee and this incident which has not been
 fulfilled [see exhibit _Waitmg__B16J). Mr. White invited fhe other driver to follow him to the
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 Palm Traa bus garage for the purpose of engaging in a physical altercation. Pahn Tran became
 aware of this moident and gave Mr. White a one week suspension. On the other hand, Mr. Jose
 Rivera (who is white) engaged in a verbal argument with a passenger and was terminated.

 (Example 2) On April 7, 2017, Meredith Collins (black/Female), while employed by Palm Tran,
 was driving on her route and transporting passengers when she saw Glover Williams at a Dollar
 Store. Ms. Collins stopped her bus and physically battered Mr, Williams (see exhibits C 1
     _C2_, and _C6 __ ). As a result of this incident, she was later arrested. Ms. Williams was
 later apprehended which necessitated her abandoning tfae bus. She received a written reprimand,
 On the other hand, Mr. Jose Rivera (who is white) engaged in a verbal argument wifh a passenger
 and was tenninated


 (Example 3) Between January and June of 2012, Constance Killings (black/Female), was
 terminated for being mde to passengers. She -was reemployed after union intervention with all
 seniority. She has been the subject of additional investigations since that time which have aot
 resulted in discipline. (A public records request has been submitted and fees have been paid for
 information pertaining to this employee and these incidents which bave not been ftilfilled [see
 exhibit _WaitingJB17_J). On the other hand, ?. Jose Rivera (who is white) engaged in a verbal
 altercation with a passenger and was terminated.

 Palm Tran further goes on to elaborate on my utilization of the union process to address my
 termination. Pahn Tran's inclusion offhis information Is nothing more than a red herring used to
 distract the EEOC from Pahn Tran's imtial discriminatory treatment of me as a white employee in
 comparison to similarly situated black employees. In addition, the decision fo temiinafe my
 employment is solely that of Palm Tran's and not that of the union.

 Palm Tran fails to explain their position in their declaration headed "It is impossible for the
 Charging Party to establish that he received disparate treatment from other employees of a
 different race, national origin or gender in similar situations." Clearly, in the three examples of
 disparate treatment cited, the discrimination is more than apparent.

 While Paim Tran demonstrates an ability to cite the law and an interpretation of the same, they fail
 to justify why I was treated so harshly for an argument and black employees were treated so
 leniently for engaging in physical altercations, challenging others to fights, and being rude to
 passengers. All cases demonstrate a violation of company policy. All cases involve an on duty
 employee. All cases involve individuals not ia management positions. All cases involve
 interactions with the public. My case is different as being less "egregious*' or "abhorrent" because
 it does not involve a physical confrontation, abandonment of the bus and arrest. In addition, my
 case involves me being terminated because I am white and the black employees remaining
 employed with Palm Tran.

 Furfhemaore, Palm Tran cites that anti-discrimiimtion policies have been adopted by the company.
 It is not my contention that Palm Tran does not have ajnti-discrimination policies, just that they do
 not follow them as clearly demonstrated in the above examples of discrimination based on race.
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 Palm Tran fails to justify their position in their declaration headed "Conclusion." Palm Tran has
 ignored the mfonnation given to them; relied on a citing of the law which does not support their
 position; and cited their policies which have not been followed in this case in order to support their
 erroneous conclusion. My actions of March 7, 2018 have been exaggerated, mischaracterized,
 mEigmfied» and distorted in an attempt to provide a pretext for Pabn Tran's discriminatory
 termination of my employment. A public records request has been submitted to Palm Tran in order
 to obtain documents which support my claims of racial discrimination. I am requesting that my
 complaint continue to process through EEOC and that Palm Tran be required to provide all
 documents which may confinn or rebut the information provided in this letter to both the charging
 party and EEOC. I am also requesting that I be provided additional time to submit any additional
 documentation in support of my claim upon receipt from Palm Tran. Thank you for your attentioit

 Sincerely,



 Jose Rivera
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   W THE CIRCUTT COURT OF THB FIFTEENTH )
   JUDICIAL CIRCUIT IN AND FOR PALM BEACH )
   COUNTY, FLORIDA )
                                                                )
   CASE No.                                                 )
   Division:                                                )
                                                                )
   JOSEARTVERA, )
          Plaintiff,                                         )
                                                                )
   and                                                  )
                                                                )
   PALM TRAN, INC., )
     Defendant, )
                                                               J
                               NOTICE OF APPEARANCE AND
                            DESIGNATION OF E-MAIL ADDRESSES

          PLEASE TAKE NOTE that Christopher W. Cook, Esq. of the law firm THE LIONS' DEN,
   ATTORNEYS AT LAW, PLLC, enters his appearance as counsel of record for PLAINTIFF, JOSE
   RIVERA.
        Pursuant to Florida Rule of Judicial Administration Z561(b)(l), the undersigned hereby
   designates the followmg primary and secondary email addresses.
                          Primary email: chriscook(%Uonsdeniustic^coj]Q
                          Secondary email: jonmay(S),lionsdenjustice. corn
                          Secondary email: admin©,lionsdenjustice.coin
   All papers and pleadings filed in this action should be served on the undersigned at the email
   addresses set forth above. All other correspondence should utilize the primary email address and/or
   the address set forth below.


                                                         /s/Christopher W. Cook,
                                                        Christopher W. Cook, Esq.
                                                        The Lions' Den, Attorneys at Law
                                                        515 N. Flagler Dr., Suite P-300
                                                        West Palm Beach, FL 33401
                                                        844-954-6652
                                                        chriscook(3),lionsdeniustice.com
                                                        ionmavfSllionsdeniustice.com




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Filing # 92176740 E-Filed 07/08/2019 01:05:31 PM:

   FORM 1..997. CIVIL COVER SHEET

  The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of pleadings
  or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
  Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See Instructions for
  completion.)


                  CASE STYLE
                                        IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT,
                                         IN AND FOR PALM BEACH COUNTY. FLORIDA



                                                                     Case No.:_
                                                                    Judge:
  JOSEAIOVERA
   Plaintiff
                 vs.

  PALMTRANINC
  Defendant


       11. TyPE OF CASE

                                                                              Q Non-homestead residential foreclosure
           D. Condominium                                                          $250,00 or more
           U Contracts and indebtedness                                       Q Other real property actions $0 - $50.000
               D Eminent domain                                               Q Other rea! property actions $50,001 - $249,999
           D. Auto negligence                                                 0, Other real property actions $250,000 or more
           Q Negligence-other
                                                                              J3 Professional malpractice
              Q Business governance
                                                                                      D. Malpractice - business
              a Business torts
                                                                                     Q Malpractice - medical
              D Environ mental/Toxic tort
                                                                                     n Malpractice - other professional
              0. Third party indemnification
              D Construction defect
                                                                              M Other
                                                                                     Q Antitrust/Trade Regulation
                 d Mass tort
                                                                                     Q Business Transaction
                 Q Negligent security
                                                                                     Q Circuit Civil - Not Applicable
                 Q. Nursing home negligence
                                                                                     0. Constitutional chalfenge-stahjte or
                 Q Premises liability ~ commercial
                                                                                            ordinance
                 0 Premises liability - residential
                                                                                      Q. Constitutional challenge-proposed
           Q. Products liability                                                            amendment
           D. Real Property/Mortgage foreclosure                                      0 Corporate Trusts
              Q Commercial foreclosure $0 - $50,000                                   JSI Discrimination-employment or other
                 a Commercial foreclosure $50,001 - $249.999                          D Insurance claims
                  D Commercial foreclosure $250,000 or more                           Q Intellectual property
                 a Homestead residential foreclosure $0 - 50,000                      Q Libel/Slander
                 n Homestead residential 'foreclosure $50,001 "                       D Shareholder derivative action
                       $249,999
                                                                                      Q Securities litigation
                  D Homestead residential foreclosure $250,000 or
                                                                                      Q. Trade secrets
                       more
                  Q Non-homestead residential foreclosure $0 -
                                                                                      D Trust litigation
                       $50,000
                  D. Non-homestead residential foreclosure
                      $50,001 -$249.999
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                                                 COMPLEX BUSINESS COURT

        This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
        Administrative Order. Yes C3 No 53


        HI. REMEDIES SOUGHT (check all that apply):
                    ^ Monetary;
                    H Non-monetary declaratory or injunctive relief;
                    M Punitive

        IV. NUMBER OF CAUSES OF ACTION: { )
                (Specify)




        V. IS THtS CASE A CLASS ACTION LAWSUIT?
                    Q Yes
                    ^ No

        VI, HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                        No
                    Q Yes - If "yes" list all related cases by name, case number and court:




        VII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                   M Yes
                   a NO



 CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and wil! comply with the requirements of Florida Rule of Judicia) Administration 2.425.

Signature s/ Christopher William Cook FL Bar No.: 1H36Z
          Attorney or party (Bar number, if attorney)

        Christopher William Cook _Q7/Q9/2019
                (Type or print name) Date
